EXHIBIT D
Date           Professional         Duration      Description
    3/5/2020   Huot, Innessa                0.8   Telephone call with Officer re: details of his claims and the work he performs for Defendants.
    3/5/2020   Huot, Innessa                0.4   Conference with J. Beldner and E. Tilton re: potential new case against Defendants and details of same.
    3/5/2020   Huot, Innessa                0.3   Confer with A. Hartzband and P. Collopy re: details of new case.
    3/5/2020   Hartzband, Alex J.           0.5   Review intake notes and Feliciano case and conference with I. Huot to prepare for client meeting.
    3/5/2020   Collopy, Patrick             0.5   Read and analyze previous case and notes from call with Officer and conference with I. Huot regarding same.
    3/9/2020   Huot, Innessa                2.7   Interview Officer re: details of his allegations against Defendants.
    3/9/2020   Huot, Innessa                0.3   Conference with co-counsel re: discussions with Officer.
    3/9/2020   Hartzband, Alex J.           2.7   Participate in interview with Officer and take detailed notes relating to same.
    3/9/2020   Collopy, Patrick             2.7   Intake with BTO to assess claims.
    3/9/2020   Collopy, Patrick             0.5   Compile and oraganize all notes and records and incorporate same into master document.
   3/10/2020   Huot, Innessa                0.3   Telephone call with client re: BTOs asking about representation and how to get involved in the case.

  3/10/2020    Huot, Innessa                0.4   Conference with co-counsel re: additional clients seeking representation and wanting to assert claims against Defendants.
  3/17/2020    Huot, Innessa                0.3   Conference with A. Hartzband re: Covid 19 issue and impact on the case.
  3/17/2020    Hartzband, Alex J.           0.3   Zoom meeting with I. Huot re: pandemic related issues with the case.
  3/24/2020    Huot, Innessa                0.3   Team meeting re: strategy for litigation amidst pandemic.
  3/24/2020    Huot, Innessa                0.5   Telephone call with Officer re: work closings and potential impact on the case.
  3/24/2020    Hartzband, Alex J.           0.3   Conference re: litigation strategy.
  3/24/2020    Collopy, Patrick             0.3   Conference with team to discuss next steps in case.
  3/24/2020    Burr, Camilo                 0.3   Virtual conference to discuss upcoming assignments for the case.
   4/9/2020    Huot, Innessa                0.4   Telephone call with Officer to answer questions about the case.
   4/9/2020    Huot, Innessa                0.4   Telephone call with A. Hartzband re: first responder regulations and questions from Officers regarding same.
   4/9/2020    Hartzband, Alex J.           1.8   Research new regulations and conference with I. Huot regarding same.
   4/9/2020    Hartzband, Alex J.           3.8   Draft memorandum re: applicable rules for law enforcement Officers.
   4/9/2020    Collopy, Patrick             1.8   Review memo from A. Hartzband and research additional issues relating to same.
  4/13/2020    Huot, Innessa                0.9   Review research memorandum and telephone call with A. Hartzband regarding same.
  4/13/2020    Huot, Innessa                  1   Telephone call with multiple Officers re: Covid 19 and first responder rules and impact on case.
  4/13/2020    Hartzband, Alex J.           0.2   Confer with I. Huot re: follow up questions to research memorandum.

  4/14/2020    Huot, Innessa                5.4   Multiple calls with numerous Officers to answer questions about first responder rules, impact on litigation, and next steps in the case.
  4/14/2020    Huot, Innessa                0.4   Confer with co-counsel re: pandemic issues and their impact on the case.
   5/6/2020    Huot, Innessa                4.5   Multiple telephone calls with Officers re: pandemic issues related to their work and the case.
   5/6/2020    Hartzband, Alex J.             4   Research case law re: payment rules for emergency responders and first responders.
   5/6/2020    Hartzband, Alex J.           1.4   Outline rules and regulations and exchange emails regarding same.
  5/11/2020    Huot, Innessa                0.4   Telephone call with co-counsel re: pursuing claims on behalf of BTOs.
  5/11/2020    Huot, Innessa                4.3   Return calls from BTOs asking about the case and discussing their work.
                                                  Prepare detailed due diligence spreadsheet itimizing key information about each Officer, the work they performed for Defendants, and
  5/11/2020    Huot, Innessa                2.1   other information pertinent to the litigation.
  5/18/2020    Huot, Innessa                  2   Review and analyze Collective Bargaining Agreement to assess potential impact on the claims.
  5/18/2020    Huot, Innessa                0.8   Assess grievance procedure to determine whether FLSA claims are excluded from coverage.
  5/18/2020    Huot, Innessa                0.4   Conference with A. Hartzband and P. Collopy re: CBA and grievance procedure.
  5/18/2020    Huot, Innessa                0.5   Telephone call with co-counsel re: CBA and grievance procedure and requirements and coverage of same..
  5/18/2020    Hartzband, Alex J.           1.7   Review and annotate excerpts of collective bargaining agreement to assess claims.
  5/18/2020    Hartzband, Alex J.           0.4   Meet with I. Huot and P. Collopy re: collective bargaining agreement and potential impact of same on claims.
  5/18/2020    Collopy, Patrick             0.4   Meet with I. Huot and A. Hartzband to discuss CBA and claims.
   6/4/2020    Huot, Innessa                5.2   Telephone call with several Officers to discuss details of their claims and day to day work for Defendants.
   6/4/2020    Huot, Innessa                1.8   Update due diligence spreadsheet with pertinent information about each Officer.
                                                  Return telephone calls from Officers to discuss strengths and weaknesses of their claims; update due diligence spreadsheet with
   6/9/2020    Huot, Innessa                7.4   information about each Officer and the work they performed for Defendants.
   6/9/2020    Huot, Innessa                0.6   Conference call with co-counsel to go over the details of the investigation and merits of BTOs' claims.
  6/15/2020    Huot, Innessa                1.8   Review MOUs and extract pertinent information for use in litigation.
  6/15/2020    Huot, Innessa                0.5   Telephone call with co-counsel re: CBA and MOUs and strategy for litigation.

  6/18/2020    Huot, Innessa                1.8   Telephone call with clients re: update on investigation and speaking to union leadership about proceeding with the case.
  6/18/2020    Huot, Innessa                5.6   Telephone calls with multiple BTOs to investigate claims and viability of Defendants' anticipated defenses.
  6/22/2020    Huot, Innessa                0.8   Conference with A. Hartzband and co-counsel re: case law and methodology.
  6/22/2020    Huot, Innessa                6.9   Interviews with mutliple Officers to discuss details of their claims and their work for Defendants; update due diligence spreadsheet.
  6/22/2020    Huot, Innessa                0.4   Follow up call with co-counsel re: investigation and next steps.
  6/22/2020    Hartzband, Alex J.           6.2   Legal research re: compensation included in calculation of regular rate of pay.
  6/22/2020    Hartzband, Alex J.           0.8   Call with I. Huot and co-counsel re: research on methodology.

  6/23/2020    Huot, Innessa                5.6   Follow up calls with clients and certain Officers re: being named Plaintiffs in the case and update master spreadsheet regarding same.
  6/23/2020    Hartzband, Alex J.           6.8   Draft memorandum of law re: calculation of regular rate of pay for purposes of calculating overtime.
  6/24/2020    Huot, Innessa                1.2   Telephone call with attorney from prior case to discuss expert witnesses and methodology to calculate damages.
  6/24/2020    Huot, Innessa                0.5   Telephone call with A. Hartzband and co-counsel re: methodology research.
  6/24/2020    Huot, Innessa                0.6   Conference with C. Burr re: main details of the case.
  6/24/2020    Huot, Innessa                3.2   Answer call from BTOs re: questions about their paychecks.
  6/24/2020    Hartzband, Alex J.           0.5   Phone call with I. Huot and co-counsel re: damage methodology.
  6/24/2020    Hartzband, Alex J.           5.2   Continue drafting memorandum re: damage calculation methodology and additional research regarding same.
  6/24/2020    Burr, Camilo                 3.3   Review case file and investigation notes to get up to speed on the case.
  6/24/2020    Burr, Camilo                 1.8   Review prior Feliciano case and pertinent records from that case.
  6/24/2020    Burr, Camilo                 0.6   Conference with I. Huot re: details of case and assignments.
  6/25/2020    Huot, Innessa                2.6   Review and analyze memorandum re: damage methodology and telephone call with A. Hartzband regarding same.
  6/25/2020    Huot, Innessa                5.7   Return calls from BTOs asking about the case and discussing their work; update investigation spreadsheet.
  6/25/2020    Huot, Innessa                0.6   Follow up call with J. Beldner to go over memorandum and overtime calculation research.
  6/25/2020    Hartzband, Alex J.           0.2   Meet with I. Huot re: damages methodology.
                                                  Telephone calls with Officers to invesitgate their claims and the nature of their work at different facilities; update master spreadsheet re:
  6/26/2020    Huot, Innessa                5.6   details of Officers' work.
  6/26/2020    Huot, Innessa                0.4   Conference with co-counsel re: work Officers did at different facilities.
  6/26/2020    Huot, Innessa                1.6   Review and analzye due diligence spreadsheet for purposes of assessing claims to raise in the case.
  6/27/2020    Huot, Innessa                0.8   Draft outline for Complaint.
  6/27/2020    Huot, Innessa                0.7   Telephone call with co-counsel re: outline for Complaint and allegations to raise in the case.
6/28/2020 Huot, Innessa          0.3 Telephone call with client re: outline for Complaint.
6/29/2020 Huot, Innessa          0.3 Group meeting re: outline for Complaint and next steps in litigation.
                                     Telephone calls with multiple Officers asking questions about the case and strategy for next steps in the litigation; update investigation
6/29/2020   Huot, Innessa        5.3 spreadsheet with key information about each Officer.
6/29/2020   Hartzband, Alex J.   0.3 Strategy meeting with I. Huot and C. Burr to go over Complaint and allegations of the named Plaintiffs.
6/29/2020   Hartzband, Alex J.   0.2 Conference with C. Burr re: drafting Complaint.
6/29/2020   Burr, Camilo         0.5 Conference with I. Huot and A. Hartzband re: case assignments.
6/29/2020   Burr, Camilo         0.5 Review Complaint outline.
6/29/2020   Burr, Camilo         0.2 Meet with A. Hartzband to go over questions re: drafting Complaint.
                                     Return telephone calls from multiple Officers asking about the case and discussing their work for Defendants; update due diligence
6/30/2020   Huot, Innessa        4.8 spreadsheet with details of Officers' work for Defendants.
6/30/2020   Hartzband, Alex J.   0.4 Conference with C. Burr re: arguments to include in Complaint.
6/30/2020   Burr, Camilo         7.8 Draft a detailed and comprehensive collective action Complaint and conference with A. Hartzband re: same.
 7/1/2020   Hartzband, Alex J.   0.2 Meet with C. Burr re: Complaint.
 7/1/2020   Burr, Camilo         6.7 Continue drafting Complaint and conference with A. Hartzband regarding same.
 7/2/2020   Huot, Innessa        4.5 Telephone call with clients to update them on the status of the case and next steps in litigation.
 7/2/2020   Hartzband, Alex J.   4.1 Review, edit, and revise Complaint and conference with C. Burr to go over edits.
 7/2/2020   Burr, Camilo         0.3 Confer with A. Hartzband to go over edits and comments.
 7/3/2020   Huot, Innessa        2.4 Review, edit, and revise Complaint.
 7/7/2020   Huot, Innessa        1.2 Telephone call with co-counsel to go over edits and revisions to the Complaint.
 7/7/2020   Huot, Innessa        2.3 Update Complaint to incorporate edits and revisions from co-counsel.
                                     Telephone calls with Officers to discuss the work they performed for Defendants at different facilities; update master spreadsheet
 7/7/2020   Huot, Innessa        4.8 regarding same.
 7/8/2020   Huot, Innessa        0.2 Conference with A. Hartzband and C. Burr re: Complaint and litigation.
 7/8/2020   Huot, Innessa        1.3 Interview Officer seeking to be a named Plaintiff in the case; update spreadsheet regarding same.
 7/8/2020   Huot, Innessa        0.4 Confer with co-counsel re: status of Complaint, interviews with BTOs, and next steps in the case.
 7/8/2020   Hartzband, Alex J.   0.2 Telephone call with I. Huot re: strategy for litigation.
 7/8/2020   Burr, Camilo         0.2 Conference with I. Huot and A. Hartzband re: Complaint and next steps.
 7/9/2020   Huot, Innessa        4.2 Multiple telephone calls with Officers re: payroll and time records.
 7/9/2020   Huot, Innessa          1 Review master spreadsheet to assess best Officers to use as named Plaintiffs.
 7/9/2020   Huot, Innessa        0.2 Telephone call with A. Hartzband re: calls from BTOs.
 7/9/2020   Huot, Innessa        0.6 Telephone call with two Officers asking questions about the case; update investigation spreadsheet.
 7/9/2020   Hartzband, Alex J.   0.2 Conference with I. Huot re: case details and strategy.
7/10/2020   Huot, Innessa        2.3 Telephone call with multiple BTOs re: client records.
7/13/2020   Huot, Innessa        0.3 Telephone call with A. Hartzband re: best Officers to use as named Plaintiffs.
7/13/2020   Hartzband, Alex J.   0.3 Confer with I. Huot re: litigation strategy.
7/14/2020   Huot, Innessa        0.6 Telephone call with client re: allegations to include in the Complaint and named Plaintiffs.
7/14/2020   Aloise, Anthony J.   5.5 Scan, save, tag, and log records from Officers; oranize and catalogue records.
7/14/2020   Aloise, Anthony J.     1 Prepare shipping packages to send back documents to the Officers.
                                     Review client records for mulitple Officers, check spreadsheet for details on the Officers and outline top candidates to be named
7/15/2020 Huot, Innessa          4.3 Plaintiffs in the case.
7/15/2020 Huot, Innessa          0.7 Telephone call with co-counsel re: analysis of client records and best Officers to use as named Plaintiffs.
7/15/2020 Hartzband, Alex J.     3.6 Review client records for the proposed named Plaintiffs and spreadsheet relating to same.
                                     Review client records and spreadsheet to determine best named Plaintiffs for use in litigation; confer with A. Hartzband and C. Burr
7/16/2020 Huot, Innessa          3.1 regarding same.
7/16/2020 Hartzband, Alex J.     2.5 Review payroll and time records of potential named Plaintiffs and conference with I. Huot re: class representatives.
7/16/2020 Burr, Camilo           0.3 Phone call with I. Huot and A. Hartzband re: potential named Plaintiffs.

7/17/2020   Huot, Innessa        3.7   Telephone calls with several lead candidates re: being named Plaintiff for litigation; review records and spreadsheet to assess same.
7/17/2020   Huot, Innessa        0.8   Confer with co-counsel re: case developments and named Plaintiffs to lead litigation.
7/20/2020   Huot, Innessa        5.6   Telephone call with clients to go over the allegations of the Complaint.
7/20/2020   Huot, Innessa        1.3   Revise Complaint to incorporate edits and revisions from clients.
7/20/2020   Huot, Innessa        0.3   Confer with A. Hartzband and C. Burr re: updated Complaint.
7/20/2020   Hartzband, Alex J.   1.5   Review updated version of the Complaint and conference with I. Huot regarding same.
7/20/2020   Burr, Camilo         1.8   Read updated Complaint; meeting with I. Huot and A. Hartzband regarding edits to same and next steps in the case.

7/21/2020   Huot, Innessa        4.6   Return telephone calls from multiple Officers asking about the case and next steps; update master spreadsheet re: Officers' work.
7/21/2020   Huot, Innessa        0.3   Conference with A. Hartzband re: strategy for client interviews.
7/21/2020   Hartzband, Alex J.   2.4   Prepare outline for client investigation calls and conference with I. Huot regarding same.
7/22/2020   Huot, Innessa        0.8   Review and edit client investigation outline and conference with A. Hartzband regarding edits to same.
7/22/2020   Huot, Innessa        0.4   Telephone call with co-counsel re: Complaint and client investigations.
7/22/2020   Huot, Innessa          3   Multiple telephone calls with Officers to discuss their work for Defendants.
7/22/2020   Hartzband, Alex J.   0.2   Conference with I. Huot regarding her edits to the client investigation outline.

7/23/2020   Huot, Innessa        3.8   Return calls from several Officers asking about the case and what happens next; log pertinent information into investigation spreadsheet.
7/23/2020   Aloise, Anthony J.   3.2   Scan, save, tag, and log records from Officers; organize and catalogue records.
7/23/2020   Aloise, Anthony J.   1.8   Update spreadsheet with pertinent information about Officers' employment.
7/23/2020   Aloise, Anthony J.   1.3   Compile documents to send back to Officers; prepare shipments and send same.

7/24/2020 Huot, Innessa          0.8 Telephone call with co-counsel and A. Hartzband to go over information gathered from Officers and strategy for next steps.

7/24/2020   Huot, Innessa        6.2   Conduct interview calls with multiple Officers to discuss work for Defendants and details of their claims; update spreadsheet.
7/24/2020   Hartzband, Alex J.   1.3   Review investigation spreadsheet and conference with I. Huot regarding same.
7/24/2020   Hartzband, Alex J.   1.2   Review notes and edit speadsheet to include details from Officers.
7/27/2020   Huot, Innessa        4.8   Follow up call with Officers to assess best named Plaintiffs to use for litigation.
7/27/2020   Huot, Innessa          1   Review records from Officers and extract pertinent time records for potential named Plaintiffs.
7/27/2020   Huot, Innessa        0.6   Call with Officer to go over time records and litigation strategy.
7/27/2020   Huot, Innessa        1.4   Review and edit Complaint to incorporate details from clients' records.
7/28/2020   Huot, Innessa        2.8   Telephone call with each of the named Plaintiffs to go over allegations of the Complaint and details of same.
7/28/2020   Huot, Innessa        0.2   Telephone call with A. Aloise re: sending pre-paid FedEx package to collect records.
7/28/2020   Huot, Innessa        7.6   Return calls from Officers asking about the case and their claims; update investigation spreadsheet.
7/28/2020   Huot, Innessa        0.4   Team meeting re: litigation strategy and preparation for motion for collective certification.
7/28/2020   Hartzband, Alex J.   0.4   Conference with I. Huot re: litigation strategy.
7/28/2020   Hartzband, Alex J.   0.8   Telephone call with BTOs re: status of litigation and details of their work; and update master spreadsheet.
7/28/2020   Burr, Camilo         0.4   Meet with I. Huot and A. Hartzband re: assignments in the case.
7/28/2020   Aloise, Anthony J.   0.5   Conference with I. Huot re: shipping records; compile package and send to client.
7/29/2020   Huot, Innessa        4.6   Review documents sent from numerous Officers re: work performed for Defendants.
7/29/2020   Huot, Innessa        1.6   Review investigation spreadsheet and extract information necessary for collective certification motion.
7/29/2020   Huot, Innessa        0.5   Telephone call with co-counsel re: collective certification and strategy for same.
7/29/2020   Huot, Innessa        0.2   Meet with C. Burr re: motion for collective certification.
7/29/2020   Burr, Camilo         1.4   Review records and notes and extract pertinent information for use in motion for collective certification.
7/29/2020   Burr, Camilo         0.2   Meeting with I. Huot re: outline for motion.
7/29/2020   Burr, Camilo         5.2   Prepare outline for motion for collective certification.

7/30/2020   Huot, Innessa        4.5   Telephone calls with Officers to answer questions about the case and their claims; update spreadsheet relating to same.
7/30/2020   Huot, Innessa        0.3   Meeting with A. Hartzband and C. Burr re: answering questions from Officers who are expected to call.
7/30/2020   Hartzband, Alex J.   1.7   Review and edit outline for motion for collective certification.
7/30/2020   Hartzband, Alex J.   0.4   Conference with C. Burr re: edits to motion for collective certification.
7/30/2020   Hartzband, Alex J.   0.5   Respond to call from Officer re: investigation of claims; update spreadsheet.
7/30/2020   Hartzband, Alex J.   0.7   Review and edit outline for client calls and conference with C. Burr regarding same.
7/30/2020   Hartzband, Alex J.   0.3   Meet with I. Huot re: responding to Officers' inquiries.
7/30/2020   Burr, Camilo         1.2   Review revisions to outline and edit same based on feedback and comments from A. Hartzband.
7/30/2020   Burr, Camilo         0.4   Meeting with A. Hartzband re: outline for collective certification.
7/30/2020   Burr, Camilo         3.4   Research case law for use in motion for collective certification.
7/30/2020   Burr, Camilo           1   Draft outline for responding to Officer calls.
7/30/2020   Burr, Camilo         0.3   Conference with A. Hartzband and I. Huot to go over expecetd calls from Officers.
7/31/2020   Huot, Innessa        0.4   Review and edit outline for motion for collective certification.
7/31/2020   Huot, Innessa        3.6   Respond to telephone calls from Officers re: claims in the case and update spreadsheet re: details of their work.
7/31/2020   Burr, Camilo         8.8   Draft a detailed and comprehensive motion for conditional collective certification.
 8/3/2020   Huot, Innessa        0.3   Telephone call with co-counsel re: motion for collective certification and issues related to same.
 8/3/2020   Burr, Camilo         6.5   Research additional case law and continue drafting motion for collective certification.
 8/4/2020   Huot, Innessa        0.5   Confer with co-counsel re: collective certification motion.
 8/4/2020   Burr, Camilo         3.6   Edit and revise motion for collective certification.
 8/5/2020   Huot, Innessa        3.9   Return calls from BTOs to invesitgate their claims; update spreadsheet with pertinent information about their work.
 8/5/2020   Hartzband, Alex J.   4.3   Review, edit, and revise motion for collective certification.
 8/5/2020   Hartzband, Alex J.     2   Conduct additional research relating to the motion and revise section of the brief relating to same.
 8/6/2020   Huot, Innessa        6.8   Review and revise motion for collective certification and exchange emails regarding same.
                                       Answer calls from Officers asking about the case and discussing their work for Defendants; insert key information about Officers into due
 8/6/2020   Hartzband, Alex J.   1.4   diligence spreadsheet.
 8/6/2020   Hartzband, Alex J.   0.2   Conference with C. Burr re: responding to calls from BTOs.
 8/6/2020   Burr, Camilo         0.2   Meet with A. Hartzband re: investigation calls.
 8/6/2020   Burr, Camilo         3.8   Answer calls from Officers about the case and their work; update spreadsheet regarding same.

 8/6/2020   Burr, Camilo         2.4 Return calls from Officers discussing their work for Defendants; update master spreadsheet with information about each Officer.
 8/7/2020   Huot, Innessa        2.7 Further edit and revise motion for collective certification.
 8/7/2020   Huot, Innessa        4.4 Return numerous calls from Officers asking about the case and discussing their work with Defendants; update spreadsheet re: same.
8/10/2020   Huot, Innessa        0.6 Telephone call with co-counsel and A. Hartzband re: motion for collective certification and edits to same.
8/10/2020   Huot, Innessa        2.9 Revise motion for collective certification to incorporate edits and feedback from co-counsel.
8/10/2020   Huot, Innessa        1.3 Edit and update due diligence spreadshete to add pertinent details about Officers and their work at different facilities.
8/10/2020   Hartzband, Alex J.   0.6 Telephone call with I. Huot and co-counsel re: motion for collective certification.
8/10/2020   Hartzband, Alex J.   1.2 Review update version of motion for collective certification.
8/10/2020   Burr, Camilo         2.7 Telephone calls with multiple Officers asking questions about the case and strategy for next steps in the litigation.
8/11/2020   Huot, Innessa        0.3 Follow up call with co-counsel re: additional details to add to motion for collective certification.
8/11/2020   Huot, Innessa        1.1 Make additional edits to motion for collective certification.
8/11/2020   Huot, Innessa        1.6 Draft notice of pendency for use in motion for collective certification.
8/11/2020   Huot, Innessa        1.3 Calls with Officers to answer questions about the case and their claims and update maaster spreadsheet with details about Officers.
8/11/2020   Huot, Innessa        0.5 Draft work place posting notice to be included in motion for collective certification.
8/11/2020   Huot, Innessa        0.6 Draft email notice of pendency to be included in motion for collective certification.
8/11/2020   Huot, Innessa        0.4 Draft text notice of pendency to be included in motion for collective certification.
8/11/2020   Huot, Innessa        0.7 Review and edit all notices and exchange emails regarding same.
8/11/2020   Huot, Innessa        0.2 Telephone call with A. Hartzband re: litigation strategy.
8/11/2020   Hartzband, Alex J.   0.2 Conference with I. Huot re: next steps in the case.
8/11/2020   Aloise, Anthony J.   2.8 Scan, save, tag, and log records from Officers.
8/11/2020   Aloise, Anthony J.     1 Compile documents to ship back to multiple Officers.
8/12/2020   Huot, Innessa          2 Review payroll and time records from Officers to make final decisions on named Plaintiffs for the case.
8/12/2020   Huot, Innessa        0.6 Telephone calls with clients re: final decision on named Plaintiffs and feedback regarding same.
8/12/2020   Huot, Innessa        0.3 Confer with co-counsel re: final decisions on named Plaintiffs.
                                     Return multiple calls to Officers to discuss their claims in the case and the Complaint; update master spreadsheet with pertinent data
8/12/2020 Huot, Innessa          4.3 about Officers.
8/13/2020 Huot, Innessa            2 Review and analyze the Joseph Complaint and review docket regarding same.

8/13/2020   Huot, Innessa        0.8   Telephone call with co-counsel re: Joseph case being filed in secret after clients disclosed planned lawsuit to union president.
8/13/2020   Huot, Innessa        0.3   Conference with A. Hartzband and C. Burr re: developments in the case and next steps.
8/13/2020   Huot, Innessa        6.2   Respond to numerous calls from BTOs re: them learning about the filing of the Joseph case.
8/13/2020   Huot, Innessa        0.8   Conference with E. Kalanz re: being on full release in the past and impact on his claims.
8/13/2020   Hartzband, Alex J.   0.3   Telephone call with I. Huot re: litigation strategy and assignments.
8/13/2020   Burr, Camilo         0.3   Meeting with I. Huot and A. Hartzband re: Joseph case and next steps in our case.
8/14/2020   Huot, Innessa        4.2   Telephone call with each Named Plaintiff to go over operative version of the Complaint in preparation for filing.
8/14/2020   Huot, Innessa        1.2   Review client records and extract pertinent data for use in Complaint; revise Complaint to include data.
8/14/2020   Huot, Innessa        0.3   Telephone call with defense counsel re: filing of Joseph action and or impending lawsuit.
8/14/2020   Huot, Innessa        1.3   Edit Complaint to incorporate edits and feedback from clients.
8/14/2020   Huot, Innessa        0.7   Conference with co-counsel re: Joseph case and impact on our litigation and strategy for next steps.
8/15/2020   Huot, Innessa        4.2   Return calls from BTOs asking about the case and developments; update spreadsheet regarding same.
8/15/2020   Huot, Innessa        2.4   Additional calls with named Plaintiff to go over process of litigation and expectations for being a named Plaintiff.
8/15/2020   Huot, Innessa        0.4   Implement additional edits from clients and go over updated version of the Complaint.
8/15/2020   Huot, Innessa        0.5   Telephone call and exchange emails with co-counsel re: updated Complaint.
8/16/2020   Huot, Innessa        1.7   Exchange emails and telephone calls with named Plaintiffs to go over final version of the Complaint.
8/16/2020   Huot, Innessa        0.2   Exchange emails with co-counsel re: Complaint and exhibits to same.
8/16/2020   Huot, Innessa        0.7   Final review of Complaint.
8/16/2020   Huot, Innessa          3   Return calls from BTOs asking about the Joseph case and filing of the Mercado action.
                                       Edit and revise outline for responding to opt-in calls and inquiries; conference with A. Hartzband and C. Burr regarding same and what to
8/16/2020   Huot, Innessa        1.6   expect from such calls after the Complaint is filed.
8/16/2020   Hartzband, Alex J.   1.2   Review and analyze final version of the Complaint and conference with I. Huot regarding same.
8/16/2020   Hartzband, Alex J.   0.7   Review and annotate outline for opt-in calls and conference with I. Huot regarding same.
8/16/2020   Burr, Camilo         1.4   Review final Complaint and conference with I. Huot on how to respond to client calls.
8/16/2020   Burr, Camilo         1.2   Read and practice outline for responding to opt-in callers and conference with I. Huot re: questions about outline.
8/17/2020   Huot, Innessa          1   Exchange emails with clients re: filed version of the Complaint and telephone calls with them regarding same.
8/17/2020   Huot, Innessa        0.2   Exchange emails and telephone calls with co-counsel re: filing Mercado action and judge's rules
                                       Answer numerous calls from Officers asking questions about the case, including details of the claims and their experience working with
8/17/2020 Huot, Innessa           8    Defendants as well as questions about how they can join the lawsuit.
                                       Exchange multiple emails with Officers to send them the documents they each requested as well as to respond to their various inquiries
8/17/2020 Huot, Innessa          2.1   about the case.
8/17/2020 Huot, Innessa          2.3   Update due diligence spreadsheet with details of each Officer and their work.

8/17/2020 Huot, Innessa          1.5 Conference with A. Hartzband and C. Burr and follow up calls with Officers seeking more specific case related information and analysis.

8/17/2020 Hartzband, Alex J.     8.3 Respond to calls from BTOs to answer questions about the case; revise investigation spreadsheet with information about each Officer.
8/17/2020 Hartzband, Alex J.     0.3 Call with I. Huot re: following up with certain Officers re: their employment.

8/17/2020   Burr, Camilo         8.8   Answer calls from Officers about the case and their claims; update spreadsheet with key information about each Officer.
8/17/2020   Burr, Camilo         0.4   Meet with I. Huot re: specific inquiries from Officers.
8/17/2020   Aloise, Anthony J.   3.2   Edit, proofread, and finalize Complaint and all administrative paperwork.
8/17/2020   Aloise, Anthony J.   0.6   Compile and format exhibits for filing.
8/17/2020   Aloise, Anthony J.   0.7   Finalize all administrative paperwork, Complaint, and all exhibits and file same.

8/17/2020 Aloise, Anthony J.     1.5 Record and save consent to join forms received from Officers and review docusign for all contact information to insert into spreadsheet.

8/17/2020   Aloise, Anthony J.   1.6   Compile and log all received consent to join forms; prepare opt-in spreadsheet and add key information about each opt-ins.
8/17/2020   Aloise, Anthony J.     2   Correlate opt-ins spreadsheet data with due diligence spreadsheet to ensure consistency.
8/17/2020   Behnke, Derek        0.5   Update status report with case information and contact information.
8/17/2020   Behnke, Derek        0.5   Collect and forward all filed documents to co-counsel.

8/18/2020 Huot, Innessa          0.5 Review and analyze correspondence from W. Joseph to the Officers about the lawsuit and conference with co-counsel regarding same.
                                     Answer numerous calls from Officers asking questions about the case, including details of the claims and their experience working with
8/18/2020 Huot, Innessa          7.8 Defendants as well as questions about how they can join the lawsuit.

8/18/2020 Huot, Innessa          2.4 Exchange multiple emails with Officers to send them documents they requested and to respond to their various inquiries about the case.
                                     Conference emails with A. Hartzband and C. Burr re: questions about various discussions they had with BTOs and their work; follow up
8/18/2020 Huot, Innessa          1.2 calls with specific BTOs re: additional questions they had about their claims.
8/18/2020 Huot, Innessa          1.8 Update due diligence spreadsheet with details about each Officer.
8/18/2020 Huot, Innessa          0.5 Telephone call with co-counsel re: developments in the case.
                                     Telephone calls with Officers calling to ask about the case and how they can join, update due diigence spreadsheet with details about
8/18/2020   Hartzband, Alex J.   7.2 each Officer.
8/18/2020   Hartzband, Alex J.   0.4 Conference emails with I. Huot re: questions about certain Officers.
8/18/2020   Burr, Camilo         8.5 Answer calls from Officers to discuss their work for Defendants; update investigation spreadsheet about each Officer.
8/18/2020   Burr, Camilo         0.4 Conference with I. Huot re: information about each Officer and the details of their work for Defendants.
8/18/2020   Aloise, Anthony J.   0.3 Review ECF Bounces and refile corrected Summons.

8/18/2020 Aloise, Anthony J.     1.2 Email correspondence with various process servers re: complexity of serving MTA during pandemic and send all documents to service.
8/18/2020 Aloise, Anthony J.       2 Collect, save, and log numerous consent to join forms received from Officers.
8/18/2020 Aloise, Anthony J.     4.2 Update opt-in spreadsheet with details from received consent to join forms.
                                     Answer numerous calls from Officers asking questions about the case, including details of the claims and their experience working with
8/19/2020 Huot, Innessa          7.6 Defendants as well as questions about how they can join the lawsuit.
                                     Exchange multiple emails with Officers to send them the documents they each requested as well as to respond to their various inquiries
8/19/2020   Huot, Innessa        2.3 about the case.
8/19/2020   Huot, Innessa        0.4 Meet with A. Hartzband and C. Burr re: BTO and details of their work and any issues raised on the calls.
8/19/2020   Huot, Innessa        1.8 Update due diligence spreadsheet with details about each Officer.
8/19/2020   Huot, Innessa        0.3 Conference with E. Tilton re: litigation strategy.

8/19/2020   Hartzband, Alex J.   6.2   Telephone calls with Officers calling to ask about the case and how they can join; update master spreadsheet re: Offices.
8/19/2020   Hartzband, Alex J.   0.4   Meeting with I. Huot re: work performed by Officers and opt-in calls.
8/19/2020   Burr, Camilo         8.2   Answer calls from Officers to discuss their work for Defendants; update investigation spreadsheet about each Officer.
8/19/2020   Burr, Camilo         0.4   Conference with I. Huot re: issues raised on calls.
                                       Record and save new consent to join forms; review docusign for all contact information to insert into spreadsheet; draft and finalize
8/19/2020 Aloise, Anthony J.     5.2   notice of consent to join forms; file all forms.
8/19/2020 Aloise, Anthony J.     2.3   Exchange emails with opt-ins re: Complaint and litigation records to review.
                                       Collect all new consent to join forms and record on master spreadsheet and opt-in spreadsheet; coordinate with process servers for
8/19/2020 Aloise, Anthony J.       3   service in Albany; compile documents and forward to legal counsel for Defendants.
8/20/2020 Huot, Innessa          4.5   Telephone call with Officers to answer questions about the case.
8/20/2020 Huot, Innessa          1.9   Exchange emails with Officers to send them documents they asked for.
                                       Conference with A. Hartzband and C. Burr re: certain Officer; follow up calls with these Officers to answer more specific questions about
8/20/2020   Huot, Innessa          2   the case.
8/20/2020   Huot, Innessa        2.6   Update master spreadsheet re: details about the work performed by Officers at different locations.
8/20/2020   Huot, Innessa        0.6   Telephone call with co-counsel re: details of investigation and developments in the case.
8/20/2020   Hartzband, Alex J.   7.5   Calls with Officers asking about the case and discussing the details of their work.
8/20/2020   Hartzband, Alex J.     2   Update investigation spreadsheet with details about each Officer.
8/20/2020   Hartzband, Alex J.   0.4   Conference with I. Huot re: issues and questions raised by certain Officers that require follow up.
8/20/2020   Burr, Camilo         7.6   Telephone calls with Officers re: lawsuit and their claims.
8/20/2020   Burr, Camilo         2.4   Update master spreadsheet re: information about each Officer.
8/20/2020   Burr, Camilo         0.4   Conference with I. Huot re: questions by certain Officers.
8/20/2020   Aloise, Anthony J.   0.3   Email correspondence with process server and I. Huot regarding municipal service; review statute.
8/20/2020   Aloise, Anthony J.   2.7   Download new consent to join forms; draft notice of filing and file same.
8/20/2020   Aloise, Anthony J.   3.2   Update opt-in spreadsheet and correlate with due diligence spreadsheet to ensure uniformity.
8/21/2020   Huot, Innessa        6.2   Telephone call with Officers to answer questions about the case.
8/21/2020   Huot, Innessa        2.1   Exchange emails with Officers to send them the case information and documents they requested.
8/21/2020   Huot, Innessa        0.1   Conference with A. Hartzband re: intitial disclosures.
8/21/2020   Huot, Innessa        0.9   Meet with C. Burr re: specific inquiries from certain BTOs; follow up calls with BTOs to answer questions about case and their claims.
8/21/2020   Huot, Innessa        1.8   Update master spreadsheet with information about Officers.
8/21/2020   Huot, Innessa        0.2   Meet with A. Aloise re: service.
8/21/2020   Hartzband, Alex J.   6.8   Telephone calls with multiple Officers asking about the case and discussing their claims; update master spreadsheet.
8/21/2020   Hartzband, Alex J.   1.2   Draft initial disclosures and conference with I. Huot re: same.
8/21/2020   Burr, Camilo         8.6   Answer calls from multiple Officers asking about the case; update investigation spreadsheet regarding same.
8/21/2020   Burr, Camilo         0.3   Meet with I. Huot re: Officer's work and certain questions they had.
8/21/2020   Aloise, Anthony J.   0.4   Conference call with process server and I. Huot regarding affidavits and next steps.
8/21/2020   Aloise, Anthony J.   2.2   Download and lable new consent to join forms; combine and format for filing; file.
8/21/2020   Aloise, Anthony J.   2.7   Update both spreadsheets with key data for each opt-in.

8/22/2020   Huot, Innessa        0.8   Telephone call with co-counsel re: Officers calling to join the case, details about each Officer, and next steps in the litigation.
8/22/2020   Huot, Innessa          4   Return calls from Officers about the case; update spreadsheet with pertinent information about same.
8/23/2020   Huot, Innessa        3.8   Telephone calls with Officers to respond to inquiries about the case; update master spreadsheet re: same.
8/24/2020   Huot, Innessa        0.3   Telephone call with defense counsel re: service and details of the case.
8/24/2020   Huot, Innessa        0.2   Review service affidavits for filing.
8/24/2020   Huot, Innessa        5.5   Telephone call with Officers asking questions about the case.
8/24/2020   Huot, Innessa        1.7   Exchange emails with Officers sending them documents and case information they asked for.
8/24/2020   Huot, Innessa          1   Update investigation spreadsheet re: information about each Officer.
8/24/2020   Huot, Innessa        0.3   Review Defendants' letter to the Court re: related cases and transferring case.
8/24/2020   Huot, Innessa        1.2   Draft response letter to Defendants' correspondence to the Court.
8/24/2020   Huot, Innessa        0.5   Exchange emails and telephone calls with co-counsel re: Defendants' correspondence to the Court and Plaintiffs' response to same.
8/24/2020   Huot, Innessa        0.6   Revise response letter to incorporate edits and revisions from co-counsel.
8/24/2020   Huot, Innessa        0.2   Telephone call with A. Hartzband re: Defendants' letter and our response.
8/24/2020   Huot, Innessa        0.5   Exchange emails with MTA and TBTA Law Department re: service.
8/24/2020   Hartzband, Alex J.   6.4   Telephone calls with Officers to discuss the details of their work for Defendants.
8/24/2020   Hartzband, Alex J.   1.5   Update master spreadsheet to include specific information about each Officer.
8/24/2020   Hartzband, Alex J.   0.5   Review final version of response letter and conference with I. Huot re: Defendants' request to transfer case.
8/24/2020   Burr, Camilo         6.8   Calls with Officers asking about the case and discussing the details of their work; update investigation spreadsheet regarding same.
8/24/2020   Aloise, Anthony J.   0.3   Draft affidavit regarding Courtesy email; save process server affidavit for filing.
                                       Further edits to affidavit; file affidavits of service; calendar dates and update status report with judge information and due dates;
8/24/2020   Aloise, Anthony J.   1.2   download and save all newly filed documents in case.
8/24/2020   Aloise, Anthony J.   0.5   Proofread/format letter regarding related cases.
8/24/2020   Aloise, Anthony J.   0.3   Finalize Response Letter and file.
8/24/2020   Aloise, Anthony J.   1.2   Download and save new consent to join forms; update both spreadsheet.
8/24/2020   Aloise, Anthony J.   0.5   Finalize all new consent to join forms; draft and finalize notice; file.
8/24/2020   Aloise, Anthony J.   1.3   Review due diligence spreadsheet and opt-in spreadsheet and compile key data in both to ensure consistency.

8/25/2020   Huot, Innessa        7.8   Telephone call with Officers asking questions about the case; update investigation spreadsheet with details about each Officer.
8/25/2020   Huot, Innessa        1.7   Exchange emails with Officers sending them documents they asked for.
8/25/2020   Huot, Innessa        0.3   Meeting with A. Aloise re: consent to join forms and data in spreadsheets.
8/25/2020   Huot, Innessa        0.5   Conference with co-counsel re: developments in the case and next steps.
8/25/2020   Hartzband, Alex J.   1.1   Telephone calls with Officers answering questions about the case and update spreadsheet regarding same.
8/25/2020   Burr, Camilo         8.6   Calls with Officers about the case and and their work and update investigation spreadsheet.
8/25/2020   Aloise, Anthony J.   0.3   Conference with I. Huot re: details to include in spreadsheets and case assignments.
8/25/2020   Aloise, Anthony J.     3   Update spreadsheet with new contact information for opt-ins.
8/25/2020   Aloise, Anthony J.   0.9   Prepare today's consent forms for filing; draft notice of filing consent to join forms; file forms and notice.
                                       Telephone call with Officers to answer questions about the case and update investigation spreadsheet with details about the work
8/26/2020   Huot, Innessa        7.7   performed by each Officer.
8/26/2020   Huot, Innessa        2.7   Exchange emails with Officers re: claims in the case.
8/26/2020   Huot, Innessa        0.8   Telephone call with E. Tilton re: strategy for collective certification.
8/26/2020   Huot, Innessa        0.4   Meeting with A. Hartzband and C. Burr re: collective certification.
8/26/2020   Huot, Innessa        0.2   Email defense counsel to ask if they would consent to collective certification.
8/26/2020   Hartzband, Alex J.   0.4   Meet with I. Huot re: case strategy for collective certification.
8/26/2020   Hartzband, Alex J.   0.1   Review and approve notice of appearance.
8/26/2020   Hartzband, Alex J.   1.3   Telephone calls with Officers to answer questions about the case and discussion of their work; update spreadsheet regarding same.
8/26/2020   Burr, Camilo         0.4   Meeting with I. Huot to go over assignments in the case.
8/26/2020   Burr, Camilo         1.5   Review updated master spreadsheet re: investigation.
8/26/2020   Burr, Camilo         9.4   Telephone calls with Officers to answer questions about the case and their claims; update investigation spreadsheet for each Officer.
8/26/2020   Aloise, Anthony J.   0.2   Download newly filed Court documents; update Court information.
8/26/2020   Aloise, Anthony J.   0.5   Update opt-in spreadsheet with new contact information for opt-ins.
8/26/2020   Aloise, Anthony J.   0.4   Pull new judge information and update status report.

8/26/2020   Aloise, Anthony J.   0.8   Review docket for affidavits of service; forward to I. Huot for circulation; update status report with new counsel information.
8/26/2020   Aloise, Anthony J.   0.3   Draft and file Notices of Appearance for A. Hartzband.
8/26/2020   Aloise, Anthony J.   0.3   Finalize daily Consent to Join filing; file and save.
8/27/2020   Huot, Innessa        0.5   Conference with co-counsel re: filing motion for collective certification.
8/27/2020   Huot, Innessa        0.4   Meeting with A. Hartzband re: motion for collective certification.
8/27/2020   Huot, Innessa        5.5   Telephone call with Officers to answer questions about the case.
8/27/2020   Huot, Innessa        1.6   Exchange emails with Officers re: Complaint and other documents they asked for.
8/27/2020   Huot, Innessa          1   Update master spreadsheet with data about Officers.
8/27/2020   Huot, Innessa        0.3   Conference with A. Hartzband re: conducing further interviews with the opt-ins for specific information.
8/27/2020   Hartzband, Alex J.   0.4   Meeting with I. Huot re: motion for collective certification.
8/27/2020   Hartzband, Alex J.   0.8   Review and annotate Defendants' pre-motion conference letter re: anticipated motion to consolidate.
8/27/2020   Hartzband, Alex J.   0.3   Confer with I. Huot re: opt-ins interviews.
8/27/2020   Hartzband, Alex J.   0.3   Meet with C. Burr re: assisting with client interviews.
8/27/2020 Burr, Camilo           4.8 Interview opt-ins to collect pertinent information for the case and motion practice; update master spreadsheet regarding same.
8/27/2020 Burr, Camilo           1.8 Research case law cited by Defendants' counsel in their pre-motion letter for consolidation.
8/27/2020 Burr, Camilo           0.3 Meeting with A. Hartzband re: case assignments.

8/27/2020   Aloise, Anthony J.   1.2 Download and save new consent to join forms; update both spreadsheets with pertinent information about the Officers.
8/27/2020   Aloise, Anthony J.   0.5 Finalize daily Consent to Join filing; file and save.
8/28/2020   Huot, Innessa        0.8 Review, analyze, and annotate Defendants' letter motion re: consolidation.
8/28/2020   Huot, Innessa        2.1 Review and analyze case law cited by Defendants in their letter re: motion for consolidation.
8/28/2020   Huot, Innessa        4.2 Research case law re: consolidation of FLSA actions and extract pertinent law for use in response letter.
8/28/2020   Huot, Innessa        0.8 Draft detailed letter to Defendants re: preserving specific documents and ESI.
8/28/2020   Huot, Innessa        0.4 Multiple calls with co-counsel re: Defendants; letter and planned response to same.
8/28/2020   Huot, Innessa        0.5 Exchange emails and conference with A. Hartzband re: case law.
8/28/2020   Huot, Innessa        1.7 Review case law and research from A. Hartzband.
8/28/2020   Huot, Innessa        0.4 Meeting with A. Aloise re: consent to join forms and data in spreadsheets.
8/28/2020   Huot, Innessa        0.5 Conference call with A. Hartzband and co-counsel re: motion to consolidate and research relating to same.
8/28/2020   Huot, Innessa        0.1 Exchange emails with Defendants re: document preservation.
8/28/2020   Hartzband, Alex J.   3.6 Legal research re: motion to consolidate.
8/28/2020   Hartzband, Alex J.   2.8 Legal research re: lead counsel motion.
8/28/2020   Hartzband, Alex J.   0.5 Email with I. Huot and meeting re: motion to consolidate.
8/28/2020   Hartzband, Alex J.   0.5 Phone call with I. Huot and co-counsel re: motion to consolidate and motion for conditional certification.
8/28/2020   Burr, Camilo         3.4 Respond to calls from Officers asking questions about the case; update spreadsheet re: work performed by Officers.
8/28/2020   Burr, Camilo         7.2 Follow up interviews with certain Officers and update spreadsheet regarding same.
8/28/2020   Aloise, Anthony J.   0.3 Edit and finalize letter to Defendants.
8/28/2020   Aloise, Anthony J.   0.4 Meet with I. Huot re: consent to join forms.
8/28/2020   Aloise, Anthony J.   3.7 Download and save new consent to join forms; update spreadsheets; discuss opt-ins with I. Huot.
8/29/2020   Huot, Innessa        0.8 Telephone call with M. Rossetti re: motion for collective certification and allegations in same.
                                     Draft a detailed declaration of M. Rossetti in support of motion for collective certification; conference with M. Rossetti to go over
8/29/2020 Huot, Innessa          2.4 declaratiol; revise declaration to include edits from client, and exchange emails re: final version.

                                     Telephone call with T. Allston to go over motion for collective certification; draft declaration and Telephone call to go over details of
8/29/2020 Huot, Innessa          3.8 declaration; revise declaration to incorporate edits from T. Allston, and exchange emails regarding same.
8/29/2020 Huot, Innessa          0.3 Conference with C. Burr and A. Hartzband re: interviews with BTOs and questions regarding same.

                                     Telephone call with E. Schnieder re: collective certification and submitting declaration in support of same; draft declaration and
8/29/2020 Huot, Innessa          2.7 telephone call with E. Schnieder regarding same; revise declaration to include client's edits; exchange emails re: final version.

8/29/2020   Hartzband, Alex J.   0.6   Interview Officer re: details of his claims; update due diligence spreadsheet; and conference with I. Huot regarding same.
8/29/2020   Burr, Camilo         7.3   Interviews with BTOs to go over specific details for litigation; update due diligence spreadsheet.
8/29/2020   Burr, Camilo         0.3   Telephone call with I. Huot re: interviews.
8/30/2020   Huot, Innessa        0.7   Telephone call and exchange emails with co-counsel re: collective certification and declarations in support of same.
8/30/2020   Huot, Innessa        0.8   Telephone call with P. Gonzalez re: collective certification and declaration.
                                       Draft declaration for P. Gonzalez; telephone call to go over declaration; revise declaration and exchange emails with client re: updated
8/30/2020   Huot, Innessa        1.4   version.
8/30/2020   Huot, Innessa        3.2   Respond to telephone calls from Officers asking questions about the case and how they can join it.
8/30/2020   Huot, Innessa        1.3   Exchange emails with Officers re: Complaint and other documents they requested and update master spreadsheet regarding same.
8/30/2020   Huot, Innessa        0.2   Meet with A. Hartzband re: interview with Officers.

                                     Telephone call with J. Marcase to go over details of motion for collective certification; draft declaration and Telephone call with J.
8/30/2020 Huot, Innessa          2.6 Macase regarding same; revise declaration to include his edits and exchange emails re: updated version for his review.
                                     Telephone call with J. Mercado re: collective certification and developments related to same; draft declaration for J. Mercado and
8/30/2020 Huot, Innessa            2 conference call to go over same; revise declaration and exchange emails regarding same.
                                     Interview calls with Officers to discuss details of their work and their claims; update due diligence spreadsheet and conference with I.
8/30/2020 Hartzband, Alex J.       1 Huot regarding same.
8/30/2020 Burr, Camilo           8.3 Interview calls with BTOs and update due diligence spreadsheet.
                                     Telephone call with E. Kalanz re: collective certification; draft declaration and Telephone conference to go over declaration; revise
8/31/2020 Huot, Innessa          1.9 declaration and exchange emails regardign final version.
                                     Telephone call with K. Knois re: collective certification motion; draft declaration and conference with client regarding same; revise
8/31/2020 Huot, Innessa          1.7 declaration and exchange emails regarding same.
                                     Telephone call with T. Pringle re: collective certification and declaration; draft declaration and follow up call to go over same; revise
8/31/2020   Huot, Innessa        1.4 declaration and exchange emails regaring same.
8/31/2020   Huot, Innessa        0.5 Telephone call with Joseph's counsel re: potential coordination.
8/31/2020   Huot, Innessa        1.2 Conference with co-counsel re: implications of Joseph's case and strategy for litigation.
8/31/2020   Huot, Innessa        0.4 Follow up call with Joseph's counsel.
8/31/2020   Huot, Innessa        0.3 Meet with A. Hartzband to discuss conference calls with Joseph's counsel.
8/31/2020   Huot, Innessa        0.2 Conference with A. Aloise re: additional consent to join form.
8/31/2020   Huot, Innessa        0.5 Review and analyze Joseph's amended Complaint and exchange emails regarding same.
8/31/2020   Huot, Innessa        1.8 Draft Huot Declaration for collective cert brief.
                                     Multiple strategy meetings with A. Hartzband and C. Burr re: motion for collective certification; opposition to motion to consolidate, and
8/31/2020   Huot, Innessa        0.9 motion for lead counsel.
8/31/2020   Hartzband, Alex J.   0.4 Phone call with J. Lauer Barker re: motion to consolidate.
8/31/2020   Hartzband, Alex J.   0.3 Meeting with I. Huot re: motion to consolidate.
8/31/2020   Hartzband, Alex J.   0.3 Meeting with I. Huot re: Joseph litigation and impact on our case.
8/31/2020   Hartzband, Alex J.   0.4 Review Joseph's amended Complaint.
8/31/2020   Hartzband, Alex J.   0.3 Conference with I. Huot re: motion for conditional collective certification.
8/31/2020   Hartzband, Alex J.   0.2 Follow up meeting with I. Huot re: motion to consolidate and potential lead counsel motion.
                                     Respond to numerous calls from Officers asking questions about the case and how they can join and update due diligence spreadsheet
8/31/2020 Burr, Camilo           7.8 re: details of the work performed by Officers.
                                     Mulitple meeting with I. Huot and A. Hartzband strategy and assignments for motion to consolidate, motion for collective certification
8/31/2020   Burr, Camilo           1 and motion for lead counsel.
8/31/2020   Burr, Camilo         0.2 Telephone call with I. Huot re: Joseph amended Complaint.
8/31/2020   Burr, Camilo         0.4 Read and analyze Amended Complaint from Joseph case.
8/31/2020   Aloise, Anthony J.   1.3 Download and save new consent to join forms; update spreadsheets; draft notice of filing; file all forms.
8/31/2020   Aloise, Anthony J.    0.5   Conference with I. Huot re: additional form; download and save form; draft notice and file documents.
8/31/2020   Aloise, Anthony J.    0.2   Update spreadsheets with details about additional opt-in.
 9/1/2020   Huot, Innessa         0.5   Exchange emails and telephone call with co-counsel re: Joseph's amended Complaint.
 9/1/2020   Huot, Innessa         3.6   Review records provided by clients/opt-in Plaintiffs and extract information for use in collective certification motion.
 9/1/2020   Huot, Innessa        10.5   Edit and revise motion for collective certification to incorporate details from client declarations and client records.
 9/1/2020   Huot, Innessa         0.2   Conference with A. Hartzband re: definition of collective.
 9/1/2020   Huot, Innessa         0.2   Telephone call with L. Thousand.

 9/1/2020   Huot, Innessa         0.4   Review consent to join forms for Lorenzo Thousand and exchange emails and telephone calls with co-counsel regarding same.
 9/1/2020   Huot, Innessa         0.3   Exchange emails and telephone call with Joseph's counsel re: Wanye Joseph's refusal to cooperate.
 9/1/2020   Hartzband, Alex J.    0.2   Conference with I. Huot re: client declarations in support of motion for conditional certification and narrowing definition of collective.
 9/1/2020   Burr, Camilo          3.8   Interviews with Officers re: details for use in litigation and collective certification motion; update due diligence spreadsheet re: same.
 9/1/2020   Aloise, Anthony J.      2   Edit/proofread and format declarations for Officers relating to collective certification motion.
 9/1/2020   Aloise, Anthony J.    0.5   Pull newly submitted consent to join forms; update spreadsheets and provide I. Huot with a final count.
 9/1/2020   Aloise, Anthony J.    0.5   Finalize daily Consent to Join filing; file and save.
 9/2/2020   Huot, Innessa         1.4   Review edits to the motion for collective certification and exchange emails regarding same.

 9/2/2020   Huot, Innessa         1.2   Edit and revise notice of pendency, workplace posting, text notice, and email notice for use in collective certification brief.
 9/2/2020   Huot, Innessa         2.6   Respond to telephone calls from Officers asking questions about the case and how they can join it.
 9/2/2020   Huot, Innessa         1.2   Exchange emails with Officers re: Complaint and other documents they requested.
 9/2/2020   Huot, Innessa         0.5   Update master spreadsheet with details about the work performed by the Officers and different facilities.
 9/2/2020   Huot, Innessa         0.6   Exchange emails with co-counsel re: strategy for addressing the issue with Lorenzo Thousand.
 9/2/2020   Huot, Innessa         1.2   Compile and format all exhibits for use in collective certification brief.
 9/2/2020   Huot, Innessa         0.4   Team meeting re: collective certification motion and opposition to Defendants' consolidation letter.
 9/2/2020   Huot, Innessa         0.2   Telephone call with co-counsel re: response letter.
 9/2/2020   Huot, Innessa         0.5   Multiple meetings with A. Hartzband re: strategy for filing motions and details of collective certification motion.
 9/2/2020   Huot, Innessa         0.5   Review and edit co-counsel's opposition letter re: consolidation.
 9/2/2020   Hartzband, Alex J.    0.3   Review updated version of response letter re: consolidation.
 9/2/2020   Hartzband, Alex J.    0.5   Meetings with I. Huot re: both motions and strategy for same.
 9/2/2020   Hartzband, Alex J.      1   Review and annotate final version of certification motion and telephone call with I. Huot regarding same.
 9/2/2020   Burr, Camilo          0.9   Review and analyze updated motion for collective certification.
 9/2/2020   Burr, Camilo          0.3   Review and analyze letter in response to motion for consolidation.
 9/2/2020   Burr, Camilo          0.4   Team meeting re: motions for certification and consolidations and assignments related to same.
 9/2/2020   Aloise, Anthony J.    3.2   Proofread, cite check, and finalize Motion for Collective Certification.
 9/2/2020   Aloise, Anthony J.      1   Proofread and finalize Huot declaration.
 9/2/2020   Aloise, Anthony J.    1.5   Proofread, format, and finalize all client exhibits.
 9/2/2020   Aloise, Anthony J.    1.4   Proofread and finalize notice of pendency, email notice, text notice, and workplace posting in preparation for filing.
 9/2/2020   Aloise, Anthony J.    0.7   Compile and format all exhibits for use in motion.
 9/2/2020   Aloise, Anthony J.    0.3   File all motion papers and exchange emails relating to same.
 9/2/2020   Aloise, Anthony J.    0.8   Finalize daily Consent to Join filing; file and save; update spreadsheet with contact information for new opt-ins.
 9/3/2020   Huot, Innessa         0.2   Review Court's order re: pre-motion letter and conference with A. Hartzband regarding same.
 9/3/2020   Huot, Innessa         2.1   Review case law and edit pre-motion letter for motion for collective certification.
 9/3/2020   Huot, Innessa         0.5   Exchange emails and telephone calls with Court Clerk re: pre-motion letter for collective certification.
                                        Exchange emails and telephone calls with co-counsel re: edits and revisions to response letter for Defendants' motion for consolidation
 9/3/2020   Huot, Innessa         1.2   pre-motion letter.
 9/3/2020   Huot, Innessa         0.7   Exchange emails and telephone calls with co-counsel re: edits and revisions to pre-motion letter for motion for collective certification.
 9/3/2020   Huot, Innessa         0.2   Review and analyze Joseph's counsel's letter response to Defendants' pre-motion letter for consolidation.
 9/3/2020   Huot, Innessa         8.4   Review, edit, and revise response letter in opposition to Defendants' motion for consolidation.
 9/3/2020   Hartzband, Alex J.    5.3   Draft pre-motion conference opposition.
 9/3/2020   Hartzband, Alex J.    0.2   Email with I. Huot re: opposition to consolidation letter motion.
 9/3/2020   Hartzband, Alex J.    0.2   Call with I. Huot re: pre-motion letter for conditional certification motion.
 9/3/2020   Collopy, Patrick      2.8   Review and analyze case law in support of Plaintiffs' pre-motion letter re: motion for collective certification.
 9/3/2020   Aloise, Anthony J.    0.3   Finalize daily Consent to Join filing; file and save; update spreadsheets with contact information for new opt-ins.
 9/3/2020   Aloise, Anthony J.    3.5   Proofread and cite check response to pre-motion letter regarding consolidation; finalize and file.
 9/3/2020   Behnke, Derek         1.1   Proofread, finalize, and e-file pre-motion letter regarding motion for collective certification.
 9/4/2020   Huot, Innessa         3.9   Telephone call with Officer to answer questions about the case and discuss their claims.
 9/4/2020   Huot, Innessa           1   Exchange emails with Officers to send them the documents they requested.
 9/4/2020   Huot, Innessa         0.8   Update master spreadsheet re: details about Officers and their work.
 9/4/2020   Huot, Innessa         0.6   Draft update email to clients on status of the case and email same to clients.
 9/4/2020   Huot, Innessa         0.2   Review Court order re: briefing motion for consolidation.

 9/4/2020   Huot, Innessa         5.4   Respond to calls from numerous Officers asking about misleading statements made by Wayne Joseph in a Union Meeting.
 9/4/2020   Huot, Innessa         0.2   Review Court order re: briefing schedule and exchange emails regarding same.
 9/4/2020   Huot, Innessa         0.3   Telephone call with L. Thousand re: withdrawal from the case.
 9/4/2020   Huot, Innessa         0.3   Telephone call and exchange emails with co-counsel re: withdrawal of L. Thousand.
 9/4/2020   Aloise, Anthony J.    0.5   Download and save new Court orders; update calendar with due dates.
 9/4/2020   Aloise, Anthony J.      1   Review and save new opt-in documents and consent to join forms; update both spreadsheets with contact information and key data.

 9/4/2020 Aloise, Anthony J.      0.4 Review Joseph docket for opt-in dates and edit/proofread notice of withdrawal for L. Thousand; exchange emails regarding same.
 9/4/2020 Aloise, Anthony J.      0.5 Finalize daily Consent to Join filing; file and save.

 9/5/2020 Huot, Innessa           0.8 Review email from W. Joseph to Officers and exchange messages with co-counsel re: misleading and false statements he made.

 9/5/2020 Huot, Innessa           6.7 Respond to multiple telephone calls from Officers asking questions about W. Joseph's emails and his misleading and false statements.

 9/5/2020 Huot, Innessa           1.8 Prepare email to all clients to respond to misstatements made by W. Joseph and to provide a status update on details of the case.
                                      Telephone calls with BTOs to answer questions about the case and how to join it and update investigation spreadsheet with data
 9/5/2020   Huot, Innessa           4 regarding the work of each Officer.
 9/5/2020   Huot, Innessa         0.9 Exchange emails with co-counsel re: edits to email to clients; incorporate edits to email and send same to clients.
 9/6/2020   Huot, Innessa         7.2 Review and analyze documents collected from opt-ins.
 9/7/2020   Huot, Innessa         3.5 Return calls from Officer asking about the case and discussing their work.
 9/8/2020   Huot, Innessa         2.4 Exchange emails with Officers to send them documents they requested.
 9/8/2020   Huot, Innessa         6.3 Respond to numerous calls from Officers asking questions about the case and how to join it.
 9/8/2020   Huot, Innessa          2   Update master spreadsheet with details about Officers.
 9/8/2020   Huot, Innessa        0.2   Meet with A. Hartzband re: both motions and next steps.
 9/8/2020   Huot, Innessa        0.5   Review Defendants' response letter re: collective certification.
 9/8/2020   Huot, Innessa        0.4   Follow up call with L. Thousand re: withdrawal from the case.
 9/8/2020   Hartzband, Alex J.   0.2   Meeting with I. Huot re: pre-motion conference opposition and motion for conditional certification.
 9/8/2020   Hartzband, Alex J.   0.3   Review Defendants' pre-motion conference response letter.
                                       Review and save new opt-in documents and consent to join forms; update both spreadsheets with contact information and key data for
 9/8/2020 Aloise, Anthony J.     3.5   each Officer and the details of their work.
 9/8/2020 Aloise, Anthony J.     1.2   Finalize Withdrawal form for filing; finalize consent to join forms for the day and file all.
 9/9/2020 Huot, Innessa            6   Exchange emails and telephone calls with Officers asking questions about the case and how to join it.
                                       Meet and confer with defense counsel re: potential resolution of Plaintiffs' motion for collective certification and Defendants' motion for
 9/9/2020   Huot, Innessa        1.2   consolidation.
 9/9/2020   Huot, Innessa        0.5   Telephone call with co-counsel re: conversation with defense counsel and potential for resolution.
 9/9/2020   Huot, Innessa        0.1   Exchange emails with defense counsel re: follow up call regarding resolution of motions.
 9/9/2020   Huot, Innessa        0.3   Meeting with A. Hartzband and P. Collopy re: discussions with defense counsel on both motions.
 9/9/2020   Hartzband, Alex J.   0.3   Meeting with I. Huot and P. Collopy re: conditional certification.
 9/9/2020   Hartzband, Alex J.   0.6   Telephone call with BTO to answer questions about the vase; update investigation spreadsheet relating to same.
 9/9/2020   Collopy, Patrick     0.3   Litigation strategy meeting with I. Huot and A. Hartzband.
 9/9/2020   Hartzband, Alex J.   3.9   Interview calls with BTOs to go over their claims and update investigation spreadsheet relating to same.
                                       Review and save new opt-in documents and consent to join forms; finalize consent to join forms for the day and file; update spreadsheet
 9/9/2020 Aloise, Anthony J.      3    with key information about each Officer.
                                       Review and edit outline from co-counsel laying out proposal to defense counsel re: potential resolution of Plaintiffs' motion for
9/10/2020 Huot, Innessa          1.3   certification and Defendants' motion for consolidation.
                                       Follow up telephone call with defense counsel re: potential resolution of Plaintiffs' motion for certification and Defendants' motion for
9/10/2020 Huot, Innessa          0.8   consolidation and case law relating to same.

9/10/2020 Huot, Innessa          0.5 Additional follow up call with defense counsel re: strengths and weaknesses of points raised in support of Defendants' position.                i
9/10/2020 Huot, Innessa          0.2 Exchange emails with defense counsel re: proposal for resolution.
9/10/2020 Huot, Innessa          0.5 Team strategy meeting re: both motions and moving for lead counsel.
                                     Draft revised and updated email outlining proposal for resolution of Plaintiffs' motion for certification and Defendants' motion for
9/10/2020   Huot, Innessa        2.5 consolidation and case law in support of Plaintiffs' position.
9/10/2020   Huot, Innessa        0.1 Exchange emails with defense counsel re: follow up call.
9/10/2020   Hartzband, Alex J.   0.5 Meeting with I. Huot re: motion to consolidate, motion for conditional certification, and potential lead counsel motion.
9/10/2020   Hartzband, Alex J.   0.5 Review email correspondence with defense counsel attempting to resolve both motions.
9/10/2020   Collopy, Patrick     0.8 Read and analyze meet and confer emails with defense counsel.
9/10/2020   Collopy, Patrick     0.5 Litigation strategy meeting with I. Huot, A. Hartzband, and C. Burr.
9/10/2020   Burr, Camilo         6.4 Respond to telephone calls from Officers asking about the case and their claims; update spreadsheet regarding same.
9/10/2020   Burr, Camilo         0.5 Meeting with team re: litigation strategy.
9/10/2020   Burr, Camilo         2.3 Draft outline of all key data for Officers and conference with A. Aloise re: inclusion in investigation spreadsheet.
9/10/2020   Aloise, Anthony J.   0.4 Review SOBA case for specific individuals' eligibility.
9/10/2020   Aloise, Anthony J.   1.2 Review and save new opt-in documents and consent to join forms; finalize consent to join forms for the day and file.
9/10/2020   Aloise, Anthony J.   0.3 Conference with C. Burr re: spreadsheets and information to include in same.
9/10/2020   Aloise, Anthony J.   1.6 Update both spreadsheets with pertinent information about Officers and the details of their work.
9/11/2020   Huot, Innessa        5.2 Respond to numerous telephone calls with Officers to answer questions about the case and how to join it.
9/11/2020   Huot, Innessa        1.6 Exchange emails with Officers sending them documents they requested relating to the case.
9/11/2020   Huot, Innessa          1 Update spreadsheet with pertinent information.

9/11/2020 Huot, Innessa          3.1 Research case law re: overlapping collectives by two groups of Plaintiffs and exchange emails with co-counsel regarding same.
9/11/2020 Huot, Innessa          0.5 Review edits from co-counsel to draft email; incorporate edits and circulate revised version.
9/11/2020 Huot, Innessa          0.2 Draft notice of correction for opt-in Plaintiff that was misnamed.
                                     Send email to defense counsel laying out Plaintiffs' proposal for resolution of Plaintiffs' motion for certification and Defendants' motion
9/11/2020   Huot, Innessa        0.3 for consolidation and case law supporting Plaintiffs' position.
9/11/2020   Collopy, Patrick     5.2 Review and analyze case law re: judicial efficiency and multiple collective actions relating to same FLSA Collective.
9/11/2020   Burr, Camilo         4.8 Research issue of whether parallel FLSA conditional certification can proceed simultaneously.
9/11/2020   Burr, Camilo         6.4 Compile all research and draft memorandum for use in opposition brief re: consolidation.
9/11/2020   Aloise, Anthony J.   0.6 Pull all new consent to join forms; review spreadsheet regarding certain filings and telephone call regarding same.
9/11/2020   Aloise, Anthony J.   0.2 Review and file notice of correction.
9/11/2020   Aloise, Anthony J.   0.9 Convert 2020 and 2017 spreadsheets and pull out all inactive members.
9/11/2020   Aloise, Anthony J.     3 Compare opt-in list to active and inactive members and denote lawsuit participation and details relating to same.
9/11/2020   Aloise, Anthony J.   0.4 Compile and file last minute consent to join forms.
                                     Telephone calls with numerous Officers re: questions about the case and how to join and exchange emails with Officers to send them
9/12/2020 Huot, Innessa          4.5 documents they requested.
9/12/2020 Huot, Innessa          1.2 Update investigation spreadsheet with pertinent information about Officers.

9/12/2020 Huot, Innessa          0.9 Draft email to clients to update them on the status of the case and list of Officers who joined the case and spelling of everyone's name.

9/12/2020 Huot, Innessa          0.5 Exchange emails with co-counsel re: edits to the email to clients; incorporate edits to the email and send same to clients.
9/12/2020 Huot, Innessa          1.2 Prepare updated list of all Officers who joined the case and exchange emails with clients regarding same.

9/12/2020 Burr, Camilo           4.4 Conduct interviews with opt-ins re: details of their claims and their work; update due diligence spreadsheet with info about each Officer.
                                     Telephone call with each of the named Plaintiffs to update them on the developments of the case and answer their questions regarding
9/13/2020 Huot, Innessa          4.2 the litigation and next steps; respond to inquiries they compiled from other Officers.
                                     Telephone call with Officers as well as opt-ins asking about the case and the details of their claims; exchange emails with Officers sending
9/14/2020   Huot, Innessa        6.5 them documents they asked for.
9/14/2020   Huot, Innessa        1.2 Update due diligence spreadsheet with pertinent data.
9/14/2020   Huot, Innessa        0.4 Review pre-motion letter from Joseph's counsel and exchange emails with co-counsel regarding same.
9/14/2020   Huot, Innessa        0.5 Conference with co-counsel re: Joseph's pre-motion letter and impact on our case from same.
9/14/2020   Huot, Innessa        0.2 Conference with team re: Joseph's letter and impact on case regarding same.
9/14/2020   Hartzband, Alex J.   0.6 Review Joseph's letter re: collective certification and conference regarding same.
9/14/2020   Collopy, Patrick     0.7 Read Joseph's letter and team meeting regarding same.
9/14/2020   Burr, Camilo         0.6 Review Joseph's letter and meet with I. Huot re: next steps in the case.
                                     Review and save new opt-in documents and consent to join forms; update spreadsheets with contact information, job locations, and
9/14/2020 Aloise, Anthony J.     1.8 other key information about the Officers.
9/14/2020   Aloise, Anthony J.   0.5   Finalize consent to join forms; file notice.
9/15/2020   Huot, Innessa        7.6   Return multiple calls from Officers asking about the case and discussing their work for Defendants.
9/15/2020   Huot, Innessa          2   Exchange emails with Officers sending them documents they requested relating to the case.
9/15/2020   Huot, Innessa        1.7   Update master spreadsheet re: data on each Officer.
9/15/2020   Huot, Innessa        0.4   Review and analyze Defendants' response to Joseph's pre-motion conference letter.
9/15/2020   Huot, Innessa        0.4   Telephone call with co-counsel re: needing to file a response to Defendants' letter and substance of same.
9/15/2020   Huot, Innessa        1.2   Exchange multiple emails with Officers regarding Joseph's case and impact on our litigation.
9/15/2020   Collopy, Patrick     0.5   Review, analyze, and revise draft of tolling agreement.
9/15/2020   Burr, Camilo         1.6   Draft tolling agreement between FLSA Collective and Defendants.
9/15/2020   Aloise, Anthony J.   1.5   Review and save new opt-in documents and consent to join forms; update spreadsheet with contact information and job locations.
9/15/2020   Aloise, Anthony J.   3.2   Cross-reference and update comparison spreadsheet and added personal information to main spreadsheet.
9/15/2020   Aloise, Anthony J.     1   Finalize consent to join forms; file notice.
9/16/2020   Huot, Innessa        4.6   Research case law re: consolidation not being a merger and impact on the cases.
9/16/2020   Huot, Innessa        0.6   Exchange emails with co-counsel re: case law and arguments to add to response letter.
9/16/2020   Huot, Innessa        2.3   Telephone call with Officers asking about developments in the case and status of litigation.
9/16/2020   Huot, Innessa          1   Review outline of case law from P. Collopy and exchange emails regarding same.
9/16/2020   Collopy, Patrick     6.3   Review and analyze case law to support certain arguments for use in response letter.
9/16/2020   Collopy, Patrick     4.2   Draft outline of case law for use in response letter.
9/16/2020   Collopy, Patrick     0.2   Exchange emails with I. Huot re: research for opposition brief.
9/16/2020   Aloise, Anthony J.   1.3   Download and save new Court filings; download new consent to join forms and update spreadsheets.
9/16/2020   Aloise, Anthony J.   0.7   Finalize consent to join forms; file notice.
9/17/2020   Huot, Innessa        3.6   Review case law for use in opposition to Defendants' letter motion to stay certification briefing pending consolidation.
9/17/2020   Huot, Innessa        0.2   Conference with C. Burr re: response letter to Defendants' request to stay briefing on collective certification.
9/17/2020   Huot, Innessa        1.3   Review memorandum from C. Burr and case law for use in letter.
9/17/2020   Huot, Innessa        0.7   Answer call from E. Collazo and R. Cruz asking for assistance to withdraw from Joseph case and join Mercado case.
9/17/2020   Huot, Innessa        0.8   Call with ethics counsel re: communications with E. Collazo and R. Cruz and next steps in helping them join the case.
9/17/2020   Huot, Innessa        0.4   Telephone call with co-counsel re: Officers asking to withdraw from Joseph case and join Mercado case.
9/17/2020   Burr, Camilo         0.2   Meet with I. Huot re: response letter and research relating to same.
9/17/2020   Burr, Camilo         4.2   Research case law re: consolidation not being appropriate in FLSA 216(b) collective cases.
9/17/2020   Burr, Camilo         3.4   Draft memorandum outlining case law for use in letter.
9/17/2020   Aloise, Anthony J.   1.8   Download new consent to join forms and update spreadsheets.
9/17/2020   Aloise, Anthony J.   0.9   Transcribe phone conversation with certain named Plaintiffs from Joseph's case; scan and share with group.
9/17/2020   Aloise, Anthony J.   0.2   Print and organize case law for I. Huot.
9/17/2020   Aloise, Anthony J.   1.1   Finalize consent to join forms; file notice; print and organize further case law.
9/18/2020   Huot, Innessa        1.7   Review case law and memorandum re: research.
                                       Draft detailed and comprehensive response in opposition to Defendants' letter motion requesting a stay of certification briefing pending
9/18/2020   Huot, Innessa        8.2   consolidation.
9/18/2020   Huot, Innessa        0.8   Conference with co-counsel re: edits and revisions to opposition brief and arguments to raise in same.
9/18/2020   Aloise, Anthony J.     2   Update chart with contact information and key data from I. Huot list.
9/18/2020   Aloise, Anthony J.   3.2   Finalize consent to join forms; file notice; update master spreadsheet and comparison charts.
9/19/2020   Huot, Innessa        3.1   Revise response letter to incorporate edits and revisions from co-counsel.
9/19/2020   Huot, Innessa        6.9   Return telephone calls from Officers asking about the case and new developments.
9/19/2020   Huot, Innessa        0.6   Telephone call with named Plaintiffs re: updates in the case and next steps.
9/19/2020   Huot, Innessa        1.9   Update due diligence spreadsheet with details about Officers.
9/20/2020   Huot, Innessa        0.3   Conference with J. Beldner re: strategy for motions.
9/21/2020   Huot, Innessa        1.4   Review and analyze Defendants motion for consolidation.
9/21/2020   Huot, Innessa        0.9   Edit tolling agreement and exchange emails re: edits to same.
9/21/2020   Huot, Innessa        0.8   Draft email correspondence updating clients on status of the case.
9/21/2020   Huot, Innessa        0.3   Meeting with A. Hartzband and C. Burr re: Defendants' motion.

9/21/2020   Huot, Innessa        0.3   Respond to follow up calls from certain named Plaintiffs from the Joseph case asking about the Mercado case and how they can join it.
9/21/2020   Huot, Innessa        0.3   Review and edit declarations from E. Collazo and R. Cruz withdrawing from Joseph lawsuit.
9/21/2020   Huot, Innessa        0.3   Exchange emails and telephone calls with co-counsel re: E. Collazo and R. Cruz and motion practice.
9/21/2020   Hartzband, Alex J.   1.6   Review Defendants' motion to consolidate cases.
9/21/2020   Hartzband, Alex J.   0.3   Meeting with I. Huot re: motion to consolidate and stay decision on motion for conditional certification.
9/21/2020   Hartzband, Alex J.   0.5   Draft declarations for E. Collazo and R. Cruz regarding withdrawal from Joseph case.
9/21/2020   Burr, Camilo         0.3   Meet with I. Huot and A. Hartzband re: Defendants' consolidation motion.
9/21/2020   Burr, Camilo         4.6   Respond to calls from Officers asking questions about the case and their claims.
9/21/2020   Burr, Camilo         1.5   Update master spreadsheet with details about each Officer.
9/21/2020   Aloise, Anthony J.   1.6   Download new consent to join forms and make further updates to both spreadsheets.
9/21/2020   Aloise, Anthony J.   0.3   Transcribe phone call from Joseph Plaintiffs; scan and email to the team.
9/21/2020   Aloise, Anthony J.   0.2   Review, finalize, and file withdrawal documents for E. Collazo and R. Cruz.
9/21/2020   Aloise, Anthony J.   1.4   Edit/proofread opposition letter; finalize and file.
9/21/2020   Aloise, Anthony J.   0.3   Download filed motion papers and circulate to team; exchange emails relating to same.
9/22/2020   Huot, Innessa        0.1   Exchange emails with Joseph's counsel re: meet and confer call.
9/22/2020   Huot, Innessa        1.1   Exchange emails and calls with defense counsel negotiating the tolling agreement and other aspects of the case.
9/22/2020   Huot, Innessa        0.8   Strategize with co-counsel re: conferring with Joseph's counsel.
                                       Telephone calls with named Plaintiffs and certain opt-ins to update them on Defendants' motion, our planned opposition, and the status
9/22/2020 Huot, Innessa          6.7   of the case; respond to inquiries collected by named Plaintiffs relating to the case.
                                       Conduct substantial research into issues of whether collective actions can be consolidated, whether Courts can impose consolidation on
9/22/2020   Burr, Camilo         8.1   Plaintiffs, merger of collective actions, and expediency of notice.
9/22/2020   Aloise, Anthony J.   0.3   Download new consent to join forms; review and reorganize docket folders.
9/22/2020   Aloise, Anthony J.   0.3   Proofread/finalize tolling agreement.
9/23/2020   Huot, Innessa        0.4   Conference call with Joseph's Counsel.
9/23/2020   Huot, Innessa        1.2   Draft detailed email to clients updating them on developments in the case.
9/23/2020   Huot, Innessa        0.1   Exchange emails with Joseph's counsel re: conference call.
9/23/2020   Huot, Innessa        0.3   Conference with C. Burr re: research and questions relating to same.
9/23/2020   Huot, Innessa        3.9   Interview calls with Officers to talk about their work for Defendants; update spreadsheet regarding same.
9/23/2020   Huot, Innessa        1.3   Calls with Named Plaintiffs to answer questions they collected from their colleagues.
9/23/2020   Burr, Camilo         0.3   Meet with I. Huot to go over research for opposition brief.
9/23/2020   Burr, Camilo         4.4   Draft memorandum outlining research of the specific issues requested.
9/23/2020   Aloise, Anthony J.   0.2   Finalize consent to join forms; file notices.
9/23/2020   Aloise, Anthony J.   0.4   Review Joseph docket and pull specific filings and email same to I. Huot.
9/23/2020   Behnke, Derek        0.3   Proofread detailed email to clients and email edits to I. Huot.
9/24/2020   Huot, Innessa        0.3   Conference with co-counsel re: reaching out to Joseph's counsel about working together.
9/24/2020   Huot, Innessa        0.8   Draft detailed email proposal to Joseph's counsel re: working together.
9/24/2020   Huot, Innessa        0.1   Follow up call with co-counsel re: email to Joseph's counsel.
9/24/2020   Huot, Innessa        5.3   Draft a detailed surreply letter per Court's order.
                                       Telephone call and exchange email with Officer asking about the case and how he could join; update spreadsheet with information about
9/24/2020   Huot, Innessa        0.3   the Officer.
9/24/2020   Huot, Innessa        0.3   Conference with A. Aloise re: next steps in the litigation and case assignments.
9/24/2020   Huot, Innessa        3.1   Interview calls with opt-ins to discuss details of their claims; update due diligence spreadsheet regarding same.
9/24/2020   Aloise, Anthony J.   1.3   Proofread and edit surreply letter.
9/24/2020   Aloise, Anthony J.   0.5   Compile, save, and file consent to join forms.
9/24/2020   Aloise, Anthony J.   0.3   Discussion with I. Huot regarding next steps.
                                       Telephone calls with Officers asking for details about the case and discussing their work for Defendants; update master spreadsheet
9/25/2020   Huot, Innessa          3   regarding work performed by Officers.
9/25/2020   Huot, Innessa        0.7   Exchange emails with Officers re: case documents.
9/25/2020   Huot, Innessa        0.2   Exchange emails with Joseph's counsel re: working together.
9/25/2020   Huot, Innessa        1.7   Review and analyze C. Burr's research memorandum and case law.
9/25/2020   Huot, Innessa        0.3   Meeting with C. Burr to go over his research.
9/25/2020   Huot, Innessa        0.4   Conference with co-counsel re: edits to surreply.
9/25/2020   Burr, Camilo         0.3   Conference with I. Huot re: research inquiries and memorandum.
9/25/2020   Burr, Camilo         4.8   Conduct additional research for opposition brief and prepare memorandum summarizing same.
9/25/2020   Aloise, Anthony J.     3   Finalize consent to join forms and update spreadsheets.
9/28/2020   Huot, Innessa        0.2   Follow up email Joseph's counsel re: proposal for working together.
9/28/2020   Huot, Innessa        0.6   Call with Officer to answer questions about the case including how to join it; email requested documents to Officer.

9/28/2020 Huot, Innessa          0.3 Meeting with C. Burr and A. Hartzband re: additional section needed to be added to the sur-reply and research relating to same.
                                     Review and analyze all FLSA single Plaintiff, collective, or class cases litigated by Joseph's counsel and dispositions of same; draft outline
9/28/2020   Huot, Innessa        7.8 of all litigation for use in cross motion brief for appointment of general counsel.
9/28/2020   Hartzband, Alex J.   0.3 Meeting with I. Huot and C. Burr re: surreply letter.
9/28/2020   Hartzband, Alex J.     1 Review current draft of surreply and telephone call with I. Huot regarding same.
9/28/2020   Burr, Camilo         1.7 Conduct research on test for lead counsel in collective actions and conference with I. Huot and A. Hartzband re: same.
9/28/2020   Aloise, Anthony J.   0.4 Download and save filed Court documents.
9/28/2020   Aloise, Anthony J.   0.5 Cross check I. Huot list of contact information with master list for any missing information.
9/28/2020   Aloise, Anthony J.   0.2 Work with D. Behnke on consent to join filing.
9/28/2020   Behnke, Derek        0.3 Draft and e-file notice of consent to join form.
9/29/2020   Huot, Innessa        2.6 Edit and revise surreply to add section re: cross motion and research supporting same.
9/29/2020   Huot, Innessa        0.6 Telephone call with co-counsel to go over their edits to the letter.
9/29/2020   Huot, Innessa        0.8 Edit and update surreply to incorporate edits and comments from co-counsel.
9/29/2020   Huot, Innessa        4.5 Review, analyze, annotate case law cited by Defendants' in their motion brief.

9/29/2020   Huot, Innessa        4.8   Research case law for use in response brief; review memranda from C. Burr on pertinent case law for use in opposition brief.
9/29/2020   Burr, Camilo         0.5   Research dockets for examples of joint notices.
9/29/2020   Aloise, Anthony J.   0.4   Update files with Court filed documents; update spreadsheet with pertinent Officer information.
9/29/2020   Aloise, Anthony J.     2   Cite check and proofread surreply letter.
9/29/2020   Aloise, Anthony J.   0.8   Final review and file surreply letter; email courtesy copy to Judge and counsel.
9/29/2020   Huot, Innessa        9.8   Draft the Cross Motion section of the brief, seeking appointment as General Counsel.
9/30/2020   Huot, Innessa        0.2   Review Court Order and exchange emails with co-counsel regarding same.
9/30/2020   Huot, Innessa        0.1   Email defense counsel re: consenting to conditional collective certification.

9/30/2020   Huot, Innessa        1.5   Exchange emails and telephone calls with defense counsel regarding potential coordination on consolidation and collective certification.
9/30/2020   Huot, Innessa        0.5   Team meeting with A. Hartzband, P. Collopy, and C. Burr re: denial of stay and next steps and assignments.
9/30/2020   Huot, Innessa        1.7   Draft detailed proposal to defense counsel re: potential coordination on consolidation and collective certification.
9/30/2020   Huot, Innessa        0.3   Exchange emails and telephone call with co-counsel re: draft proposal.
9/30/2020   Hartzband, Alex J.   0.5   Meeting with I. Huot and P. Collopy re: order denying stay of briefing on motion for conditional certification.
9/30/2020   Collopy, Patrick     0.5   Meet with I. Huot and team re: motion to consolidate and potential agreement with defense counsel to resolve same.
9/30/2020   Burr, Camilo         0.5   Meeting with I. Huot to discuss Court's order and next steps in the case.
9/30/2020   Burr, Camilo         6.2   Research case law for use in opposition brief.
9/30/2020   Burr, Camilo         4.5   Draft memorandum outlining case law.
9/30/2020   Aloise, Anthony J.   0.8   Download and save consent to join forms; prepare and file; update spreadsheets.

10/1/2020   Huot, Innessa        0.8   Exchange emails and calls with co-counsel to go over revisions to the draft proposal; implement edits and recirculate updated version.
10/1/2020   Huot, Innessa        0.8   Telephone call with defense counsel re: proposal for coordination.
10/1/2020   Huot, Innessa        0.1   Exchange emails with defense counsel re: proposal for coordination.
10/1/2020   Huot, Innessa        1.8   Meet and confer with defense counsel and co-counsel re: structure of potential coordination.
10/1/2020   Huot, Innessa        0.5   Confer with co-counsel on Defendants' counter-proposal.
10/1/2020   Huot, Innessa        0.5   Follow up telephone call with defense counsel ultimately not coming to an agreement on coordination.
10/1/2020   Huot, Innessa        0.7   Meet and confer with defense counsel re: edits to the Notice of Pendency and negotiations regarding same.

10/1/2020 Huot, Innessa          0.3 Meeting with P. Collopy and C. Burr re: cross motion to designate general counsel and research assignments relating to same.
10/1/2020 Huot, Innessa          2.2 Telephone calls with multiple clients re: details for their declarations for opposition brief.
                                     Draft declarations and exchange emails and telephone calls with clients re: edits to same; update declarations and email updated
10/1/2020   Huot, Innessa        4.3 versions to clients.
10/1/2020   Collopy, Patrick     0.3 Meeting with I. Huot and C. Burr re: opposition brief for consolidation and lead counsel cross motion.
10/1/2020   Collopy, Patrick     7.8 Review and analyze case law re: factors to consider in general counsel appointments in FLSA collective actions.
10/1/2020   Burr, Camilo         0.3 Meet with I. Huot re: reseach for cross-motion.
10/1/2020   Burr, Camilo         1.2 Research templates of lead counsel briefs filed in federal Courts on Bloomberg.
10/1/2020   Burr, Camilo         7.7 Researching cases where lead counsel is appointed between two dueling collective actions.
10/2/2020   Huot, Innessa        3.2 Revise cross-motion brief to incorporate research from C. Burr and P. Collopy.
10/2/2020   Huot, Innessa          7 Continue drafting brief in opposition to motion for consolidation.
10/2/2020   Huot, Innessa        0.1 Exchange emails with defense counsel re: request for additional pages.
10/2/2020   Huot, Innessa        0.1 Telephone call with defense counsel re: request for additional pages.
10/2/2020   Huot, Innessa        0.2 Revise letter to the Court requesting a page enlargement and exchange emails regarding same.
10/2/2020   Huot, Innessa        0.2 Conference with A. Hartzband re: opposition to consolidation motion.
 10/2/2020   Huot, Innessa        0.8   Exchange emails and call with co-counsel re: strategy for drafting their sections of the opposition brief and arguments to raise in same.
 10/2/2020   Huot, Innessa        0.2   Telephone call with co-counsel re: Defendants' opposition to collective certification.
 10/2/2020   Huot, Innessa        3.8   Edit and revise Argument section re: prejudice from consolidation.
 10/2/2020   Hartzband, Alex J.   0.2   Call with I. Huot re: motion to consolidate.
 10/2/2020   Hartzband, Alex J.   0.4   Phone call with C. Burr to help with legal research for motion to consolidate.
 10/2/2020   Burr, Camilo         5.9   Conduct further research on specific issues and arguments for opposition brief and cross motion.
 10/2/2020   Burr, Camilo           3   Prepare memorandum summarizing case law for use in brief.
 10/2/2020   Burr, Camilo         0.4   Draft letter to Court requesting extension of MOL page limit to 40 pages.
 10/2/2020   Burr, Camilo         0.4   Conference with A. Hartzband to go over research.
 10/2/2020   Aloise, Anthony J.   0.2   Download Court filed documents; find MTA order and send to I. Huot.
 10/2/2020   Aloise, Anthony J.   0.6   Finalize and file Consent to Join form and update spreadsheets.
 10/2/2020   Aloise, Anthony J.   0.4   Finalize and file Letter regarding excess pages and email Court with same.
 10/3/2020   Huot, Innessa        6.5   Review and revise Fact Section of the brief and incorporate details and facts from client declarations.
 10/3/2020   Huot, Innessa        3.3   Edit and revise cross-motion section to incorporate additional facts and details from client declarations.
 10/3/2020   Huot, Innessa        0.6   Multiple calls with co-counsel to strategize about arguments to raise in opposition brief.
 10/3/2020   Huot, Innessa        5.1   Edit and revise Argument section re: consolidation for discovery purposes only.
 10/3/2020   Collopy, Patrick     1.3   Review draft opposition brief.
 10/3/2020   Collopy, Patrick     0.8   Team meeting and conference call with co-counsel re: arguments to add to brief.
 10/3/2020   Collopy, Patrick       3   Draft Huot Declaration in opposition to motion to consolidate.
 10/3/2020   Collopy, Patrick     1.6   Draft proposed order.
 10/3/2020   Collopy, Patrick     0.4   Draft notice of motion.
 10/3/2020   Collopy, Patrick     1.8   Compile and format all exhibits for use in opposition brief and cross motion.
 10/4/2020   Huot, Innessa        4.8   Edit and revise Argument section re: opposing consolidated Complaint.
 10/4/2020   Huot, Innessa        3.8   Edit and revise Argument section re: two competing collectives.
 10/4/2020   Huot, Innessa        1.8   Review edit and revise Huot Declaration.
 10/4/2020   Huot, Innessa          1   Review and edit proposed Order.
 10/4/2020   Huot, Innessa        0.3   Review and edit Notice of Cross Motion.
 10/4/2020   Huot, Innessa        1.5   Review all compiled exhibits and cross-reference same to the brief.
 10/5/2020   Huot, Innessa        5.5   Review, analyze and revise entire brief with all sections put together.
 10/5/2020   Huot, Innessa        1.2   Telephone call with co-counsel re: updated version of the brief and additional edits needed.
 10/5/2020   Huot, Innessa        3.1   Review edits, revisions, and comments from co-counsel and implement same into operative version of the brief.
 10/5/2020   Huot, Innessa        2.9   Edit updated version of the brief to incorporate citations to Huot Declaration and clients' declarations.
 10/5/2020   Huot, Innessa        0.6   Coordinate with D. Behnke re: filing all papers.
 10/5/2020   Huot, Innessa        2.7   Review of final (updated) version of oppositin brief and cross motion and authorize filing of same.
 10/5/2020   Collopy, Patrick     5.4   Review, analyze and revise draft of motion to consolidate.
 10/5/2020   Aloise, Anthony J.   0.4   Finalize and file Consent to Join form; update spreadsheets.
 10/5/2020   Behnke, Derek        4.3   Proofread, cite check, edit, and finalize opposition to motion to consolidate.
 10/5/2020   Behnke, Derek        1.3   Proofread, edit, and finalize Huot declaration.
 10/5/2020   Behnke, Derek        0.9   Proofread, edit, and finalize proposed order.
 10/5/2020   Behnke, Derek        0.3   Proofread, edit, and finalize notice of motion.
 10/5/2020   Behnke, Derek        3.4   Proofread, edit, and finalize Cross motion.
 10/5/2020   Behnke, Derek          1   Compile and finalze all exhibits.
 10/5/2020   Behnke, Derek        1.3   Compile and finalze all client declarations.
 10/5/2020   Behnke, Derek        0.5   E-file opposition to motion to consolidate and all ancillary papers.
 10/5/2020   Behnke, Derek        0.5   E-file opposition Cross motion and all ancillary papers.
 10/6/2020   Huot, Innessa        0.3   Exchange emails and telephone calls with defense counsel re: their request for a reply brief.
 10/6/2020   Huot, Innessa        0.2   Review Defendants' letter re: reply brief.
 10/6/2020   Huot, Innessa          1   Prepare response to Defendants' letter accusing Plaintiffs of not complying with pre-motion letter requirements.
 10/6/2020   Huot, Innessa        0.4   Telephone call with co-counsel re: strategy for replying to collective certification briefing.
 10/6/2020   Aloise, Anthony J.   0.8   Download and save all Court filed documents; discuss Courtesy copies with D. Behnke.
 10/6/2020   Aloise, Anthony J.   0.3   Record ethics counsel's expense and forward invoice for payment.
 10/6/2020   Aloise, Anthony J.   0.5   Proofread/format letter responding to Defendants' accusations; finalize and file; email Court with Courtesy copy.
 10/6/2020   Aloise, Anthony J.   1.5   Scan, save, tag, and log records from opt-ins.
 10/7/2020   Huot, Innessa        0.2   Telephone call with Officer asking questions about the case and about how he can join it.
 10/7/2020   Huot, Innessa        0.2   Exchange emails with Officer sending him the documents he was asking for.
 10/7/2020   Huot, Innessa        0.2   Email co-counsel re: conversation with Officer and questions he asked.
 10/7/2020   Huot, Innessa        0.4   Team meeting re: motion practice, litigation, and next steps in the case.
 10/7/2020   Hartzband, Alex J.   0.4   Meeting with I. Huot re: motions and litigation.
 10/7/2020   Collopy, Patrick     0.4   Strategy meeting re: upcoming motions.
 10/7/2020   Burr, Camilo         0.4   Meet with I. Huot re: assignments for the case.
 10/8/2020   Huot, Innessa        1.5   Review and annotate Defendants' opposition to motion for collective certification.
 10/8/2020   Huot, Innessa        0.3   Conference with co-counsel re: arguments raised in Defendants' opposition brief and strategy for reply.
 10/8/2020   Huot, Innessa        0.3   Meet with A. Hartzband re: notice issues to concede in reply brief.
 10/8/2020   Huot, Innessa          1   Draft revised notice of pendency itimizing details Plaintiffs are willing to concede.
                                        Telephone calls with named Plaintiffs to answer questions about the status and developments of the case and respond to inquiries they
 10/8/2020   Huot, Innessa        2.2   collected from opt-ins.
 10/8/2020   Huot, Innessa        2.5   Review and annotate client records.
 10/8/2020   Hartzband, Alex J.   0.3   Meeting with I. Huot re: reply in further support of motion for conditional certification.
 10/8/2020   Aloise, Anthony J.   0.2   Update master spreadsheet and save new opt-in information.
 10/8/2020   Aloise, Anthony J.   0.3   Finalize and file Consent to Join form; update spreadsheets.
 10/9/2020   Huot, Innessa        0.4   Follow up call with J. Mercado re: litigation strategy.
 10/9/2020   Huot, Innessa        3.5   Research case law for use in Reply brief.
 10/9/2020   Huot, Innessa        5.1   Distinguish cases used by Defendants' in their opposition brief, for inclusion in Reply brief.
 10/9/2020   Huot, Innessa        1.3   Outline arguments for reply brief.
 10/9/2020   Huot, Innessa        0.3   Exchange emails with co-counsel re: outline and case law for reply brief.

10/10/2020   Huot, Innessa        0.7   Telephone call with co-counsel to go over revisions to outline of arguments and discussion of issues to concede in reply brief.
10/11/2020   Huot, Innessa        3.5   Draft a detailed and comprehensive reply brief.
10/12/2020   Huot, Innessa        9.3   Continue drafting Reply brief brief.
10/12/2020   Huot, Innessa        0.3   Conference with A. Hartzband re: reply brief.
10/12/2020   Hartzband, Alex J.   1.3   Review draft reply brief.
10/12/2020   Hartzband, Alex J.   0.3   Meeting with I. Huot re: reply in further support of motion for conditional certification.
10/12/2020   Aloise, Anthony J.   0.8   Review MTA records for number of opt-ins versus total size of potential collective.
10/13/2020   Huot, Innessa        6.5   Continue drafting a detailed and comprehensive reply brief.
10/13/2020   Huot, Innessa        0.3   Exchange emails with co-counsel re: draft of reply brief.
10/13/2020   Collopy, Patrick     2.4   Draft Huot Declaration in support of Reply Brief of Motion for Condtional Certification.
10/14/2020   Huot, Innessa        3.2   Return calls from opt-ins to answer questions about the case and next steps.
10/14/2020   Huot, Innessa        0.3   Confer with co-counsel re: issues raised by opt-in and questions regarding same.
10/14/2020   Huot, Innessa          1   Update and revise Huot Declaration in support of Reply brief.
10/14/2020   Huot, Innessa        2.3   Review comprehensive due diligence spreadsheet and extract information for use in reply brief.
10/15/2020   Huot, Innessa        0.5   Conference with co-counsel to go over their edits and revisions to the reply brief.
10/15/2020   Huot, Innessa          3   Review co-counsel's edits and revisions to Reply brief and incorporate same in updated version.
10/15/2020   Huot, Innessa        2.6   Further revise reply brief to add details about opt-ins from investigation spreadsheet.
10/15/2020   Aloise, Anthony J.   0.2   Save and log new opt-in form; update master spreadsheet.
10/15/2020   Aloise, Anthony J.   0.3   Finalize and file Consent to Join form; update spreadsheets.
10/16/2020   Huot, Innessa        0.8   Review and analyze Defendants' Reply motion re: consolidation.
10/16/2020   Huot, Innessa        0.6   Conference with co-counsel re: Defendants' reply brief and impact on Plaintiffs' current Reply brief.
10/16/2020   Huot, Innessa        3.8   Update and revise Reply brief and exchange emails regarding same.
10/16/2020   Collopy, Patrick     1.5   Review Defendants' reply brief re: consolidation and exchange emails regarding same.
10/16/2020   Aloise, Anthony J.   0.5   Download and save new consent to join form; prep notice and file; update spreadsheet.
10/16/2020   Behnke, Derek        3.4   Proofread, cite-check, and finalize collective certification reply brief.
10/16/2020   Behnke, Derek        1.6   Proofread, format, and finalize Huot declaration and all exhibits.
10/16/2020   Behnke, Derek        0.5   E-file collective certification reply brief and all ancillary papers.
10/19/2020   Aloise, Anthony J.   0.3   Download Court filed documents and update files.

10/27/2020 Huot, Innessa          0.6 Telephone call with Officer to answer questions about the case and email requested documents; conference with co-counsel re: same.
10/30/2020 Huot, Innessa          1.8 Return calls from BTOs re: status of the case and next steps.

 11/2/2020   Huot, Innessa        0.6   Telephone call with Officer re: litigation and case questions; Telephone call with co-counsel and exchange emails refarding same.
 11/2/2020   Huot, Innessa        0.2   Conference with C. Burr re: investigation of claims of the opt-ins.
 11/2/2020   Burr, Camilo         0.2   Meet with I. Huot to discuss claim investigation of the Officers.
 11/2/2020   Burr, Camilo         1.1   Prepare investigation outline for calls with opt-ins.
 11/2/2020   Aloise, Anthony J.   0.5   Update spreadsheet with new opt-in information; draft and file notice with consent to join form.
 11/3/2020   Huot, Innessa        0.5   Review and edit outline for investigation calls with BTOs and conference with C. Burr regarding same.
 11/3/2020   Huot, Innessa        4.5   Telephone calls with opt-ins to investigate their claims; add pertinent information to investigation spreadsheet.
 11/3/2020   Burr, Camilo         0.4   Conference with I. Huot and go over edits to the outline for investigation calls.
                                        Conduct investigatory calls with opt-isn to go over their pre-shift/post-shift work and other details about their claims; update
 11/3/2020   Burr, Camilo         6.2   spreadsheet relating to each Officer.
 11/6/2020   Huot, Innessa        5.2   Telephone calls with opt-ins to go over the details of their off-the-clock work; update spreadsheet regarding same.
 11/6/2020   Huot, Innessa        0.5   Review correspondence from Defendants in the Joseph matter and conference with co-counsel regarding same.
 11/9/2020   Huot, Innessa        3.8   Investigation calls with opt-ins and update spreadsheet re: same.
 11/9/2020   Aloise, Anthony J.     2   Scan, save, tag, and log records from opt-ins.
11/12/2020   Huot, Innessa        6.2   Review records from opt-ins and telephone calls with Officers regarding same; update spreadsheet.
11/12/2020   Huot, Innessa        0.4   Meeting with C. Burr to go over opt-in investigation and information obtained.
11/12/2020   Burr, Camilo         5.8   Investigation calls with opt-ins to obtain specific information about their claims.
11/12/2020   Burr, Camilo         0.4   Meet with I. Huot re: investigation.
11/16/2020   Huot, Innessa          4   Follow up calls with opt-ins to go over their records; update due diligence spreadsheet regarding same.
11/16/2020   Burr, Camilo         4.6   Return calls from opt-ins to go over their pre-shift and post-shift work.
11/17/2020   Behnke, Derek        0.2   Draft Camilo Burr Notice of Appearance.
11/18/2020   Burr, Camilo         0.1   Review notice of appearance and authorize same for filing.
11/18/2020   Burr, Camilo         5.5   Investigation calls with opt-ins to gather information about their claims.
11/20/2020   Huot, Innessa        2.3   Detailed call with named Plaintiffs to answer questions they collected from opt-ins.
11/20/2020   Huot, Innessa        4.5   Investigation calls with opt-ins to to go over the details of their claims; update spreadsheet regarding same.
11/20/2020   Burr, Camilo         2.9   Calls with opt-ins re: investigation of their claims.
11/20/2020   Aloise, Anthony J.   1.2   Scan, save, tag, and log records from opt-ins.
 12/2/2020   Huot, Innessa        5.5   Review records from opt-ins and extract pertinent information for use in the case.
 12/2/2020   Huot, Innessa        3.2   Telephone call with opt-ins to discuss their off-the-clock work.
 12/2/2020   Burr, Camilo           7   Investigation calls with opt-ins to discuss their claims; update invesitgation spreadsheet regarding same.

 12/4/2020 Huot, Innessa          2.8 Review and annotate all investigation/due diligence notes; conference with C. Burr re: follow-ups needed from certain opt-ins
 12/4/2020 Burr, Camilo           1.4 Conference with I. Huot re: investigation and additional information needed; review comprehensive spreadsheet for follow up calls.
                                      Follow up investigation calls with certain opt-ins to go over their records and additional details about their work; update spreadsheet to
 12/4/2020   Burr, Camilo         5.2 include additional information about opt-ins.
 12/8/2020   Huot, Innessa        1.4 Exchange emails and telephone calls with clients re: update on the case and responses to their inquiries.
 12/8/2020   Huot, Innessa        3.4 Telephone calls with opt-ins to answer questions about the case and update them on case developments.
 12/8/2020   Huot, Innessa        0.2 Meet with A. Aloise re: spreadsheets and pertinent information in same.
 12/8/2020   Aloise, Anthony J.   0.1 Look up Officer contact information and exchange emails relating to same.
                                      Review all spreadsheets and compile pertinent information about opt-ins claims into investigation spreadsheet; cross reference data to
 12/8/2020   Aloise, Anthony J.   3.8 ensure accuracy.
12/16/2020   Huot, Innessa        3.6 Call with certain opt-ins re: documents and records relating to their claims; review records and annotate same.
12/16/2020   Huot, Innessa        0.8 Review and annotate updated version of investigation spreadsheet.
12/16/2020   Huot, Innessa        0.5 Meeting with A. Hartzband and C. Burr to go over investigation and case strategy.
12/16/2020   Huot, Innessa        1.4 Call with co-counsel to go over investigation and details about opt-ins; discuss strategy for discovery and litigation.
12/16/2020   Hartzband, Alex J.   1.5 Review and annotate investigation spreadsheet and take notes on issues to discuss at meeting.
12/16/2020   Hartzband, Alex J.   0.5 Team meeting with I. Huot re: case strategy and investigation
12/16/2020   Burr, Camilo           1 Review and analyze spreadsheet in preparation for meeting.
12/16/2020   Burr, Camilo         0.5 Meet with I. Huot and A. Hartzband re: investigation of opt-ins and next steps.
                                      Telephone conference with named Plaintiffs to update them on case status and developments and to answer the questions they
12/21/2020   Huot, Innessa        2.2 collected from their colleages.
  1/6/2021   Huot, Innessa          1 Telephone call with co-counsel re: status of investigation, preparing for discovery, methodology research, and strategy for litigation.
  1/6/2021   Huot, Innessa        0.5 Telephone call with referring attorney re: expert witnesses and damage methodology.
  1/6/2021   Huot, Innessa        1.2 Conference with expert re: damage calculation methodology.
  1/6/2021   Huot, Innessa        0.3 Follow up call with co-counsel re: expert.
  1/6/2021   Huot, Innessa        1.4 Return calls from Officers asking about the status of motion practice and their claims in the case.
  1/6/2021   Huot, Innessa        0.3 Meet with A. Hartzband and C. Burr re: interview with expert and his assessment.
 1/6/2021   Hartzband, Alex J.   1.2Review and analyze investigation spreadsheet.
 1/6/2021   Hartzband, Alex J.   0.4Review research and memorandum re: damage methodology.
 1/6/2021   Hartzband, Alex J.   0.3Meet with I. Huot to discuss potential expert witness, methodology, and strategy for litigation.
 1/6/2021   Burr, Camilo         0.5Telephone call with two opt-ins to answer their questions about the case and next steps.
 1/6/2021   Burr, Camilo         0.3Conference with I. Huot and A. Hartzband re: expert witness.
1/11/2021   Huot, Innessa        5.4Return calls from opt-ins to discuss case development, case status, and next steps in the litigation.
1/11/2021   Huot, Innessa        0.3Call with co-counsel re: potential expert witnesses.
1/11/2021   Huot, Innessa        2.9Research witnesses pulled by co-counsel to assess whether they would be appropriate for the case.
1/12/2021   Huot, Innessa          1Interview call with expert witness to discuss damage methodology and potential retention for the case.
1/12/2021   Huot, Innessa        0.3Conference with A. Hartzband and C. Burr re: expert witness.
1/12/2021   Hartzband, Alex J.   0.3Meet with I. Huot re: expert witness and their assessment of damage methodology.
1/12/2021   Burr, Camilo         0.3Conference with I. Huot re: retaining expert witness for the case.
                                    Conduct investigation calls with opt-ins to assess pre-shift and post-shift work and the details of BTO's work at different facilities; update
1/14/2021 Huot, Innessa           6 investigation spreadsheet.

1/18/2021 Huot, Innessa          1.2 Review and annotate investigation spreadsheet and conference with co-counsel re: case developments and investigation.
1/18/2021 Huot, Innessa          4.9 Telephone calls with opt-ins to discuss off-the-clock work; update spreadsheet regarding same.
                                     Investigatory calls with opt-ins to discuss their claims and their work; update investigation spreadsheet to include pertinent information
1/18/2021   Burr, Camilo         5.6 about each Officer.
1/18/2021   Aloise, Anthony J.   2.3 Scan, save, tag, and log records from opt-ins.
1/18/2021   Aloise, Anthony J.     4 Compile all documents from opt-ins and prepare same for mailing back; mail back same.
1/18/2021   Aloise, Anthony J.   2.2 Review spreadsheets and update master spreadsheets to make sure all data correlates.
1/20/2021   Huot, Innessa        4.3 Review client records and extract pertinent documents for use in litigation; update spreadsheet to include information from records.
1/20/2021   Huot, Innessa        3.8 Telephone call with BTOs to conduct investigation in the case.
1/20/2021   Burr, Camilo         2.5 Follow up calls with opt-ins to discuss their claims; update spreadsheet.

1/21/2021   Huot, Innessa          2   Telephone calls with named Plaintiffs to answer questions about case developments and questions they collected from their colleagues.
1/25/2021   Huot, Innessa        2.8   Review details client records and conference with co-counsel regarding same.
1/25/2021   Huot, Innessa        3.3   Telephone call with opt-ins to go over their records and their claims.
1/27/2021   Huot, Innessa        4.2   Follow up calls with opt-ins to investigate their claims and go over their records.
 2/2/2021   Huot, Innessa        3.7   Research expert witnesses and prepare summary for each potential candidate.
 2/2/2021   Burr, Camilo         6.2   Investigatory calls with opt-ins to discuss their claims and their work; update spreadsheet regarding same.
 2/3/2021   Huot, Innessa        4.1   Further research on top potential expert witnesses; compile prior cases and testimony from proposed witnesses.
 2/3/2021   Huot, Innessa        0.6   Telephone call with co-counsel to go over potential witnesses and research relating to same.
 2/3/2021   Huot, Innessa        0.3   Conference with A. Hartzband and C. Burr re: expert witnesses.
 2/3/2021   Hartzband, Alex J.   1.4   Review research and summary for top candidates for expert witnesses.
 2/3/2021   Hartzband, Alex J.   0.3   Conference with I. Huot re: pros and cons for each witness.
 2/3/2021   Burr, Camilo         0.3   Meet with I. Huot and A. Hartzband to go over expert witnesses.
 2/3/2021   Burr, Camilo         4.8   Return voicemails from Officers asking about the status of the case and delay in connection with motions.
 2/7/2021   Huot, Innessa        0.2   Call with A. Aloise re: client records.
 2/7/2021   Aloise, Anthony J.   0.9   Scan, save, tag, and log records from opt-ins and conference with I. Huot regarding same.
2/10/2021   Huot, Innessa        0.4   Group meeting to discuss status of case and next steps in the litigation.
2/10/2021   Huot, Innessa        1.4   Call with expert witness to discuss methodology and potential retention.
2/10/2021   Huot, Innessa        0.3   Call with co-counsel re: feedback on witness they proposed.
2/10/2021   Huot, Innessa        2.5   Review additional records and documents from clients.
2/10/2021   Huot, Innessa        0.2   Telephone call with T. Crabill re: Mercado case and pertinent records to review.
2/10/2021   Hartzband, Alex J.   0.4   Meet with team re: case status, invesitation, and expert witnesses.
2/10/2021   Burr, Camilo         0.4   Meeting with I. Huot and the team to go over the case and assignments.
2/10/2021   Crabill, Taylor      0.2   Conference with I. Huot re: reviewing case records and next steps.
2/10/2021   Crabill, Taylor      5.2   Analyze case file, motion papers, investigation documents, and other pertinent records to get up to speed on the case.
2/10/2021   Crabill, Taylor      0.4   Participate in group meeting to discuss case developments and assignments.

2/11/2021   Crabill, Taylor      3.4   Continue reviewing records and prepare memo of follow up questions and issues to discuss with I. Huot on case strategy and next steps.
2/14/2021   Huot, Innessa        0.3   Conference with co-counsel re: additional expert witnesses they propose for interview.
2/14/2021   Huot, Innessa        0.6   Meeting with T. Crabill to answer questions about the case and further discussion on litigation strategy.
2/14/2021   Huot, Innessa        2.9   Research additional expert witnesses and their prior cases; prepare summary document related to same.
2/14/2021   Crabill, Taylor      0.7   Review and edit memo re: follow up questions and issues to discuss with I. Huot.
2/14/2021   Crabill, Taylor      2.6   Review and annotate pertinent client records to assess claims and Defendants' potential defenses.
2/14/2021   Crabill, Taylor      0.6   Meet with I. Huot to go over questions on the case, upcoming assignments, litigation strategy, and questions.
2/17/2021   Huot, Innessa        0.2   Exchange messages with Officers re: status of the case.


2/17/2021 Huot, Innessa          4.6 Calls will opt-ins to investigate their claims and assess the details of their off-the-clock work; update investigation spreadsheet re: same.
                                     Participate in telephone calls with I. Huot and opt-in Plaintiffs to learn about the case and assess the strengths and weaknesses of
2/17/2021   Crabill, Taylor      3.8 Plaintiffs' claims.
2/19/2021   Huot, Innessa        3.2 Return telephone calls to multiple Officers explaining delays in the case stemming from motion practice.
2/19/2021   Huot, Innessa        0.2 Conference with T. Crabill re: investigation notes.
2/19/2021   Crabill, Taylor      1.4 Review and analyze investigation spreadsheet and conference with I. Huot re: questions about same.
2/22/2021   Huot, Innessa        0.2 Exchange emails with client re: status of the case.

2/22/2021   Huot, Innessa        1.7 Telephone call with named Plaintiffs re: case developments, investigation, and respond to questions they collected from their Officers.
2/26/2021   Huot, Innessa        0.2 Confer with co-counsel re: status update email to clients.
2/26/2021   Huot, Innessa          1 Draft detailed case update email to all clients.
2/26/2021   Huot, Innessa        3.4 Respond to telephone calls from multiple clients to answer questions about the case.
2/26/2021   Crabill, Taylor      0.2 Review email to all clients re: case developments.
2/26/2021   Crabill, Taylor        2 Assist with responding to calls from opt-ins re: case developments and answering questions they may have.
 3/1/2021   Huot, Innessa        0.2 Meet with A. Aloise re: updating case records and spreadsheets with compiled data.
 3/1/2021   Huot, Innessa        0.3 Confer with co-counsel re: responses to update email to clients and telephone calls regarding same.
 3/1/2021   Aloise, Anthony J.     3 Update class list with new contact information and employment status and conference with I. Huot regarding same.
 3/9/2021   Huot, Innessa        0.3 Confer with co-counsel re: additional expert witnesses to review and interview.
 3/9/2021   Huot, Innessa        0.2 Meet with T. Crabill re: expert witnesses.
 3/9/2021   Huot, Innessa        0.3 Exchange emails re: document production of paydata and conference with A. Aloise regarding same.
                                     Research potential expert witnesses, including their prior cases, reports, and testimony; prepare outline/summary of research and
 3/9/2021 Crabill, Taylor        5.1 conference with I. Huot regarding same.
 3/9/2021 Aloise, Anthony J.      1.7 Save, format, and organize document production.
3/10/2021 Huot, Innessa           1.3 Review research and write up re: expert witnesses.
3/10/2021 Huot, Innessa           0.3 Conference with co-counsel re: Defendants' payroll records.
                                      Review and annotate Defendants' payroll records; cross reference records to pay documents from clients and client records regarding
3/10/2021   Huot, Innessa         5.2 same.
3/11/2021   Huot, Innessa         1.1 Conference with named Plaintiffs regarding payroll records and certain notations in same.
3/11/2021   Huot, Innessa         3.3 Cross reference Defendants' records with client investigation notes and telephone calls with clients regarding same.
3/17/2021   Huot, Innessa         0.8 Telephone call with potential expert witness to assess suitability.
3/17/2021   Huot, Innessa         0.3 Conference with co-counsel re: expert witnesses and Defendants' records.
3/17/2021   Crabill, Taylor       0.8 Participate in telephone call to interview expert witness.

3/29/2021   Huot, Innessa         0.9   Multiple calls with expert witness re: methodology and potential retention for the case; conference with T. Crabill re: notes on experts.
3/29/2021   Huot, Innessa         0.2   Conference with co-counsel re: potential expert witness.
3/29/2021   Crabill, Taylor       0.9   Interview call with expert witness for the case and confer with I. Huot regarding same.
3/31/2021   Huot, Innessa           4   Follow up calls with certain Officers re: payroll records and details of their work off-the-clock.
 4/6/2021   Huot, Innessa         0.3   Exchange emails with collective member to answer questions about the case.
 4/6/2021   Huot, Innessa         0.8   Review retainer agreement with expert and conference with co-counsel regarding same.
 4/6/2021   Huot, Innessa         0.2   Conference with T. Crabill re: payroll records.
 4/6/2021   Crabill, Taylor       3.3   Review payroll records and conference with I. Huot regarding same.
4/19/2021   Huot, Innessa         2.6   Return calls from Officers to update them on the case and answer their questions about case developments and delays.
4/28/2021   Huot, Innessa         0.3   Call with co-counsel re: status of litigation, motion practice, investigation, expert witnesses, and Defendants' document production.
 5/4/2021   Huot, Innessa         1.8   Telephone calls with opt-ins re: status of the case and documents to provide.

5/12/2021   Huot, Innessa         1.8   Group call with named Plaintiffs answering questions they compiled from opt-ins and discussing status of case and strategy for litigation.
5/17/2021   Aloise, Anthony J.      1   Scan, save, tag, and log all client records.
5/19/2021   Aloise, Anthony J.    4.2   Compile all hard copy documents from clients; prepare shipping lables and packages; mail back documents to clients.
5/24/2021   Huot, Innessa         2.6   Review additional client records and telephone call with clients regarding same.
 6/1/2021   Huot, Innessa         0.8   Respond to telephone calls from clients asking questions about the case and discussion of their work.
 6/7/2021   Huot, Innessa         0.3   Team meeting re: status of the case, responses to client calls, and next steps in the litigation.
 6/7/2021   Hartzband, Alex J.    0.8   Review updated investigation notes and conference with I. Huot re: litigation strategy.
 6/7/2021   Burr, Camilo          0.3   Meet with I. Huot re: investigation calls and status of motion practice.
 6/7/2021   Crabill, Taylor       0.5   Review recent emails between counsel and meet with I. Huot to discuss status of the case.
6/10/2021   Huot, Innessa         0.3   Confer with co-counsel re: status of investigation and document gathering.
6/15/2021   Huot, Innessa         0.5   Telephone call with expert re: details of the case and status of motion practice.
6/24/2021   Huot, Innessa         0.6   Review and analyze Court's Order denying Defendants' motion to consolidate and exchange emails with co-counsel relating to same.

6/24/2021   Huot, Innessa         1.5 Review, analyze, and anotate Court's Order granting collective certification and exchange emails with co-counsel regarding same.
6/24/2021   Huot, Innessa         0.3 Review magistrate assignment and individual rules; review remote deposition order.
6/24/2021   Huot, Innessa         0.5 Telephone call with co-counsel to go over decisions for both motions and strategize next steps in the case.
6/24/2021   Huot, Innessa         0.8 Telephone calls with named Plaintiffs to update them on the two Court orders.
6/24/2021   Huot, Innessa         1.2 Exchange multiple emails with opt-ins updating them on case developments and next steps.
6/24/2021   Huot, Innessa         0.2 Exchange emails with A. Hartzband re: Court decisions and next case assignments.
6/24/2021   Huot, Innessa         0.2 Meet with A. Aloise re: collective membership and notices.
6/24/2021   Hartzband, Alex J.    0.4 Review and annotate Order denying motion to consolidate.
6/24/2021   Hartzband, Alex J.    1.4 Review and annotate Order granting conditional certification.
6/24/2021   Hartzband, Alex J.    0.2 Email with I. Huot re: Order denying motion to consolidate and Court's order granting collective certification.
6/25/2021   Huot, Innessa         1.6 Follow up calls with the named Plaintiffs to answer the questions they collected on behalf of their colleagues.
6/25/2021   Aloise, Anthony J.    0.2 Review class numbers for I. Huot.
6/29/2021   Huot, Innessa         0.1 Exchange emails with defense counsel re: collective certification.
 7/7/2021   Huot, Innessa         0.2 Exchange emails with defense counsel re: contact into for the putative collective.
                                      Review Defendants' production of data re: active and inactive Officers; cross reference information with invesitgation spreadsheet and
 7/7/2021 Huot, Innessa           1.2 internal notes and exchange emails regarding same.
 7/7/2021 Huot, Innessa           0.4 Conference with A. Aloise and co-counsel re: document production from Defendants.
                                      Review and analzye release provisions of prior settlement agreement and exchange emails with co-counsel re: potential impact on
 7/7/2021 Huot, Innessa           1.4 certain opt-ins in the instant case.

 7/7/2021 Crabill, Taylor         3.2 Review potential mediators for proposed selection to assess top candidates to use; draft memorandum to I. Huot regarding same.
                                      Review Defendants' production; format data and extract information for notice mailings and email notices of pendency; conference with
 7/7/2021   Aloise, Anthony J.    1.5 I. Huot regarding same.
 7/8/2021   Huot, Innessa         0.5 Review write up of potential mediators.
 7/8/2021   Huot, Innessa         0.2 Exchange emails with defense counsel re: mediator selection.
 7/8/2021   Huot, Innessa         0.3 Meet with A. Hartzband to discuss issuance of notices and responses to calls; exchange emails re: logging information into case file.
 7/8/2021   Huot, Innessa         0.1 Exchange emails with defense counsel re: issuance of notice and emails of the Officers.
 7/8/2021   Huot, Innessa         0.6 Conference with A. Aloise and A. Householder re: issuance of notice of pendency and exchange emails regarding same.
 7/8/2021   Hartzband, Alex J.    0.3 Meeting with I. Huot re: collective action notices.
 7/8/2021   Aloise, Anthony J.    1.6 Discuss next steps with I. Huot re: notice issuance; discuss same with A. Householder; exchange emails with I. Huot.

 7/8/2021   Householder, Amanda   0.9 Review notice documents and spreadsheet; confer with I. Huot and A. Aloise re: process for issuing notices and recording returns.
 7/9/2021   Huot, Innessa         0.5 Exchange multiple emails with clients re: notice being issued.
 7/9/2021   Huot, Innessa           1 Telephone call with opt-ins to explain issuance of notice.
 7/9/2021   Huot, Innessa         0.5 Confer with A. Aloise and A. Householder re: notices of pendency and exchange emails regarding same.
 7/9/2021   Aloise, Anthony J.    0.5 Meeting with I. Huot re: processes and procedures for notice administation and tracking; exchange emails reg: same.
 7/9/2021   Householder, Amanda   0.5 Exchange emails with I. Huot and A. Aloise re: directions for notice process and conference with them regarding same.
                                      Review Defendants' letter to the Court requesting an extension of time to answer or move with respect to the Joseph complaint;
7/12/2021 Huot, Innessa           0.4 conference with named Plaintiff regarding same.
7/13/2021 Huot, Innessa           0.6 Exchange emails and telephone calls with Officer's executor who wants to opt-in on behalf of her deceased husband.

7/13/2021 Huot, Innessa           0.8 Telephone call with collective members asking about the details of the case; send litigation documents requested by Officer.
                                      Cross reference master spreadsheet and respond to inquiries from certain Officers about whether they are included in the case; update
7/13/2021   Huot, Innessa           1 spreadsheet regarding same.
7/13/2021   Huot, Innessa         0.3 Conference with A. Aloise re: questions from certain Officers; exchange multiple emails regarding same.
7/13/2021   Huot, Innessa         0.2 Exchange emails and telephone call with A. Hartzband re: circumstances of opt-in's claims.
7/13/2021   Hartzband, Alex J.    0.2 Email and conference with I. Huot re: opt-in by executor of deceased Plaintiff's estate.
7/13/2021 Aloise, Anthony J.      0.3 Meet with I. Huot re: certain opt-ins and inquiries from same and exchange emails regarding same.
                                      Telephone call with members of the collective asking about the case; send litigation documents; update master spreadsheet with
7/14/2021 Huot, Innessa           2.3 information about Officers' work for Defendants.
7/14/2021 Huot, Innessa           0.3 Conference with co-counsel re: issuance of notices and responses from the collective.
7/15/2021 Huot, Innessa           1.1 Review Defendants' answers from MTA and TBTA and exchange emails with A. Aloise regarding same.

7/15/2021 Huot, Innessa           0.4 Review letter from Joseph's counsel re: not pursuing collective certification; conference with co-counsel regarding same.

7/15/2021   Huot, Innessa         0.5   Telephone call with named Plaintiffs re: Joseph not pursuing collective certification and impact of same on the Mercado case.
7/15/2021   Huot, Innessa         0.2   Conference with A. Hartzband re: Pitta firm not pursuing collective certification and impact on the Mercado case.
7/15/2021   Hartzband, Alex J.    0.2   Meeting with I. Huot re: update in the Joseph case.
7/16/2021   Huot, Innessa         3.8   Telephone call with multiple Officers re: Kronos system; confer with co-counsel re: issue with Kronos.
7/16/2021   Huot, Innessa         0.2   Email defense counsel re: Kronos records and preservation issue.

7/16/2021   Huot, Innessa         0.6   Review MTA's and TBTA's amended answers; exchange emails regarding circulating same; confer with co-counsel regarding same.
7/16/2021   Hartzband, Alex J.    0.5   Review Defendants' amended answers.
7/16/2021   Burr, Camilo          0.7   Review Answers filed by MTA and TBTA.
7/16/2021   Crabill, Taylor       0.8   Review and annotate responsive pleadings from MTA and TBTA.
7/19/2021   Huot, Innessa         0.3   Exchange emails and telephone call with defense counsel re: follow up on Kronos records and preservation issue.
7/20/2021   Huot, Innessa         0.2   Conference with A. Aloise re: consent to join forms.
7/20/2021   Huot, Innessa         0.3   Review correspondence to Court from Pitta firm re: amending complaint; conference with co-counsel regarding same.
7/20/2021   Aloise, Anthony J.    0.2   Discuss new consent to join forms with I. Huot and next steps with A. Householder.
7/20/2021   Householder, Amanda   0.2   Meet with a. Aloise re: join forms.
7/22/2021   Huot, Innessa         0.5   Review and analyze Defendants' pre-motion letter to dismiss Joseph case; conference with co-counsel regarding same.

7/22/2021   Huot, Innessa         0.9   Telephone calls with named Plaintiffs to update them on Defendants' filings and answer their questions regarding impact on instant case.
7/23/2021   Huot, Innessa         0.1   Exchange emails with A. Householder re: consent to join forms.
7/23/2021   Huot, Innessa         0.2   Telephone call with Officer asking about the case and asking for documents to be mailed to a different address.
7/23/2021   Behnke, Derek         0.2   Meet with A. Householder to show her procedure for filing consent to join forms and notices.
                                        Scan, format, and finalize collected consent to join forms; draft notice of filing; file documents; log Officers' information in master
7/23/2021   Behnke, Derek         0.4   spreadsheet.
7/23/2021   Behnke, Derek         0.2   Mail notice documents to B. Morano per his request.
7/23/2021   Householder, Amanda   0.2   Meet with D. Behnke re: procedure for filing consent to join forms.
7/23/2021   Householder, Amanda   0.4   Shadow D. Behnke to see process for formatting forms, drafting notices, filing documents, and updating spreadsheet.
7/23/2021   Householder, Amanda   0.1   Exchange emails with I. Huot re: filing documents.
7/26/2021   Huot, Innessa         0.3   Exchange emails with co-counsel re: opt-in period, initial conference, upcoming discovery, and potential mediation.
7/26/2021   Huot, Innessa         0.2   Exchange emails with defense counsel re: meet and confer about the case.
7/29/2021   Huot, Innessa         0.1   Telephone call with defense counsel re: initial conference report.
7/29/2021   Huot, Innessa         0.5   Conference call with co-counsel re: litigation strategy and next steps.
7/30/2021   Huot, Innessa         0.6   Review and edit initial conference report and questionnaire.
7/30/2021   Huot, Innessa         0.3   Exchange emails and telephone call with co-counsel re: edits to the report.
7/30/2021   Huot, Innessa         0.3   Implement edits and revisions from co-counsel.

7/30/2021   Behnke, Derek         0.4   Scan, format, and finalize mulitple consent to join forms; draft notice of filing; file documents; log information into master spreadsheet.
 8/2/2021   Huot, Innessa         0.2   Telephone call with defense counsel re: report and questionaire.
 8/2/2021   Huot, Innessa         0.5   Edit and revise Defendants' initial conference report to the Court.
 8/2/2021   Huot, Innessa         0.3   Edit and revise initial conference questionnaire.
                                        Review Defendants' scheduling order in the Joseph matter and conference with co-counsel regarding specific dates in same and whether
 8/2/2021   Huot, Innessa         0.3   it impacts the schedule in the Mercado case.
 8/2/2021   Huot, Innessa         0.3   Exchange emails with J. Beldner and E. Tilton re: initial conference report and questionnaire and edits to same.
 8/2/2021   Huot, Innessa         0.1   Exchange emails with defense counsel re: joint report and scheduling order.
 8/2/2021   Huot, Innessa         0.5   Telephone call with defense counsel re: revisions to the joint report and scheduling order.
 8/2/2021   Huot, Innessa         0.2   Revise letter and scheduling order to incorporate edits from defense counsel.
 8/4/2021   Huot, Innessa         0.2   Exchange emails with defense counsel and A. Hartzband re: edits to initial conference questionnaire and joint report.
 8/4/2021   Hartzband, Alex J.    0.1   Exchange emails re: joint report and edits to same.
 8/5/2021   Huot, Innessa         0.2   Exchange emails with co-counsel re: discussions with Defendants on potential mediation.
 8/5/2021   Huot, Innessa         0.2   Exchange emails with defense counsel re: edits to joint letter and filing same; confer with D. Behnke re: filing.
 8/6/2021   Huot, Innessa         0.2   Exchange emails and telephone call with C. Burr re: drafting initial disclosures and discovery demands.
 8/6/2021   Burr, Camilo          0.2   Confer with I. Huot re: case assignments; exchange emails regarding same.
 8/6/2021   Householder, Amanda   0.4   Compile and format consent to join forms; draft notice of filing; file documents; log info into master spreadsheet.
 8/9/2021   Huot, Innessa         0.1   Exchange emails with D. Behnke re: filing scheduling order and joint report.
 8/9/2021   Burr, Camilo          1.2   Draft Plaintiffs' initial disclosures.
 8/9/2021   Behnke, Derek         0.5   Proofread, format, and finalize joint letter regarding scheduling order; confer with I. Huot regarding same.
8/10/2021   Burr, Camilo          6.2   Draft Plaintiffs' Request for Document Production.
                                        Review Joseph's second amended complaint and conference with co-counsel regarding same; telephone call with named Plaintiff to
8/11/2021   Huot, Innessa         0.8   update him on Joseph's filing.
8/11/2021   Huot, Innessa         0.3   Exchange emails and confer with C. Burr re: discovery demands and questions about same.
8/11/2021   Burr, Camilo          5.1   Draft Plaintiffs' Interrogatory requests.
8/11/2021   Burr, Camilo          0.3   Exchange emails and conference with I. Huot re: draft discovery demands.
8/12/2021   Huot, Innessa         0.4   Edit and revise initial disclosures and exchange emails with co-counsel regarding same.
8/12/2021   Huot, Innessa         0.2   Review co-counsel's edits to initial disclosures and exchange emails regarding same.
8/12/2021   Burr, Camilo          4.2   Continue drafting RFPs.
8/12/2021   Behnke, Derek         0.4   Proofread Plaintiffs' initial disclosures and exchange emails with I. Huot regarding same.
                                        Review scheduling order and dates in same and exchange emails with defense counsel re: interpretation of certain deadlines and
8/16/2021   Huot, Innessa         0.3   confusion regarding same.
8/12/2021   Burr, Camilo          3.6   Continue drafting Plaintiffs' Interrogatories.
8/16/2021   Aloise, Anthony J.    0.5   Review docket and files for outstanding discovery dates; forward same to I. Huot.
8/17/2021   Huot, Innessa         0.5   Confer with co-counsel re: strategy on discovery deadlines and process; exchange emails regarding same.
8/17/2021   Huot, Innessa         0.3   Exchange emails with defense counsel re: agreement on discovery.
                                        Edit and format consent to join form; draft notice of filing; file documents; update spreadsheet regarding same; calendar outstanding
8/17/2021 Behnke, Derek           0.5   dates for deadlines.
8/18/2021 Huot, Innessa           0.2   Review Court's order re: scheduling and exchange emails regarding same.
8/20/2021 Huot, Innessa           0.2   Review consent to join forms and authorize filing of same; exchange emails regarding same.
8/20/2021   Householder, Amanda   0.3   Compile consent to join forms; draft notice; update spreadsheet; exchange emails with I. Huot regarding same.
8/23/2021   Huot, Innessa         0.2   Email defense counsel re: mediation; conference with co-counsel regarding same.
8/23/2021   Huot, Innessa         0.2   Exchange emails re: deadline for filing consent to join forms.
8/23/2021   Huot, Innessa         0.3   Meet with A. Hartzband to go over case developments and potential settlement discussions.
8/23/2021   Hartzband, Alex J.    0.3   Meeting with I. Huot re: case management plan, notices of collective action, and mediation.
                                        Exchange emails with defense counsel re: mediation and potential mediator selection; telephone call with mediator's office re:
8/25/2021   Huot, Innessa         0.4   availability; exchange emails regarding same.
8/25/2021   Huot, Innessa         0.3   Conference with A. Hartzband re: damage calculations and potential settlement.
8/25/2021   Hartzband, Alex J.    0.3   Meeting with I. Huot re: damages calculation for mediation and review of pay and time records for same.
8/26/2021   Huot, Innessa         0.3   Follow up call with mediator's office re: mediation; exchange emails with defense counsel regarding same.
8/30/2021   Huot, Innessa         0.3   Final review of updated initial disclosures and exchange emails with co-counsel regarding same.
8/30/2021   Huot, Innessa         0.3   Draft email in response to mediator's request and circulate email to defense counsel for review.
8/30/2021   Aloise, Anthony J.    0.3   Review disclosures; draft email; forward all to A. Householder for service.
8/30/2021   Householder, Amanda   0.2   Review document and edit draft email; serve documents and exchange emails regarding same.
8/31/2021   Huot, Innessa         2.4   Review,edit, and revise RFPs and exchange emails with C. Burr regarding same.
8/31/2021   Burr, Camilo            4   Revise RFPs to incorporate and respond to edits and feedback from I. Huot.
                                        Review Defendants' answers to Joseph's amended complaint and assess any useful admissions made in same; conference with co-counsel
 9/1/2021   Huot, Innessa         0.5   regarding same.
 9/1/2021   Huot, Innessa         1.6   Review, edit, and revise updated version of RFPs and exchange emails with C. Burr regarding same.
 9/1/2021   Huot, Innessa         0.2   Exchange emails re: opt-ins to answer questions about the case.
 9/1/2021   Burr, Camilo          0.8   Review revisions to RFPs and exchange emails with I. Huot answering questions regarding same.
 9/2/2021   Huot, Innessa         0.2   Review 26(f) report from the Joseph case.
 9/2/2021   Behnke, Derek         1.6   Proofread Requests for Production of documents.
 9/3/2021   Huot, Innessa         0.3   Review CMP for Josephs case and exchange emails regarding same.
 9/3/2021   Huot, Innessa           1   Telephone call with Officers asking questions about the case.
 9/3/2021   Behnke, Derek         0.5   Research regarding Joseph case.
 9/7/2021   Huot, Innessa         0.2   Exchange emails with defense counsel re: status of document production.
 9/7/2021   Huot, Innessa         0.3   Exchange emails re: document production from Defendants.
 9/7/2021   Huot, Innessa         0.4   Conference with co-counsel re: Defendants' document production.
 9/7/2021   Huot, Innessa         0.3   Exchange emails re: rules for withdrawing attorneys.
 9/7/2021   Behnke, Derek         0.2   Draft Patrick Collopy motion for withdrawal.
 9/8/2021   Huot, Innessa         0.2   Exchange emails re: edits to the RFPs.
 9/8/2021   Huot, Innessa         0.2   Review mediation agreement.
 9/8/2021   Huot, Innessa         5.6   Review and analyze documents produced by Defendants.

 9/8/2021 Huot, Innessa           0.6 Meet with A. Stanley to discuss main issues in the case, discovery, main documents to review, and to answer questions about the case.
 9/8/2021 Hartzband, Alex J.      0.3 Meeting with C. Burr re: RFPs and statute of limitations for opt-in Plaintiffs to inform relevant time period for same.
 9/8/2021 Burr, Camilo            0.3 Meet with A. Hartzband re: edits to the RFPs.
                                      Review case file, motion papers, discovery, investigation notes, and all pertinent documents in the case to get up to speed; conference
 9/8/2021 Stanley, Annabel        4.7 with I. Huot regarding same.

 9/9/2021 Huot, Innessa           0.4 Conference with A. Stanley and go over discovery demands to explain next steps of preparing responses to Defendants' demands.
 9/9/2021 Hartzband, Alex J.      0.2 Meeting with A. Stanley re: case status and new developments.

 9/9/2021   Stanley, Annabel        2   Review, analyze, and annotate draft discovery demands; review previous objections and responses prepared in other cases.
 9/9/2021   Stanley, Annabel      0.2   Meet with A. Hartzband re: case assignments.
 9/9/2021   Stanley, Annabel      0.4   Conference with I. Huot re: project for responding to Defendants' discovery demands.
9/10/2021   Huot, Innessa         0.2   Exchange emails with co-counsel re: RFPs and edits to same.
9/10/2021   Huot, Innessa         0.3   Confer with C. Burr re: edits to discovery demands and exchange emails regarding same.

9/10/2021   Burr, Camilo          1.5   Make edits to Plaintiffs' requests for document production and first set of interrogatories and conference with I. Huot regarding same.
9/10/2021   Behnke, Derek         0.8   Review and finalize updated version of RFPs.
9/13/2021   Huot, Innessa         0.5   Review final version of RFPs.
9/13/2021   Huot, Innessa         3.5   Review and revise Interrogatories.
9/13/2021   Huot, Innessa         0.2   Conference with A. Hartzband re: damage calculations and potential settlement.
9/13/2021   Huot, Innessa         0.4   Meet with C. Burr re: Interrogatories and edits to same.
9/13/2021   Huot, Innessa         0.3   Exchange emails with co-counsel re: RFPs and Rogs.
9/13/2021   Hartzband, Alex J.    0.2   Phone call with I. Huot re: damages calculation and mediation.
9/13/2021   Burr, Camilo          0.4   Meet with I. Huot to go over edits to Interrogatories.

9/13/2021   Stanley, Annabel      3.8   Prepare master list of objections for specific demands; review demands from previous case and prepare outline for responses.
9/13/2021   Behnke, Derek         1.3   Proofread interrogatories.
9/14/2021   Huot, Innessa         0.3   Exchange emails and conference with co-counsel re: edits to interrogatories.
9/14/2021   Huot, Innessa         1.3   Revise Interrogatories to incorporate edits and feedback from co-counsel.
9/15/2021   Huot, Innessa         0.2   Review scheduling order in the Joseph case.
9/15/2021   Huot, Innessa         0.1   Review email from Defendants re: discovery demands and exchange emails regarding service of same.
9/15/2021   Behnke, Derek         1.3   Finalize and serve RFPs and Rogs.
9/16/2021   Huot, Innessa         4.8   Review and annotate Defendants' RFPs; prepare outline of all demands; conference with co-counsel regarding same.
9/16/2021   Huot, Innessa         2.2   Analyze Defendants' Interrogatory demands; prepare summary of demands.
9/16/2021   Huot, Innessa         0.3   Meeting with A. Hartzband, C. Burr, and A. Stanley re: responding to demands.
9/16/2021   Hartzband, Alex J.    2.6   Review and annotate discovery demands and conference with I. Huot regarding same.
9/16/2021   Burr, Camilo            3   Review and analyze Defendants' RFPs and Rogs and meeting with I. Huot regarding same.
                                        Annotate Defendants' RFP and Interrogatories, review outline from I. Huot of same; compare demands to outline for master objections
9/16/2021   Stanley, Annabel      3.7   and conference with I. Huot regarding same.
9/16/2021   Behnke, Derek         0.2   Review and upload Defendants' discovery demands and exchange emails regarding same.
9/17/2021   Huot, Innessa         5.5   Review and annotate supplemental document production and exchange emails regarding same.
9/17/2021   Huot, Innessa         0.5   Conference with co-counsel regarding document production and useful of same in litigation.
9/17/2021   Behnke, Derek         0.2   Coordinate storage of supplemental discovery production.
9/20/2021   Huot, Innessa         0.3   Conference with A. Aloise re: document production.
9/20/2021   Aloise, Anthony J.    6.7   Review and catalogue Defendants' document production; organize and tag same; conference with I. Huot re: same.
9/20/2021   Aloise, Anthony J.    0.3   Prepare list of missing records.
9/21/2021   Huot, Innessa         0.2   Exchange emails re: conference call requested by mediator.
9/21/2021   Huot, Innessa         0.3   Cross reference documents and prepare email to defense counsel re: missing records.
 9/21/2021 Aloise, Anthony J.       2 Continue reviewing, cataloging, and tagging document production.


 9/24/2021   Huot, Innessa         1.3   Prepare outline for conference call with defense counsel and mediator to present case; exchange emails with co-counsel regarding same.
 9/24/2021   Huot, Innessa         0.3   Telephone call with defense counsel and mediator C. Wittenberg.
 9/24/2021   Burr, Camilo          0.3   Conference call with defense counsel and JAMS mediator.
 9/24/2021   Aloise, Anthony J.    0.4   Update class list spreadsheets.
 9/27/2021   Huot, Innessa         0.2   Review recently received consent to join form; review client contact information.
 9/27/2021   Huot, Innessa         0.2   Telephone call with defense counsel re: new opt-in.
 9/28/2021   Huot, Innessa         0.2   Exchange emails with client asking questions about the case.
 9/28/2021   Huot, Innessa         0.3   Exchange emails with defense counsel re: late opt-in.
 9/28/2021   Huot, Innessa         0.3   Investigate contact information for late opt-in.
 9/28/2021   Huot, Innessa         0.3   Draft email and letter to late opt-in re: contact information and reason for delay.
 9/28/2021   Behnke, Derek         0.3   Draft notice of filing; format consent to join form; file all documents; update master spreadsheet regarding same.
 9/29/2021   Huot, Innessa         0.1   Exchange emails re: discovery and responses to same.

 9/29/2021   Huot, Innessa         0.7   Draft motion to withdraw P. Collopy as counsel and exchange emails with co-counsel and defense counsel regarding same.
 9/29/2021   Hartzband, Alex J.    0.1   Phone call with I. Huot re: RFP and interrogatory responses.
 9/29/2021   Stanley, Annabel      6.7   Draft Responses and Objections to Defendants' RFPs.
 9/29/2021   Behnke, Derek         0.1   Assist with filing motion to withdraw P. Collopy.
 9/30/2021   Huot, Innessa         0.1   Review draft letter to the Court and exchange emails with defense counsel regarding same.
 9/30/2021   Huot, Innessa         0.2   Review letter re: withdrawing attorney and exchange emails with A. Householder re: fililng same.
 9/30/2021   Hartzband, Alex J.    0.3   Confer with A. Stanley to answer questions about discovery responses.
 9/30/2021   Stanley, Annabel      4.5   Draft Interrogatory responses.
 9/30/2021   Stanley, Annabel      3.4   Cross reference outline, conference with A. Hartzband, and continue drafting responses to RFPs.
 9/30/2021   Householder, Amanda   0.3   Draft letter to the Court re: filing document.
 10/1/2021   Huot, Innessa         0.2   Review Defendants' draft letter to the Court re: mediation and exchange emails regarding same.
 10/1/2021   Huot, Innessa         0.2   Conference with A. Hartzband re: discovery responses and mediation.
 10/1/2021   Hartzband, Alex J.    0.2   Meeting with I. Huot re: RFP and interrogatory responses, mediation.
 10/1/2021   Hartzband, Alex J.    0.3   Confer with A. Stanley to answer questions about drafting Rog responses.
 10/1/2021   Stanley, Annabel      0.3   Conference A. Hartzband to go over Rog responses.
 10/1/2021   Stanley, Annabel      2.8   Continue drafting and revising Plaintiffs' Interrogatory responses.
 10/4/2021   Huot, Innessa         0.1   Exchange emails with defense counsel re: supplemental production.
 10/4/2021   Huot, Innessa         0.3   Exchange emails re: time records produced by Defendants.
 10/4/2021   Huot, Innessa         2.1   Exchange messages and telephone calls with clients re: document demands and records they need to produce.
 10/4/2021   Huot, Innessa         4.2   Review supplemental document production from Defendants and exchange emails regarding same.
 10/4/2021   Huot, Innessa         0.1   Exchange emails with defense counsel re: extension of time to respond to discovery.
 10/4/2021   Stanley, Annabel      1.7   Participate in Telephone call with clients to go over documents they need to produce.
 10/4/2021   Stanley, Annabel        3   Respond to follow up calls with clients to answer questions about documents they need to collect and send to us.
 10/4/2021   Stanley, Annabel      2.4   Edit and revise draft RFPs and Rogs for I. Huot's review.
 10/4/2021   Householder, Amanda   1.9   Combine payroll sheets and add time detail.
 10/5/2021   Huot, Innessa         7.3   Review detailed records, extract pertinent data, prepare detailed and comprehensive collective-wide damages.
 10/5/2021   Householder, Amanda   1.4   Payroll document organization.
                                         Review and analyze data for opt-ins and itemize information that is missing from Defendants' records, including all information for
                                         certain Plaintiffs and specific date ranges for other Plaintiffs; prepare detailed email to defense counsel re: missing information/data;
 10/6/2021   Huot, Innessa         8.5   conference with co-counsel regarding same.
 10/6/2021   Huot, Innessa         0.8   Telephone call with clients re: document production.
 10/6/2021   Huot, Innessa         0.2   Conference with A. Hartzband re: damage calculations for use in the mediation brief.
 10/6/2021   Hartzband, Alex J.    0.2   Meeting with I. Huot re: damages calculation for mediation brief.
 10/6/2021   Aloise, Anthony J.    1.5   Scan, save, tag, and log document production from clients.
 10/7/2021   Huot, Innessa         8.8   Review payroll and time records and continue preparing detailed damage calculations for the collective.
 10/8/2021   Huot, Innessa         7.2   Continue preparing damage calculations for use in mediation and litigation of the case.
 10/8/2021   Huot, Innessa         0.3   Multiple conference with C. Carrano re: data formulation.
 10/8/2021   Stanley, Annabel      4.2   Review and analyze documents received from clients; extract relevant records for use in discovery responses.
 10/8/2021   Carrano, Christian    7.5   Format payroll data and incorporate same into damages model and conference with I. Huot regarding same.
10/11/2021   Huot, Innessa         0.4   Multiple calls with client re: consent to join form and status of litigation.
10/11/2021   Huot, Innessa         0.4   Review emails re: consent forms in stuck in spam folder; conference with IT re: spam filters.
10/11/2021   Huot, Innessa         0.3   Exchange emails and telephone call with defense counsel re: additional consent to join form.
10/11/2021   Burr, Camilo          1.5   Reach out to named Plaintiffs to coordinate time and place to retrieve additional relevant documents.
10/11/2021   Behnke, Derek         0.3   Format consent to join form; draft notice of filing; file documents; update spreadsheet.
10/12/2021   Hartzband, Alex J.    0.1   Meeting with C. Burr re: obtaining documents from clients for RFPs.
10/12/2021   Burr, Camilo          0.5   Meet with E. Kalantz to obtain documents for production.
10/12/2021   Burr, Camilo          1.5   Organize E. Kalanz documents for production.
10/14/2021   Huot, Innessa         0.6   Exchange emails with multiple clients to answer questions about the case.
                                         In-person meetings with each of the named Plaintiff to obtain their documents; go over their documents with them; extract relevant
10/15/2021   Burr, Camilo            7   documetns for production; organize same.
10/18/2021   Huot, Innessa         0.2   Meeting with C. Burr re: obtaining records from clients.
10/18/2021   Burr, Camilo          0.3   Speak to opt-in Plaintiff Alexander regarding questions she had about the case and next steps.
10/18/2021   Burr, Camilo          0.2   Meet with I. Huot to go over Plaintiffs' document production.
10/19/2021   Huot, Innessa         0.2   Exchange emails with client to answer questions about the case.
                                         Review detailed email from Defendants re: discrepency in data for certain opt-ins; review records to cross-reference Defendants'
10/19/2021   Huot, Innessa         3.8   representations.
10/19/2021   Huot, Innessa         0.2   Exchange emails with client to answer questions about the case.
10/20/2021   Huot, Innessa         0.6   Confer with co-counsel re: status of damage calculations and different scenarios to include in damage models.
10/20/2021   Huot, Innessa         6.4   Revise damage model to incorporate assumptions for 86-hour work period scenario.
10/20/2021   Burr, Camilo            3   Scan and review documents sent from J. Mercado for purposes of document production.
10/21/2021   Huot, Innessa         0.2   Meet with A. Hartzband to go over damage scenarios.
10/21/2021   Hartzband, Alex J.    0.2   Meeting with I. Huot re: damages calculation for mediation.
10/22/2021   Huot, Innessa         0.3   Telephone call with client to answer questions about the case.
10/22/2021   Burr, Camilo          2.2   Meet E. Kalanz to retrieve additional documents and compile and organize the same.
10/26/2021   Huot, Innessa         0.2   Exchange emails with C. Burr re: Plaintiffs' document production.
10/26/2021   Burr, Camilo          0.8   Compile Plaintiffs' document production for purposes of determining relevant documents to produce to Defendants.
                                         Revise E. Kalanz's responses to Defendants' First Requests for Document Production; pull records from his production and itemize those
10/27/2021 Burr, Camilo            2.8   responsive to each demand.
10/28/2021 Huot, Innessa          0.2 Review Defendants' filing re: mediation in the Joseph case.

10/28/2021 Burr, Camilo            3 Revise J. Mercado's responses to RFPs; pull records from his production and itemize documents responsive to each demand.

10/28/2021 Burr, Camilo           1.6 Revise RFP responses for T. Pringle; pull records from his production and itemize documents responsive to each demand.
10/29/2021 Huot, Innessa          0.3 Meet with C. Burr to discuss responses to RFPs, document production and interrogatory responses.
10/29/2021 Burr, Camilo           1.8 Edit and revise A. Roman's RFP responses; extract records and itemize documents responsive to each demand.

10/29/2021 Burr, Camilo           2.1 Review and revise RFP responses for K. Knois; pull records from his document production and itemize those responsive to each demand.
10/29/2021 Burr, Camilo           0.3 Meet with I. Huot re: document production and interrogatory responses.
                                      Review all document production from all parties and prepare detailed and comprehensive deposition outline to prepare named Plaintiffs
10/30/2021 Huot, Innessa          6.4 for depositions.
10/31/2021 Huot, Innessa          3.1 Edit and revise deposition prep outline and conference with co-counsel re: strategy for same.
 11/1/2021 Huot, Innessa          0.3 Several conferences with C. Burr to go over interrogatory responses and edits to same.
                                      Review, edit and revise Interrogatory responses for each named Plaintiff: E. Kalanz, J. Mercado, K. Knois, A. Roman, and T. Pringle;
 11/1/2021   Burr, Camilo         8.7 multiple conferences with I. Huot regarding same.
 11/2/2021   Huot, Innessa        1.3 Review records referenced by defense counsel to identify missing data; prepare notes related to same.
 11/2/2021   Huot, Innessa        0.4 Prepare detailed email to defense counsel re: missing data for opt-ins and additional records that need to be produced.
 11/2/2021   Huot, Innessa        0.2 Conference with C. Carrano re: damage model.
 11/2/2021   Huot, Innessa        0.2 Conference with C. Burr re: redacting records and examples of same.
                                      Multiple detailed conferences with E. Kalanz to prepare for deposition, including review of records, interrogatory responses, main issues
 11/2/2021 Huot, Innessa          4.3 in the case, and Defendants' anticipated arguments.
 11/2/2021 Huot, Innessa          0.5 Prepare notes on E. Kalanz's review and revisions of Rog responses and conference with C. Burr regarding same.
 11/2/2021 Burr, Camilo           1.2 Edit and revise Rog responses for E. Kalanz to incorporate notes and edits from client.
                                      Review documents from E. Kalanz, redact documents, designate certain as confidential, Bates stamp them, and prepare documents for
 11/2/2021 Burr, Camilo           1.6 production.
 11/2/2021 Carrano, Christian     1.8 Format data and merge same into damage model for 86-hour scenario; conference with I. Huot regarding same.
                                      Multiple conferences with J. Mercado to prepare for deposition, review document production and J. Mercado's draft interrogatory
 11/3/2021   Huot, Innessa        4.6 responses, review main issues in the case and Defendants anticipated defenses.
 11/3/2021   Huot, Innessa        0.6 Prepare notes re: J. Mercado's edits to Rog responses and conference with C. Burr regarding same.
 11/3/2021   Burr, Camilo           1 Edit and revise J. Mercado's Rog responses to incorporate his notes and edits.
 11/3/2021   Burr, Camilo         0.6 Revise J. Mercado's RFP responses based on feedback from client.
 11/3/2021   Burr, Camilo         1.8 Review documents, redact, designate confidential, Bates stamp, and prepare for production.

 11/4/2021 Huot, Innessa          0.5 Confer with co-counsel re: status of deposition prep and discovery responses and assessment of strengths and weaknesses of the case.
 11/4/2021 Huot, Innessa          0.1 Email defense counsel re: missing records.
 11/4/2021 Huot, Innessa          0.3 Exchange emails with defense counsel re: additional records to be produced for missing 2017-2018 data.
                                      Multiple conferences with A. Roman re: deposition prep and review of discovery responses; discussion of Plaintiffs' claims and
 11/4/2021   Huot, Innessa          4 Defendants' defenses in the case.
 11/4/2021   Huot, Innessa        0.4 Prepare notes re: edits and revisions to Rog responses.
 11/4/2021   Huot, Innessa        0.1 Exchange emails with defense counsel re: late pay calculation.
 11/4/2021   Burr, Camilo         0.7 Revise Rog responses to incorporate changes from client.
 11/4/2021   Burr, Camilo         1.2 Review documents from A. Roman; redact and designate as confidential certain records, Bates stamp, and prepare same for production.
                                      Multiple conferences with K. Knois to go over deposition and discovery responses; confer about main theory of the case and Defendants'
 11/5/2021   Huot, Innessa        3.8 anticipated defenses and arguments.
 11/5/2021   Huot, Innessa        0.4 Prepare notes on client's edits and revisions to Rog responses.
 11/5/2021   Huot, Innessa        0.1 Exchange emails with defense counsel re: confering about late pay calculations and methodology on same.
 11/5/2021   Burr, Camilo         0.7 Revise Rog responses to include edits from client.
 11/5/2021   Burr, Camilo         1.5 Redact records, designate certain as confidential, Bates stamp, and prepare same for production.
                                      Prepare damage model scenarios with 40-hour work weeks plus off the clock work and without off-the-clock work and itemize underlying
 11/6/2021 Huot, Innessa            6 assumptions for both scenarios.
 11/7/2021 Huot, Innessa          6.5 Prepare alternate damage scenario with no Kronos time cutting claims under both 86-hour and 40-hour work periods.
 11/8/2021 Huot, Innessa          0.4 Multiple conferences with C. Carrano re: data for alternate damage models.
                                      Multiple conferences with T. Pringle re: depositions and discovery responses; review Rog responses and discuss main claims and
 11/8/2021   Huot, Innessa        3.4 defenses in the case.
 11/8/2021   Huot, Innessa        0.4 Prepare notes on client's edits and revisions to Rog responses.
 11/8/2021   Huot, Innessa        0.3 Exchange emails with co-counsel re: draft interrogatory responses and conference regarding same.
 11/8/2021   Burr, Camilo         0.5 Revise Rog responses to include edits from client.

 11/8/2021 Burr, Camilo           0.8 Review records from T. Pringle, redact records and mark certain as confidential; Bates stamp and prepare records for production.
                                      Prepare data formulation for 40-hour work week damage scenario with off-the-clock work vs no off-the-clock work; confer with I. Huot
 11/8/2021 Carrano, Christian     3.8 regarding same.
                                      Prepare damage model and migrate data for scenarios involving no time rounding claims assuming both a 40-hour work week and an 86-
 11/8/2021 Carrano, Christian     1.9 hour work period; conference with I. Huot regarding same.
 11/8/2021 Behnke, Derek          1.6 Proofread final version of all responses to interrogatories from all named Plaintiffs.
                                      Confer with co-counsel re: lunch issue and Defendants' argument related to same; confer about need for separate damage models with
 11/9/2021   Huot, Innessa        0.8 varying scenarios for lunch periods.
 11/9/2021   Huot, Innessa        1.5 Review case law and internal research memoranda re: bona fide lunch periods.
 11/9/2021   Huot, Innessa        0.1 Exchange emails with defense counsel re: supplemental document production of missing records.
 11/9/2021   Huot, Innessa          1 Review edits and revisions to Rog responses from co-counsel and update all documents to incorporate same.
 11/9/2021   Huot, Innessa        0.3 Exchange emails and telephone call with A. Roman to go over final version of his Rog responses and signature of same.
 11/9/2021   Behnke, Derek        2.8 Review, proofread, and finalize RFP responses for all Plaintiffs.
11/10/2021   Huot, Innessa        0.4 Telephone call with client re: status of the case and updates in the litigation.
11/10/2021   Huot, Innessa        0.4 Exchange emails and telephone call with mediator re: upcoming mediation, damage calculations, and missing records.
11/10/2021   Huot, Innessa        0.4 Exchange emails and telephone call with J. Mercado re: final version of Rog responses and verification of same.
11/10/2021   Huot, Innessa        0.3 Exchange emails and telephone call with K. Knois to go over final Rog responses and signing same.
11/10/2021   Huot, Innessa        0.3 Exchange emails and telephone call with E. Kalanz re: final Rog responses and signing same.
11/10/2021   Huot, Innessa        6.3 Prepare damage model for no lunch scenario under 86-hour vs 40-hour work period.
11/10/2021   Carrano, Christian   2.4 Assist I. Huot with damage model preparation for no-lunch scenarios.
11/11/2021   Huot, Innessa        0.3 Exchange emails and telephone call with T. Pringle re: final Rog responses and signing same.
11/11/2021   Huot, Innessa        6.8 Incorporate no lunch assumption scenario into the off-the-clock vs no off-the-clock damage model.

11/11/2021 Carrano, Christian      3 Assist I. Huot with preparing additional damage model with no-lunch scenarios but also assuming off-the-clock vs no off-the-clock.
11/12/2021   Huot, Innessa        0.4   Exchange emails with defense counsel re: discovery responses and 2017 records.
11/12/2021   Huot, Innessa        0.3   Exchange emails with co-counsel re: draft RFP responses and telephone conference regarding same.
11/12/2021   Huot, Innessa        5.6   Prepare alternate damage models for no lunch assumption with tiime rounding claims vs no time rounding claims.
11/12/2021   Carrano, Christian   1.9   Assist I. Huot in preparing damage model assuming no lunch and also yes time rounding vs no time rounding.
11/13/2021   Huot, Innessa          1   Confer with co-counsel re: damage calculations under different assumptions and ranges of damages for same.
11/15/2021   Huot, Innessa        0.4   Review edits, revisions from co-counsel re: RFP objections and responses.
11/15/2021   Huot, Innessa        1.1   Revise RFP responses to incorporate edits and respond to comments from co-counsel.
11/15/2021   Huot, Innessa        0.4   Exchange emails with defense counsel re: settlement discussions and upcoming mediation.
11/15/2021   Huot, Innessa        0.2   Telephone call with mediator re: alternate mediation dates and conference with co-counsel regarding same.
11/15/2021   Huot, Innessa        1.4   Confer with expert re: methodology, damage models, and varying assumptions underlying each one.
11/15/2021   Huot, Innessa        0.8   Telephone call with co-counsel re: expert witness and damage calculations.

11/15/2021   Huot, Innessa        0.3   Prepare draft email to defense counsel re: position on mediation; exchange emails with co-counsel re: edits to the email.
11/16/2021   Huot, Innessa        0.2   Email defense counsel re: extending mediation date and not leveraging one case with another.
11/16/2021   Huot, Innessa        4.2   Prepare damage model assuming half lunch period under 40-hours vs. 86-hour work periods.
11/16/2021   Huot, Innessa        3.1   Incorporate model into scenario for half lunch with no off-the-clock work vs yes off-the-clock work.
11/16/2021   Huot, Innessa        2.3   Further incorporate half lunch period assumptions into damage model for time rounding vs no time rounding scenarios.
                                        Assist I. Huot with preparing numerous alternate damage models for half lunch and incorporating such assumptions into other models
11/16/2021   Carrano, Christian     4   which include scenarios based on hours worked, off-the-clock work, and time rounding claims.
11/17/2021   Huot, Innessa        0.1   Exchange emails with defense counsel re: mediation.
11/17/2021   Huot, Innessa        0.8   Call with expert re: credits and off-sets under the FLSA and different arguments relating to applicability of same.
11/17/2021   Huot, Innessa        1.2   Conference witih co-counsel to go over different damage models and assumptions underlying same.
11/17/2021   Huot, Innessa        0.8   Meet with A. Hartzband re: damage models, methodology, and mediation.
11/17/2021   Huot, Innessa        5.5   Revise all damage models to include specific credits and offsets based on discussions with experts and co-counsel.
11/17/2021   Hartzband, Alex J.   0.8   Meeting with I. Huot re: settlement, damages calculation, and correct method for calculating regular rate of pay.
11/18/2021   Huot, Innessa        0.3   Conference with co-counsel re: proposed solution to mediation dispute.
11/18/2021   Huot, Innessa        0.1   Exchange emails with client re: status of the litigation and next steps.
11/18/2021   Huot, Innessa        0.3   Exchange emails with defense counsel re: two proposed solutions to mediation issue.
11/18/2021   Huot, Innessa        6.4   Continue editing and revising damage models based on specific assumptions.

                                      Exchange emails with defense counsel re: mediation dispute and proposals for resolving same; conference with co-counsel regarding
11/19/2021 Huot, Innessa          0.6 same; exchange emails and telephone calls with mediator's Officer re: availability for alternate mediation dates.
11/19/2021 Huot, Innessa          0.3 Edit and revise letter motion extending discovery deadline.
                                      Review and annotate Defendants' supplemental document production, including policy records, manuals, and data relating to opt-ins;
11/19/2021 Huot, Innessa          7.2 extract documents and information useful for the case.
                                      Conference with co-counsel re: Defendants' document production and review of same; exchange multiple emails re: document
11/19/2021 Huot, Innessa          0.5 production and deficiency of same.
                                      Exchange emails and telephone calls with C. Burr and A. Stanley re: Defendants' document production and need for deficiency letter;
11/19/2021 Huot, Innessa          0.3 exchange emails re: requesting discovery extension.
11/19/2021 Burr, Camilo           0.3 Conference with I. Huot re: Defendants' documents and discovery extension; exchange emails regarding same.
11/19/2021 Burr, Camilo           1.2 Review Defendants' responses and objections.

11/19/2021   Stanley, Annabel     0.3   Meet with I. Huot re: drafting deficiency letter and letter requesting extension of discovery deadline; exchange emails regarding same.
11/19/2021   Stanley, Annabel     1.8   Draft a letter requesting an extension for all discovery deadlines
11/19/2021   Aloise, Anthony J.     1   Final prep of discovery; finalize all responses and send through Exavault to Defendants.
11/20/2021   Huot, Innessa        0.4   Review and edit draft letter re: extension request and exchange multiple emails regarding same.
11/22/2021   Huot, Innessa        0.2   Telephone call with defense counsel re: regular rate of pay calculation.
                                        Exchange emails with defense counsel re: edits to letter to the Court requesting an extension of discovery; revise updated letter and
                                        exchange emails with mediation office to confirm new mediation date; exchange multiple emails with mediator's office re: new
11/22/2021   Huot, Innessa        0.7   mediation date.
11/22/2021   Huot, Innessa        0.3   Exchange emails with clients re: details of the case and status of settlement discussions.
11/22/2021   Huot, Innessa        0.2   Exchange multiple emails with defense counsel re: mediation.
11/22/2021   Huot, Innessa        0.2   Telephone call with co-counsel re: mediation.
                                        Review supplemental document production Defendants produced on 11.15.21 re: missing data from 2017; extract pertinent information
11/22/2021   Huot, Innessa          4   for use in litigation; exchange emails regarding same.
11/22/2021   Huot, Innessa        0.3   Meeting with A. Hartzband re: discovery, damages, and deficiency letter.
11/22/2021   Hartzband, Alex J.   0.3   Meeting with I. Huot re: deficiency letter, depositions, mediation, and damages calculation for same.
11/22/2021   Aloise, Anthony J.   0.3   Proofread and finalize letter motion requesting extension of time; file.
11/23/2021   Huot, Innessa        0.5   Exchange emails and call with defense counsel re: inquiry about certain missing pay data and time records from 2017.
11/23/2021   Huot, Innessa        0.4   Meet with A. Hartzband re: damage calculation methodology and exchange emails regarding same.
11/23/2021   Hartzband, Alex J.   0.4   Meeting with I. Huot re: method for calculating regular rate of pay and exchange emails regarding same.
11/23/2021   Hartzband, Alex J.   0.6   Legal research re: method for calculating regular rate of pay.
11/23/2021   Burr, Camilo         8.7   Review Defendants' document production and draft deficiency letter outlining deficiencies in production.
11/23/2021   Aloise, Anthony J.   0.6   Convert PDF docs to manageable excel spreadsheets to analyze time records.
11/24/2021   Hartzband, Alex J.   0.3   Meeting with C. Burr re: deficiency letter.
11/24/2021   Burr, Camilo         6.2   Continue drafting deficiency letter regarding Defendants' document production and conference with A. Hartzband regarding same.
11/30/2021   Hartzband, Alex J.   2.4   Review and edit draft deficiency letter and conference with C. Burr regarding same.
                                        Review edits and revisison from A. Hartzband; revise deficiency letter to incorprate edits and respond to comments and feedback; meet
11/30/2021 Burr, Camilo           4.5   with A. Hartzband to go over letter.
 12/6/2021 Huot, Innessa          0.5   Exchange emails with messages with clients re: status of case and mediation.
 12/6/2021 Huot, Innessa          0.2   Exchange emails with defense counsel re: missing 2017 documents.
                                        Draft detailed email to defense counsel re: last best final settlement demand and position regarding same; exchange email with co-
                                        counsel and Telephone call regarding edits to same; discussion with J. Beldner re: rationale for position and strategy for litigation; revise
 12/6/2021   Huot, Innessa        1.6   email to include edits and revisions from co-counsel.
 12/6/2021   Huot, Innessa        0.5   Review Defendants' supplemental document production of 2017 missing records and exchange emails re: reproducing same in excel.
 12/6/2021   Hartzband, Alex J.   2.1   Review and edit deficiency letter.
 12/7/2021   Huot, Innessa        4.2   Review and analyze Defendants' discovery responses.
                                        Review and analyze Defendants' excel versions of supplemental document production; extract pertinent information for use in the case;
 12/7/2021 Huot, Innessa          4.8   exchange emails regarding same.
 12/7/2021 Huot, Innessa            2   Review and edit updated version of deficiency letter.
                                        Exchange emails with co-counsel re: draft deficiency letter; review edits from co-counsel to deficiency letter and implement same into
 12/8/2021 Huot, Innessa          0.6   operative version.
 12/8/2021 Huot, Innessa          0.2   Exchange emails with co-counsel re: edits to the deficiency letter.
                                      Draft additional sections to be included in Plaintiffs' deficiency letter regarding missing documents and improper use of confidential
 12/8/2021 Burr, Camilo           1.3 designation on Defendants' document production.
 12/8/2021 Behnke, Derek          3.1 Proofread and cite-check discovery deficiency letter.
 12/9/2021 Huot, Innessa          0.4 Revise deficiency letter and exchange emails with defense counsel regarding same.
                                      Review Defendants' email response to deficiency letter and proposal for opt-in discovery; prepare draft email response; strategize with
12/10/2021   Huot, Innessa        1.2 co-counsel re: response email; revise response email based on feedback from co-counsel.
12/13/2021   Huot, Innessa        0.6 Exchange emails with opt-in clients re: updates in the case.
12/13/2021   Huot, Innessa        0.6 Strategy call with co-counsel re: discovery disputes and motion to compel.
12/13/2021   Huot, Innessa        0.4 Draft email to defense counsel re: request for a meet and confer and objection to discovery proposal.
12/13/2021   Huot, Innessa        0.3 Conference with A. Hartzband and A. Stanley re: opt-in discovery and research regarding same.
12/13/2021   Hartzband, Alex J.   0.3 Meeting with I. Huot re: discovery deficiencies and dispute concerning number of depositions.
                                      Phone call with I. Huot and co-counsel re: discovery deficiencies, dispute concerning number of depositions, preparation for same, and
12/13/2021 Hartzband, Alex J.     0.6 damages calculation for mediation.

12/13/2021   Stanley, Annabel     5.2   Research regarding scope of opt-in discovery and depositions in collective cases and conference with I. Huot regarding same.
12/13/2021   Stanley, Annabel     3.8   Draft memorandum summarizing research for scope of opt-in discovery.
12/14/2021   Huot, Innessa        2.9   Review case law re: opt-in discovery and reasonableness of same with respect to depositions.
12/14/2021   Huot, Innessa        0.3   Exchange multiple emails with defense counsel re: meet and confer request and status of same.
12/14/2021   Huot, Innessa        0.3   Exchange emails with clients re: details of the case and upcoming mediation.
12/14/2021   Huot, Innessa        0.3   Exchange emails with co-counsel re: case law and implications on the instant case.

12/14/2021 Huot, Innessa          1.3 Summarize applicable case law related to discovery dispute with Defendants; exchange emails with co-counsel regarding same.
12/15/2021 Huot, Innessa          0.3 Meet with A. Hartzband re: research for deposing opt-ins.
12/15/2021 Hartzband, Alex J.     0.2 Meeting with C. Burr re: meet-and-confer with opposing counsel and anticipated motion to compel.

12/15/2021   Hartzband, Alex J.   0.3   Meeting with I. Huot re: meet-and-confer with opposing counsel and research concerning entitlement to depose opt-in Plaintiffs.
12/15/2021   Burr, Camilo         0.2   Conference with A. Hartzband re: motion to compel.
12/16/2021   Huot, Innessa        0.9   Prepare outline for meet and confer session re: Defendants' production deficiencies.
12/16/2021   Huot, Innessa        0.3   Conference with A. Hartzband re: strategy for letter motion to compel.
                                        Review and annotate deficiency letter and I. Huot research re: entitlement to depose opt-in Plaintiffs in preparation for meet-and-confer
12/16/2021   Hartzband, Alex J.   1.1   with opposing counsel.
12/16/2021   Hartzband, Alex J.   0.3   Email and phone calls with I. Huot re: discovery deficiencies, anticipated motion to compel, and mediation.
12/21/2021   Huot, Innessa        0.2   Email defense counsel re: again requesting a meet and confer.
12/21/2021   Huot, Innessa        1.4   Review and analyze Defendants' response to Plaintiffs' deficiency letter and exchange emails regarding same.
                                        Review and analyze Defendants' deficiency letter relating to Plaintiffs' discovery responses and exchange emails re: meritless nature of
12/21/2021 Huot, Innessa          1.8   Defendants' arguments.
                                        Review case law cited by Defendants in their counter-proposal for opt-in discovery and prepare email re: Defendants misstating the case
12/21/2021 Huot, Innessa          1.6   law in their letter.
12/21/2021 Huot, Innessa          2.5   Review Defendants' supplemental document production and exchange emails regarding same.
12/21/2021 Burr, Camilo           0.5   Speak to the clients regarding returning their documents and coordinating the same.
                                        Create a spreadsheet using Pay Period data to discern differences in the amount paid to employees and what should have been paid to
12/21/2021 Carrano, Christian     7.2   employees each pay period
12/22/2021 Huot, Innessa          0.3   Confer with C. Carrano re: damage calculations.
                                        Compiled individual worked time records and quantified them for each individual for each week/pay period and confer with I. Huot
12/22/2021 Carrano, Christian     5.6   regarding same.
                                        Continue creating spreadsheet with Pay Period data to get differences in the amounts paid to employees vs what should have been paid
  1/3/2022 Carrano, Christian       8   under the FLSA under different scenarios for each pay period.
  1/4/2022 Huot, Innessa          0.3   Conference with C. Carrano re: damage models and discrepencies.
  1/4/2022 Huot, Innessa          0.2   Confer with A. Hartzband re: mediation and negotiation strategy.

  1/4/2022 Carrano, Christian     8.5 Created a spreadsheet to quantify the total discrepancies in pay data for each employee opt in; conference with I. Huot regarding same.
  1/4/2022 Hartzband, Alex J.     0.2 Phone call with I. Huot re: mediation and settlement strategy.
                                      Created document to show the step by step process of all assumptions underlying each damage model and how each one was created;
  1/5/2022 Carrano, Christian     6.6 revise document to show overall damages for each claim based on different scenarios.
                                      Review, edit, and revise damage models for all scenarios and conference with co-counsel regarding strategy for settlement negotiations
  1/7/2022   Huot, Innessa        7.8 and mediation.
 1/10/2022   Huot, Innessa        0.5 Conference with A. Hartzband re: damage calculations, settlement strategy, and mediation.
 1/10/2022   Huot, Innessa        0.3 Conference with C. Carrano re: damage models.
 1/10/2022   Hartzband, Alex J.   0.5 Review damages calculation for mediation and email with I. Huot and co-counsel re: same.
 1/10/2022   Hartzband, Alex J.   0.5 Phone call with I. Huot re: damages calculation for mediation and settlement strategy.
                                      Final review of all damage models to ensure all calculations are correct and verifying formulas and references; conference with I. Huot
 1/10/2022 Carrano, Christian     3.5 regarding same.
 1/11/2022 Huot, Innessa          3.2 Review and analyze final versions of all damage models.
                                      Prepare summary sheet itemizing each damage model and overall damages under best case vs worst case scenarios for each of the
 1/11/2022 Huot, Innessa          2.5 different assumptions.
                                      Exchange emails and telephone calls with co-counsel and A. Hartzband to go over final damage models and summary document and
 1/11/2022 Huot, Innessa          1.2 discuss settlement negotiation strategy and overall value of the case based on different assumptions.
 1/11/2022 Huot, Innessa          1.2 Telephone call with clients to answer questions about the case and upcoming mediation.
                                      Review and analyze all damage models and summary document and assumptions underlying each scenario; assess value of case and
 1/11/2022 Hartzband, Alex J.     3.7 conference with I. Huot and co-counsel regarding same.
                                      Review Defendants' email re: discovery and prepare detailed response to same; exchange emails with co-counsel re: proposed response
 1/12/2022 Huot, Innessa          0.5 email and incorporate their edits to same.
 1/12/2022 Huot, Innessa          1.4 Prepare final damage calculation and exchange emails with co-counsel re: strategy for presenting same.
 1/12/2022 Huot, Innessa          0.9 Telephone call with co-counsel re: strategy for mediation and presentation of settlement demand.
                                      Draft a detailed and comprehensive settlement demand and narrative email to defense counsel explaining methodology and concessions
 1/12/2022 Huot, Innessa          1.6 made for settlement purposes.
 1/12/2022 Huot, Innessa          0.5 Exchange emails with co-counsel re: edits and revisions to the settlement demand email.
 1/12/2022 Huot, Innessa          1.5 Telephone call with clients re: settlement demand and strategy for same.
                                      Review Joseph's filing asking for an extension of the deadlines to participate in mediation; conference with co-counsel re: impact of same
 1/12/2022 Huot, Innessa          0.3 on the Mercado case.

 1/12/2022 Hartzband, Alex J.     0.5 Review and edit I. Huot notes and proposals re: initial settlement demand for mediation and email with I. Huot and co-counsel re: same.
 1/13/2022 Huot, Innessa          0.3 Revise detailed settlement demand to Defendants and email same to Defendants' counsel.
1/13/2022   Huot, Innessa        9.5   Prepare detailed and comprehensive mediation statement.
1/14/2022   Huot, Innessa        1.8   Confer with expert re: damage calculations and methodology.
1/14/2022   Huot, Innessa        7.7   Continue drafting mediation statement.
1/14/2022   Huot, Innessa        0.2   Conference with A. Hartzband re: mediation brief.
1/14/2022   Hartzband, Alex J.   2.3   Review and edit mediation brief and conference with I. Huot regarding same.
1/15/2022   Huot, Innessa        0.6   Exchange emails and telephone calls with co-counsel re: edits to the mediation statement.

1/15/2022   Huot, Innessa        1.7   Edit and revise mediation statement to incorporate edits and suggesions from co-counsel; circulate updated version of same.
1/16/2022   Huot, Innessa        0.2   Exchange emails re: remove mediation agreement and participants.
1/16/2022   Huot, Innessa        1.6   Conference with named Plaintiffs to discuss upcoming mediation and questions regarding same.
1/16/2022   Huot, Innessa        3.7   Further revisions to mediation statement; compile exhibits and format same for use in brief.
1/16/2022   Huot, Innessa        0.4   Exchange emails with mediator re: mediation statement and details of the mediation.
1/18/2022   Huot, Innessa        0.3   Telephone call with mediator re: details of the mediation and damage calculations.
1/18/2022   Hartzband, Alex J.   1.5   Review mediation brief and draft outline in preparation for mediation.
1/19/2022   Huot, Innessa          7   Participate in full day mediation session with Carol Wittenberg.
1/19/2022   Huot, Innessa        1.6   Telephone call with clients to go over the details of the mediation and next steps in the case.
1/19/2022   Huot, Innessa        0.6   Draft letter to the Court re: discovery extension.
1/19/2022   Hartzband, Alex J.     7   Participate in mediation with C. Wittenberg.
1/19/2022   Hartzband, Alex J.   0.2   Exchange emails with C. Burr re: research.
1/19/2022   Hartzband, Alex J.   0.1   Email with C. Burr and A. Stanley re: mediation, potential mediator's proposal, and settlement posture.
                                       Conduct legal research into whether law enforcement Officers are exempt from overtime by FLSA 7(k) and whether an employer's pay
1/19/2022   Burr, Camilo         1.3   period can be set proactively and exchange emails with A. Hartzband regarding same.
1/19/2022   Burr, Camilo         0.2   Review email re: outcome of mediation and conference with A. Stanley regarding same.
1/19/2022   Stanley, Annabel     0.2   Confer with C. Burr re: mediation and exchange emails with A. Hartzband regarding same.
1/19/2022   Behnke, Derek        0.3   Edit letter regarding discovery extension.
1/20/2022   Huot, Innessa        0.3   Exchange emails with co-counsel and A. Hartzband re: responses to clients asking about the mediation.
1/20/2022   Huot, Innessa        0.3   Exchange emails with co-counsel and revise extension letter re: discovery.
1/20/2022   Huot, Innessa        0.2   Review Defendants' edits and revisions to letter and incorporate same in updated version.
1/20/2022   Huot, Innessa        0.1   Review order from the Court re: discovery extension and exchange emails regarding same.
                                       Email with I. Huot and co-counsel re: communications with opt-in Plaintiffs concerning mediation and settlement, analysis of
1/20/2022   Hartzband, Alex J.   0.8   confidentiality obligations with respect to same.
1/20/2022   Hartzband, Alex J.   0.1   Review draft joint letter to Court re: discovery extension and email with I. Huot and co-counsel concerning same.
1/20/2022   Behnke, Derek        0.6   Finalize, e-file, and send courtesy copy of letter regarding discovery extension.
1/20/2022   Behnke, Derek        0.2   Edit letter regarding discovery extension.
1/21/2022   Huot, Innessa        1.3   Telephone call with clients re: update in the case.
1/25/2022   Huot, Innessa        0.6   Telephone call with opt-in Plaintiffs to answer questions about the case and next steps.
1/26/2022   Huot, Innessa        1.1   Telephone call with 6 clients to to discuss details of the case and next steps in the litigation.
1/27/2022   Huot, Innessa        1.2   Telephone call with numerous clients re: update in the case and next steps.
1/31/2022   Huot, Innessa        1.4   Telephone call with opt-ins to update them on the status of the case.
 2/2/2022   Huot, Innessa        0.3   Conference with mediator re: follow up on settlement discussions.
 2/2/2022   Huot, Innessa        0.5   Telephone call co-counsel re: discussion with mediator and strategy for next steps in the litigation.
 2/2/2022   Huot, Innessa        0.2   Telephone call with opt-in to answer questions about the case.
 2/2/2022   Huot, Innessa        0.2   Exchange emails with A. Hartzband re: update on settlement discussions.
 2/2/2022   Huot, Innessa        0.8   Telephone call with named Plaintiffs re: update on settlement discussions with Defendants through mediator.
 2/2/2022   Huot, Innessa        0.5   Review and edit expert agreement and exchange emails regarding same.
 2/2/2022   Hartzband, Alex J.   0.2   Email with I. Huot re: mediator's proposal and settlement strategy.
 2/3/2022   Huot, Innessa        0.4   Exchange emails and telephone call with expert re: end of settlement discussions and ongoing litigation of the case.
 2/3/2022   Huot, Innessa        0.3   Exchange emails and conference with A. Hartzband re: settlement proposal.
 2/3/2022   Hartzband, Alex J.   0.3   Email with I. Huot re: settlement.
 2/7/2022   Huot, Innessa        0.2   Exchange emails with mediator re: status of settlement discussions.
 2/8/2022   Huot, Innessa        1.2   Telephone call with Officers to answer questions about the case.
 2/8/2022   Aloise, Anthony J.   0.2   Made adjustments to calendar per discovery extensions.
2/11/2022   Huot, Innessa        0.2   Review email from mediator re: settlement discussions.
2/14/2022   Hartzband, Alex J.   0.2   Respond to inquiry from opt-in re: status of the case.
2/15/2022   Huot, Innessa        0.5   Telephone call with A. Hartzband re: strategy for ongoing discovery.
2/15/2022   Huot, Innessa        0.8   Conference call with co-counsel and A. Hartzband re: ongoing litigation and preparation for depositions.
2/15/2022   Huot, Innessa        0.2   Respond to opt-in asking questions about status of the case.
2/15/2022   Hartzband, Alex J.   0.5   Email and call with I. Huot re: status, expert disclosures, depositions, deficiency letters, and responses to same.
2/15/2022   Hartzband, Alex J.   0.8   Follow up call with I. Huot and co-counsel re: preparing for Defendants' depositions and moving along with litigation.
2/16/2022   Hartzband, Alex J.   0.6   Exchange emails with co-counsel re: expert disclosures and depositions.
2/17/2022   Huot, Innessa        0.2   Respond to opt-in asking questions about status of the case.
2/22/2022   Huot, Innessa        0.2   Exchange emails with co-counsel re: depositions and discovery.
2/22/2022   Huot, Innessa        0.8   Telephone call with co-counsel re: preparation for Defendants' depositions and strategy for same.
2/22/2022   Hartzband, Alex J.   0.2   Email with co-counsel re: deposition notices and response to deficiency letter.
2/22/2022   Hartzband, Alex J.   0.2   Email and meeting with A. Stanley re: deposition notices.
2/22/2022   Stanley, Annabel     3.1   Draft deposition notices for Da Cruz, Bertram, Smith, Zachariah, Brothers, and Coradin.
2/22/2022   Stanley, Annabel     0.8   Draft deposition notices for MTA and TBTA.
2/22/2022   Stanley, Annabel     0.2   Meet with A. Hartzband regarding deposition notices.
2/23/2022   Huot, Innessa        0.6   Respond to multiple inquiries from opt-ins asking about the status of mediation.
2/23/2022   Hartzband, Alex J.   0.2   Email with co-counsel re: response to deficiency letter.
2/23/2022   Hartzband, Alex J.   0.2   Email with co-counsel re: deposition notices.
2/23/2022   Hartzband, Alex J.   0.8   Edit and revise deposition notices.
2/23/2022   Hartzband, Alex J.   3.4   Draft Topics for 30(b)(6) depositions of MTA and TBTA to be attached as Exhibit A to each notice.
2/24/2022   Huot, Innessa        0.3   Telephone call with A. Hartzband re: status of discovery.
2/24/2022   Huot, Innessa        0.5   Review deposition notices and exchange emails re: edits to same.
2/24/2022   Huot, Innessa        1.8   Research case law on scope of opt-in discovery.
                                       Draft detailed letter to Defendants re: proposal for opt-in discovery, objections to Defendants' proposals, and case law supporting
2/24/2022   Huot, Innessa          2   Plaintiffs' arguments; exchange emails with co-counsel regarding same.
2/24/2022   Hartzband, Alex J.   0.3   Call with I. Huot re: settlement, mediator's proposal, response to Defendants' deficiency letter, and depositions.
2/24/2022   Hartzband, Alex J.   0.5   Edit and revise deposition notices.
2/24/2022   Hartzband, Alex J.   0.2   Review, finalize, and oversee service of deposition notices.
2/24/2022   Gonzales, Matthew    0.8   Review notices of depositions and exhibits.
2/24/2022   Gonzales, Matthew    0.7   Finalize and serve Deposition notices
2/25/2022 Huot, Innessa          0.1 Review email from A. Hartzband re: deposition notices.
                                     Exchange emails with co-counsel re: interpretation of the Flood and Chipotle decisions for opt-in discovery and strategy for negotiating
2/25/2022   Huot, Innessa        0.7 scope of same.
2/25/2022   Huot, Innessa        0.1 Email defense counsel correspondence re: scope of opt-in discovery.
2/25/2022   Hartzband, Alex J.   0.8 Review and edit letter re: scope of opt-in discovery.
2/25/2022   Hartzband, Alex J.   0.1 Email with I. Huot re: depositions.
2/25/2022   Gonzales, Matthew    1.3 Proofread, cite check and format letter to defense counsel.
 3/4/2022   Huot, Innessa        0.2 Conference with A. Hartzband regarding settlement.
 3/4/2022   Hartzband, Alex J.   0.2 Phone call with I. Huot re: settlement.
 3/7/2022   Huot, Innessa        0.2 Exchange emails with mediator re: status of settlement discussions.
3/10/2022   Huot, Innessa        0.4 Exchange emails and telephone calls with mediator re: Defendants' final offer and position regarding same.

3/10/2022 Huot, Innessa          0.9 Exchange emails and telephone calls with co-counsel and A. Hartzband re: Defendants' offer and our position regarding same.
3/10/2022 Huot, Innessa          0.5 Review summary of damages documents to assess Defendants' offer and conference with co-counsel regarding same.

3/10/2022 Hartzband, Alex J.     0.9 Email and phone call with I. Huot re: settlement, Defendant's final offer, and conversation with mediator concerning same.
3/14/2022 Huot, Innessa          0.6 Telephone call and exchange emails with co-counsel and A. Hartzband to discuss settlement and potential damages.

3/14/2022 Huot, Innessa          0.2 Exchange emails with mediator regarding needing more time to confer with clients on Defendants' settlement proposal.
3/14/2022 Hartzband, Alex J.     0.6 Email and phone call with I. Huot re: settlement proposal and potential damages.

3/15/2022   Huot, Innessa          1   Exchange multiple emails and call with A. Hartzband and co-counsel re: damage scenarios and evaluation of settlement proposal.
3/15/2022   Huot, Innessa        3.8   Review case law re: liquidated damages awards to assess the weight of Defendants' potential defenses.
3/15/2022   Hartzband, Alex J.   4.6   Legal research re: jury awards of liquidated damages for late payment to inform assessment of mediator's proposal.
3/15/2022   Hartzband, Alex J.     1   Email and phone call with I. Huot and co-counsel re: settlement and mediator's proposal.

3/16/2022   Huot, Innessa        0.9   Exchange multiple emails and telephone call re: legal research, damage scenarios, settlement proposal and evaluation of same.
3/16/2022   Huot, Innessa        1.2   Phone calls with named Plaintiffs re: mediator's proposal and discussion of merits of settlement.
3/16/2022   Hartzband, Alex J.   0.9   Emails and phone call with I. Huot and co-counsel re: settlement and mediator's proposal.
3/16/2022   Carrano, Christian   3.2   Break down of each individual opt-in's share of the projected settlement as a dollar amount and percent.
3/18/2021   Huot, Innessa        0.2   Respond to opt-in asking questions about status of the case.
3/18/2021   Huot, Innessa        2.5   Telephone call with all named Plaintiffs about settlement offer and evaluation of same.
3/21/2021   Huot, Innessa        0.8   Follow up calls with named Plaintiffs to discuss potential settlement and questions about same.
3/21/2021   Huot, Innessa        0.5   Conference with co-counsel re: named Plaintiffs' positions on settlement.
3/22/2022   Huot, Innessa        0.4   Exchange emails and telephone call with defense counsel re: logistics of potential settlement.
3/22/2022   Huot, Innessa        0.5   Follow up calls and messages with named Plaintiffs re: settlement offer and position regarding same.
3/23/2022   Huot, Innessa        0.5   Draft detailed email to defense counsel re: accepting Defendants' settlement offer with certain additional items.
3/23/2022   Hartzband, Alex J.   0.1   Email with I. Huot and co-counsel re: accepting mediator's proposal and draft email to opposing counsel re: same.
3/24/2022   Huot, Innessa        0.1   Review email from defense counsel re: drafting settlement agreement.
3/24/2022   Huot, Innessa        0.1   Conference with A. Hartzband and A. Stanley regarding settlement agreement.
3/24/2022   Hartzband, Alex J.   0.1   Confer with I. Huot re: drafting settlement agreement.
3/24/2022   Stanley, Annabel     0.1   Call with I. Huot re: settlement agreement supporting papers.
3/25/2022   Huot, Innessa        1.8   Exchange multiple emails and calls with opt-ins asking for update on the case and status of settlement discussions.
3/25/2022   Hartzband, Alex J.   5.4   Draft a detailed and comprehensive Settlement Agreement.
3/25/2022   Stanley, Annabel     0.5   Draft Notice of Settlement.
3/25/2022   Stanley, Annabel     0.6   Draft Stipulation and proposed order.
3/28/2022   Huot, Innessa        0.5   Telephone call with Analytics Claims administrators re: settlement administration and quote for same.
3/28/2022   Huot, Innessa        0.5   Telephone call with AB Data Claims administrators re: settlement administration and quote for same.
3/28/2022   Huot, Innessa        0.5   Telephone call with Rust Consulting administrators re: settlement administration and quote for same.
3/28/2022   Huot, Innessa        0.3   Review quote from Analytics and exchange emails regarding same.
3/28/2022   Huot, Innessa        0.1   Draft detailed email to clients re: settlement in principle.
3/28/2022   Huot, Innessa        0.2   Exchange emails with mediator re: settlement of the case.
3/29/2022   Huot, Innessa        1.8   Exchange multiple emails and telephone calls with clients re: updated information.
3/29/2022   Huot, Innessa        3.3   Exchange emails and telephone calls with opt-ins re: settlement update.
3/29/2022   Huot, Innessa        2.4   Exchange emails and telephone calls with clients re: updating collective on settlement.
3/30/2022   Huot, Innessa        2.2   Exchange emails and telephone calls with opt-ins to answer questions about the case and the settlement structure.
3/30/2022   Huot, Innessa        2.6   Review and edit settlement agreement.
3/30/2022   Huot, Innessa        0.8   Review and edit Proposed Notice of Settlement.
3/30/2022   Huot, Innessa        0.3   Review quote from AB Data and exchange emails regarding same.
                                       Exchange emails and telephone calls with co-counsel re: settlement agreement and proposed notice and edits to same; make edits and
3/31/2022   Huot, Innessa        0.8   revisions to settlement agreement.
3/31/2022   Huot, Innessa          1   Exchange multiple emails and telephone calls with clients to update them on the status of the case.
3/31/2022   Hartzband, Alex J.   1.4   Review comments and revisions from I. Huot and revise Settlement Agreement based on comments.
3/31/2022   Gonzales, Matthew    0.1   Update client address information.
 4/1/2022   Huot, Innessa        0.3   Exchange emails with A. Hartzband re: settlement payments.
 4/1/2022   Huot, Innessa        1.2   Exchange multiple emails and telephone calls with opt-ins to answer their questions about the case.
 4/1/2022   Huot, Innessa        0.6   Review final versions of settlement agreement and notice and exchange emails with defense counsel regarding same.
 4/1/2022   Hartzband, Alex J.   0.5   Email with I. Huot re: calculation of settlement payments to individual Plaintiffs and emails with clients re: same.
 4/3/2022   Huot, Innessa        0.6   Exchange emails and telephone calls with opt-ins asking question about the case.
 4/4/2022   Huot, Innessa        0.5   Exchange emails and calls with opt-ins asking question about the case.
 4/4/2022   Huot, Innessa        0.8   Telephone call with opt-ins re: details of the settlement.
 4/5/2022   Huot, Innessa        0.5   Exchange emails and telephone calls with client about the settlement.
 4/6/2022   Huot, Innessa        0.7   Telephone call with opt-ins re: details of the settlement
 4/8/2022   Gonzales, Matthew    0.2   Telephone call with opt-in and update address for F. Linero.
4/13/2022   Huot, Innessa        0.4   Telephone calls with opt-ins re: settlement.

4/20/2022 Huot, Innessa          0.4 Exchange emails and telephone call with co-counsel re: Defendants' request for certain information on each opt-in for pension purposes.
4/20/2022 Huot, Innessa          1.8 Create Plaintiff and opt-in spreadsheet for defense counsel; linked each opt-in with their corresponding B&T ID.
4/21/2022 Huot, Innessa          0.1 Exchange emails with defense counsel re: settlement agreement.

4/21/2022 Carrano, Christian     1.7 Create spreadsheet of all Plaintiffs and their IDs to send to defense counsel and confirm IDs match with names from pay records.
4/21/2022 Carrano, Christian     0.3 Exchange multiple emails re: spreadsheet for Defendants.
4/25/2022 Gonzales, Matthew      0.1 Email opt-in spreadsheet to I. Huot for review.
4/25/2022   Huot, Innessa        0.2   Exchange emails and telephone calls with defense counsel re: status of settlement agreement.
4/28/2022   Huot, Innessa        0.4   Respond to telephone calls and emails from opt-ins asking for update on settlement.
4/28/2022   Huot, Innessa        0.5   Exchange multiple emails with co-counsel re: pension inquiries from defense counsel and information request.
4/28/2022   Huot, Innessa        2.3   Review and analyze Defendants' edits and revisions to the settlement agreement and conference with co-counsel regarding same.
4/28/2022   Huot, Innessa        0.2   Confer with A. Hartzband re: Defendants' edits to the settlement agreement.
4/28/2022   Hartzband, Alex J.   0.2   Conference with I. Huot re: edits to settlement agreement.
 5/2/2022   Huot, Innessa        0.2   Respond to emails from clients asking for an update on the case.
 5/3/2022   Huot, Innessa        0.2   Exchange emails and conference with co-counsel re: Defendants' edits to settlement agreement.
 5/3/2022   Hartzband, Alex J.   0.2   Emails with I. Huot and co-counsel re: settlement agreement.
 5/4/2022   Gonzales, Matthew    0.2   Phone call with opt-in regarding case update.
 5/5/2022   Huot, Innessa        0.4   Draft detailed email to client to update them on the status of the settlement between the parties.
 5/5/2022   Huot, Innessa        1.8   Exchange multiple emails and telephone calls with opt-ins to answer questions about the settlement.
 5/5/2022   Huot, Innessa        1.7   Telephone calls with named Plaintiffs to provide case updates and to answer questions they collected from the opt-ins.
 5/5/2022   Huot, Innessa        1.5   Revise settlement agreement to incorporate edits from defense counsel and exchange emails regarding same.
5/12/2022   Huot, Innessa        0.1   Follow up email to defense counsel re: status of Defendants' review of agreement.
5/17/2022   Huot, Innessa        0.3   Exchange emails and telephone calls with co-counsel re: pension-related information Defendants are seeking.
5/17/2022   Huot, Innessa        7.2   Prepare calculation of pension allocation to each opt-in; conference with co-counsel regarding same.

5/17/2022   Huot, Innessa        0.8   Review Defendants' additional edits and revisions to settlement agreement; conference with co-counsel regarding same.
5/17/2022   Carrano, Christian   1.5   Compile additional information requested by Defendants; email same to I. Huot.
5/18/2022   Huot, Innessa        0.8   Confer with named Plaintiffs re: Defendants' edits to the settlement agreement.
5/18/2022   Huot, Innessa        0.5   Telephone call with defense counsel to negotiate terms of the settlement agreement.
5/18/2022   Huot, Innessa        0.5   Call with co-counsel to discuss negotiations with defense counsel and potential issues with settlement.
5/19/2022   Hartzband, Alex J.   0.4   Telephone call with E. Kalanz to respond to inquiry concerning status of settlement agreement negotiations.
5/20/2022   Huot, Innessa        0.5   Call with defense counsel to negotiate terms of the settlement agreement and exchange emails regarding same.
5/20/2022   Huot, Innessa        0.2   Confer with co-counsel re: discussions with defense counsel re: settlement agreement.
5/25/2022   Huot, Innessa        0.2   Exchange emails witih defense counsel re: negotiation of specific terms of the settlement agreement.
5/25/2022   Huot, Innessa        0.3   Telephone call with defense counsel re: terms of the settlement agreement.
5/31/2022   Huot, Innessa        0.3   Conference with A. Hartzband re: settlement agreement and approval.
5/31/2022   Hartzband, Alex J.   0.3   Email and phone call with I. Huot re: settlement agreement, letter motion for settlement approval, and service awards.
 6/7/2022   Huot, Innessa        0.5   Telephone calls with named Plaintiffs re: status of negotiating terms of the settlement with Defendants' counsel.
 6/7/2022   Huot, Innessa        0.2   Exchange emails with Defendants to follow up on status of negotiations.
6/13/2022   Huot, Innessa        2.2   Telephone calls with named plaintiffs to update them on the status of the case and answer questions they collected from the opt-ins.
6/15/2022   Huot, Innessa        0.5   Telephone call with defense counsel to negotiate terms of the settlement agreement and exchange emails re: same.
6/15/2022   Huot, Innessa        0.1   Exchange emails with defense counsel re: terms of the settlement agreement.
6/15/2022   Huot, Innessa        0.2   Telephone call with defense counsel re: settlement agreement term negotiations.
6/15/2022   Gonzales, Matthew    0.1   Conference with T. Pringle re: return of personal documents.
6/15/2022   Gonzales, Matthew    0.3   Prepare and return personal documents to T. Pringle.
6/16/2022   Huot, Innessa        0.3   Confer with claims administrator re: character limit to back of check release language.
6/16/2022   Huot, Innessa        0.5   Follow up call with claims administrator re: endorsement and edits to same.
6/16/2022   Huot, Innessa          1   Revise settlement agreement and exchange emails with defense counsel.
6/16/2022   Huot, Innessa        0.3   Edit notice of settlement and exchange emails with defense counsel regarding same.
6/16/2022   Huot, Innessa        0.3   Telephone call with defense counsel re: submitting settlement to the Court for approval.
6/16/2022   Gonzales, Matthew    1.4   Proofread and edit settlement agreement.
6/17/2022   Huot, Innessa        0.5   Review Defendants' final edits to the settlement agreement and notice of settlement document and exchange emails regarding same.
6/17/2022   Huot, Innessa        0.1   Exchange emails with defense counsel re: notice of settlement.
6/17/2022   Burr, Camilo           1   Reach out to the Named Plaintiffs regarding the settlement agreement and signing the same.
6/17/2022   Gonzales, Matthew    0.2   Compile signatures in Mercado agreement.
6/17/2022   Gonzales, Matthew    0.3   Finalize and file Notice of Settlement with the Court.
6/22/2022   Huot, Innessa        0.1   Review Court order re: Cheeks letter.
6/22/2022   Huot, Innessa        0.2   Telephone call with named Plaintiff re: status of settlement.
6/22/2022   Carrano, Christian   1.6   Create spreadsheet with information requested by Defendants for pension data.
6/22/2022   Gonzales, Matthew    0.1   Download and file new docket entry and update calendar regarding same.
6/23/2022   Huot, Innessa        0.2   Respond to call from named Plaintiff re: status of settlement.
6/27/2022   Huot, Innessa        0.3   Exchange emails with clients re: status of the case and settlement.
6/28/2022   Huot, Innessa        0.1   Conference with defense counsel re: Defendants' review of settlement agreement.
6/28/2022   Huot, Innessa        0.3   Review and edit notice of settlement to claimants to be submitted with settlement agreement.
6/30/2022   Huot, Innessa        6.3   Compile data needed for Nycers to process pension; prepare spreadsheet relating to same.
6/30/2022   Huot, Innessa        0.3   Telephone call and exchange emails with defense counsel re: additional data needed for nycers.

 7/1/2022   Huot, Innessa        0.2   Respond to call from named Plaintiff re: status of settlement; exchange emails with defense counsel re: delay in executing same.
 7/1/2022   Huot, Innessa        0.6   Respond to telephone calls from opt-ins asking for an explanation as to Defendants' delay in signing the agreement.
 7/5/2022   Huot, Innessa        0.2   Exchange emails and telephone calls re: status of Defendants reviewing the settlement agreement.
 7/5/2022   Huot, Innessa        0.6   Telephone call with named Plaintiffs re: Defendants' delay is executing the settlement agreement.
 7/6/2022   Huot, Innessa        1.5   Return numerous calls from opt-ins asking for an explanation as to Defendants' delay.

 7/7/2022   Huot, Innessa        0.3   Exchange emails and telephone calls with defense counsel re: settlement agreement and status of Defendants' review of same.
 7/7/2022   Huot, Innessa        0.5   Follow up calls with named Plaintiffs re: Defendants' status of signing the agreement.
 7/8/2022   Huot, Innessa        0.3   Exchange emails and telephone call with client re: new contact information and status of the case.
7/11/2022   Gonzales, Matthew    0.1   Update contact information for A. Khan.
7/12/2022   Huot, Innessa        0.3   Respond to call from opt-in asking about the status of the settlement.
7/13/2022   Huot, Innessa        1.1   Telephone calls with clients demanding explanation for Defendants' delay in execution of the agreement.
7/15/2022   Huot, Innessa        0.5   Conference with named Plaintiffs re: Defendants taking a long time to review the agreement and sign same.
7/18/2022   Huot, Innessa        0.2   Telephone call with defense counsel re: settlement agreement.
7/18/2022   Huot, Innessa        0.8   Exchange emails and telephone calls with co-counsel re: additional information needed by Nycers.
7/19/2022   Huot, Innessa        1.8   Exchange emails and telephone calls with opt-in Plaintiffs to answer questions about the details of the settlement.
7/19/2022   Huot, Innessa        0.2   Exchange multiple emails with defense counsel re: sending over executed agreement and status of same.
7/22/2022   Huot, Innessa        0.2   Exchange telephone calls with defense counsel re: settlement agreement.
7/22/2022   Huot, Innessa        1.4   Telephone calls with clients re: update on settlement agreement.
7/26/2022   Huot, Innessa        0.2   Exchange emails with defense counsel re: exorbinate delay in executing the agreement.
7/26/2022   Huot, Innessa        0.6   Telephone calls with clients to update them on the status of the settlement.
7/27/2022   Huot, Innessa        0.2   Exchange emails with defense counsel re: settlement agreement and terms in same.
7/27/2022   Huot, Innessa        0.5   Telephone call with named Plaintiffs re: terms of the settlement agreement and renegotiation of same.
 7/27/2022 Huot, Innessa          0.2 Exchange emails with defense counsel re: settlement agreement.
 7/28/2022 Huot, Innessa          1.3 Exchange emails and telephone calls with named Plaintiffs to go over the final settlement agreement.

 7/29/2022   Huot, Innessa        1.8   Exchange multiple emails with opt-ins to update them on status of settlement and answer questions about the terms of the settlement.
 7/29/2022   Huot, Innessa        2.1   Telephone calls with multiple opt-ins to answer their questions about the settlement.
 7/29/2022   Huot, Innessa        0.1   Exchange emails with defense counsel re: settlement agreement.
 7/29/2022   Huot, Innessa        0.5   Telephone call with co-counsel re: pension issues.
 7/29/2022   Gonzales, Matthew    0.5   Collect and combine signed settlement agreements into operative version.
  8/1/2022   Huot, Innessa        1.5   Exchange emails and telephone call with clients to answer questions about the settlement agreement.
  8/1/2022   Gonzales, Matthew    0.1   Update opt-in client contact information.
 8/10/2022   Huot, Innessa        0.5   Review pension records provided by NYCERS and exchange emails and telephone call with co-counsel regarding same.
 8/30/2022   Huot, Innessa        0.5   Telephone call with client's beneficiary re: substitution of interest.
  9/5/2022   Petrovic, Jelena     1.3   Draft extension request letter.
  9/8/2022   Huot, Innessa        0.4   Edit and revise letter requesting extension to submit settlement to the Court.
  9/8/2022   Huot, Innessa        0.2   Exchange emails with defense counsel re: extension letter.
  9/8/2022   Huot, Innessa        0.2   Implement edits from defense counsel into updated extension letter and exchange emails regarding same.
  9/8/2022   Gonzales, Matthew    0.5   Finalize and file extension of time to file settlement.
 10/6/2022   Huot, Innessa        0.2   Confer with C. Burr re: drafting Cheeks letter.
 10/6/2022   Burr, Camilo         7.3   Draft a detailed and comprehensive Cheeks letter outlining the reasonableness of the parties' settlement.
 10/7/2022   Burr, Camilo         6.5   Continue drafting' Cheeks letter for the settlement.
10/12/2022   Huot, Innessa        1.3   Analyze pension information provided by NYCERS and conference with co-counsel regarding same.
10/13/2022   Burr, Camilo         4.8   Draft Huot Declaration in support of Cheeks letter.
10/17/2022   Huot, Innessa        1.2   Review pension records and conference with co-counsel regarding same.
10/17/2022   Huot, Innessa        0.3   Conference with A. Stanley re: drafting client declarations in support of settlement.
10/17/2022   Stanley, Annabel     0.3   Confer with I. Huot re: case assignments.
10/17/2022   Stanley, Annabel     1.5   Review and annotate draft Cheeks letter to assist in drafting client declarations.
10/17/2022   Stanley, Annabel     3.1   Draft each of the Named Plaintiff's declarations for the Cheeks Letter.
10/18/2022   Stanley, Annabel     1.5   Review, edit and revise all declarations.
10/21/2022   Petrovic, Jelena     0.5   Draft extension request letter.
 11/3/2022   Huot, Innessa        4.3   Review and revise Cheeks letter and email same to defense counsel.
 11/3/2022   Huot, Innessa        0.8   Telephone call with opt-in re: substitution of interest.
 11/3/2022   Burr, Camilo         0.3   Exchange emails with I. Huot and C. Lampropoulos re: substituting her as a party following the death of her husband.
 11/3/2022   Gonzales, Matthew    0.9   Review opt-in spreadsheet to assess individuals that need to be substituted.
                                        Review Defendants' edis to Cheeks letter; conference with defense counsel regarding same; confer with co-counsel re: Defendants'
 11/4/2022   Huot, Innessa        1.6   position and us not agreeing with same.
 11/4/2022   Huot, Innessa        0.2   Exchange emails and telephone calls with A. Hartzband re: settlement papers.
 11/4/2022   Hartzband, Alex J.   0.2   Email and phone call with I. Huot re: settlement.
 11/5/2022   Huot, Innessa        0.5   Prepare proposed revisions to Cheeks letter and conference with co-counsel regarding same.
 11/8/2022   Huot, Innessa        0.3   Exchange emails with defense counsel re: revised Cheeks letter and conference with co-counsel regarding same.
11/10/2022   Huot, Innessa        2.7   Telephone calls with opt-ins to update them on the status of the case.
11/14/2022   Burr, Camilo           3   Research issue as to what is required in order to substitute a deceased party plaintiff.
11/14/2022   Burr, Camilo         0.3   Speak to C. Lampropoulos regarding documents we need in order to substitute her as party plaintiff.
11/15/2022   Huot, Innessa        0.6   Telephone call with defense counsel re: substance and edits to the Cheeks letter; call with co-counsel re: same.
11/15/2022   Petrovic, Jelena     0.5   Draft extension request letter.
11/16/2022   Huot, Innessa        0.7   Telephone call with defense counsel re: edits to the Cheeks letter; conference with co-counsel regarding same.
11/16/2022   Huot, Innessa        0.2   Review and edit letter requesting an extension to file settlement papers.
11/16/2022   Burr, Camilo           1   Draft statement of notice of party plaintiff's death.
11/16/2022   Gonzales, Matthew    0.2   Proofread and file extension request.
11/18/2022   Huot, Innessa        2.3   Return calls from opt-ins asking for an update on the status of the settlement and next steps.
11/18/2022   Gonzales, Matthew    0.2   File letter requesting extension to file settlement.
11/29/2022   Huot, Innessa        0.2   Exchange emails with defense counsel re: status of them providing us with their edits to the Cheeks letter.
 12/5/2022   Huot, Innessa        3.6   Review, edit, and revise client declarations in support of Cheeks letter.
 12/5/2022   Huot, Innessa        2.6   Exchange emails and telephone calls with opt-ins to update them on the status of the settlement.
 12/6/2022   Huot, Innessa        1.2   Review Defendants' edits to Cheeks letter and revise letter to incorporate same.
 12/6/2022   Huot, Innessa        2.6   Telephone calls re: Defendants' proposed edits to Cheeks letter and respond to questions regarding same.
 12/7/2022   Huot, Innessa        0.1   Exchange emails with defense counsel re: edits to Cheek letter.
 12/7/2022   Huot, Innessa        2.1   Exchange emails and calls with clients re: status of the settlement.
 12/8/2022   Huot, Innessa        1.8   Follow up calls with named plaintiffs re: edits to Cheeks letter.

 12/8/2022 Huot, Innessa          1.6 Revise Cheeks letter and exchange emails with co-counsel regarding same; confer with co-counsel re: edits and revisions to Cheeks letter.
                                      Revise client declarations and telephone calls to go over substance of same; revise declarations based on feedback from clients;
 12/8/2022   Huot, Innessa        1.3 exchange emails regarding same.
 12/8/2022   Huot, Innessa        0.8 Review Beldner Declaration and exchange emails and telephone calls with co-counsel re: edits to same.
 12/8/2022   Gonzales, Matthew    1.8 Compile, format, and finalize all exhibits to Cheeks letter.
 12/8/2022   Gonzales, Matthew    3.2 Cite-check and proofread Cheeks letter.
 12/9/2022   Huot, Innessa        0.5 Exchange emails and calls with plaintiffs re: settlement papers and edits to same.
 12/9/2022   Huot, Innessa          2 Review case law for settlement approval from co-counsel; revise Cheeks letter to incorporate same.

 12/9/2022   Huot, Innessa        0.5   Exchange emails and telephone calls with defense counsel regarding edits to Cheeks letter; confer with co-counsel regarding same.
 12/9/2022   Huot, Innessa        0.5   Review additional edits from defense counsel; confer with clients and co-counsel regarding same.
 12/9/2022   Huot, Innessa        2.3   Draft, edit, and revise Huot Declaration in support of Cheeks letter.
 12/9/2022   Huot, Innessa        2.1   Final review of all settlement papers for filing; exchange emails with M. Gonzales regarding edits to same.
 12/9/2022   Huot, Innessa        0.3   Conference with Plaintiffs re: filing approval papers and next steps.
 12/9/2022   Gonzales, Matthew    1.4   Proof read and finalize Huot Declaration.
 12/9/2022   Gonzales, Matthew    0.3   Exchange multiple emails with I. Huot re: revisions to settlement papers and filing same.
